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U.S. V. Hartman, SA CR 15-63-JLS

Gc)vemment’$ Supplemental Briefmg Oppc)Sing
Defendant’$ Moti<)n to Compel Discovery

EXhibit A

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sTATE of cAi_iFoRNiA, couNTY of oRANGE,SU,,ER,ORF;L
sEARci-i wARRANT and AFFiDAvrr ~i§€g§§:§;g;<;v%/;OW
(AFFiDAviT) FE 'CECE~T

ER
Peace Officer David Syvock swears under oath that the facts expressed by him/her insth,eé%ac§ecz §ngaf§orporated
Statement of Probable Cause are true and that based thereon he/she has probable cause to é§@WQARd does believe
that the articles, property, and persons described below are lawfully seizable pursuai-?i’t’to Penal Code S`e°t:ti'et$ag,§% et
seq., as indicated below, and are now located at the locations set forth below. Where o , ' nt requests that this

Search Warrant be issued ~ _ 'SE;>{_,»F},

fp 24 HOBBS SEALiNG REQUESTED: €!YES ®NO
/<Q __ , NIGHT SEARCH REQUESTED: l:l YES [ZNO

/ {I§ignature of Affiant)

(SEARCH WARRANT)

THE PEOPLE OF THE STATE OF CAL|FORNlA TO ANY PEACE OFFlCER lN THE COUNTY GF GRANGE: proof by
affidavit, having been this day made before me by Peace Officer David Syvock that there is probable cause to believe
that the property or person described herein may be found at the location(s) set forth herein and that it is lawfully
seizable pursuant to Penal Code Section 1524 et seq., as indicated below by “-”(s), in that:

l:l property was stolen or embezzled;

X property or things were used as the means of committing a felony;
property or things are in the possession of any person with the intent to use them as a means of committing a
public offense, or in the possession of another to whom he or she may have delivered them for the purpose of
concealing them or preventing their being discovered;

X property or things to be seized consist of any item or constitute any evidence that tends to show a felony has been
committed, or tends to show that a particular person has committed a felony;

X property or things to be seized consist of evidence that tends to show that sexual exploitation of a child, in

violation of Section 311.3, or possession of matter depicting sexual conduct of a person under the age of 18

years, in violation of Section 311.11, has occurred or is occurring;

there is a warrant to arrest a person;

a provider of electronic communication service or remote computing service has records or evidence, as specified

in Section 1524.3, showing that property was stolen or embezzled constituting a misdemeanor, or that property or

things are in the possession of any person with the intent to use them as a means of committing a misdemeanor

public offense, or in the possession of another to whom he or she may have delivered them for the purpose of

concealing them or preventing their discovery;

l:] property or things to be seized include an item or any evidence that tends to show a violation of Section 3700.5 of
the Labor Code, or tends to show that a particular person has violated Section 3700.5 of the Labor Code;

l:li:l

You are Therefore COMMANDED to SEARCH: (premises, vehicles, persons)

l_ocation #i THE PREl\/llSES at ' Newport Beach, CAmfurther described as a two story duplex with
beige stucco siding, white wood trim and brown wood composite roof. The numbers ` are affixed to the mailbox located
at the entrance to the walkway leading to the rear unit. (See attached photos). To include all rooms, attics, basements, and

other parts therein, the surrounding grounds and any garages, storage rooms, trash containers, and outbuildings of any kind

located the thereon:

 

search warrani`do¢-revised owe-2006 MLv Search Warrant CR/ DR# .
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x Tl-l§ V§l-llCLE(s) described as 2010 'l'oyota l\/latrix 4 door

 
 

 

THE PERSON(S) known as Todd Christian Hartman §§ _ described as a male Caucasian approximateiy 5
feet 7 inches tall, weighing approximately 175 pounds brown hair, brown eyes with California Drivers License trw
and Judy Rae Hartman, B'""f§f";i`: ~ described as a female Caucasian, approximately 5 feet 7 inches tall weighing
135 pounds, brown hair and brown eyes with California Drivers License numberw§:a

 

For the FOLLOWlNG PROPERTY, THlNG(s) or PERSON(s):
See Attachment A

AND TO SEIZE lT l THEM lF FOUND and bring it / them forthwith before me or this court, at the courthouse
of this court. This Search Warrant and Affidavit and attached a corporat tatement of Probable
C use were sworn to as true and subscribed before me on thisM /day ol%__,gfll_ , at

A. lVl. l P. lVl. Wherefore, l find probable cause for the issuance of his Search Warrant and do

,_,._-_

 

issue it.
HOBBS SEALlNG APPROVED:"!:’
\L_.__ , NlG`
AR P§,o.)/ED/ §;§Q§ §»§ § §§ §§,.,§ [:l YEs ®No

(Signature of magistrat ej‘g?"§$?i$éi

Judge of the Superior Court of California, County of Orange Harbor Justice, Dept. L-i '7

\§;”t §§ l--§m’_s:i'@t__§._.l 'J‘\z\(§~i\t:\

(i\/lagistrate’s Printed Name)

 

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ATTACHlVlENT A

/-\ny items tending to establish the identity of persons who have dominion and control of the
location, premises, automobiles or items to be seized, including delivered mail1 whether inside
the location or in the mail box/s, bills, utility bills, telephone bills, miscellaneous addressed mall,
personal letters, personal identification, purchase receipts, rent receipts, sales receipts, tax
statements payroll check stubs, keys and receipts for safe deposit box(s), keys and receipts for
rental storage space, keys and receipts for post office box or mail drop rentals, ignition keys, car
door and trunk keys, vehicle ownership certificates or “pink slips,” and/or vehicle registration
slips, recordation of voice transmissions on telephone answering machines, audio tapes and
telephone message receipt books, and written phone messages, and photographs tending to show
occupation of the residence / business and connection between co-conspirators, whether
identified, or unidentified also digital pagers which will document telephone numbers of
co~conspirators, and if found, to activate the digital pagers' display mechanism and to obtain
messages from the pagers, answering machines, tape recorders, and any other recording
devices, and to play such devices to obtain their messages Any examples of handwriting
including letters, address books, business records, canceled checks, notes, and/or |ists.

Any and all items, which constitute evidence and/or fruits and instrumentalities of violations of
California Penal Code, Chapter 7.5, Section 311.1(a) through 311.11(d), concerning the
possession , distribution, and production of child pornography The evidence of these crimes
lncludes, but is not limited to, any and all digital media files containing child pornography and/or
child erotica; further defined by California Penal Code, Section 311.4(d)(1) as any “matter”
depicting minors engaging in actual or simulated “sexua| conduct.” Child erotica is further defined
as any materials or items, visual or written, which are sexually arousing to individuals who are
attracted to minors and/or to those who have an unnatural sexual interest in minors The term
“media” encompasses are “writings” as that term is defined by Section 250 of the California
Evidence Code to include records, documents, programs, applications or materials created,
modified, or stored in any form

All electronic data processing and storage devices, computers and computer systems, such as
central processing units, internal and peripheral storage devices such as fixed disks, internal
and external hard drives, floppy disk drives and diskettes, tape drives and tapes, optical storage
devices, dongles, encryption keys, personal data assistants (PDA’s), cell phones/smart phones
or other memory storage devices

Any records, whether stored on paper, on magnetic media such as tape, cassette, disk, diskette or
on memory storage devices such as optical disks, programmable instruments such as telephonesl
“electronic calendar\address books” calculators, or any other storage media, together with indicia of
use, ownership, possession, or control of such records

Any written or computer communication in printed or stored medium such as E-l\/lail and Chat
Logs whether in active files, deleted files or unallocated space on the hard drive, floppy drive or

any data storage media

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Search of all of the above items is for files, data, images, software, operating systems, deleted
Hles, altered files, system configurations, drive and disk configurations, date and time, and
unallocated and slack space, for evidence

Any pictures, books, magazines that contain images of nude children and/or child pornography
Any video tapes, slides or motion pictures depicting the exploitation of children
Any diaries, journals or other writings describing the exploitation of children

Peace Officers or assigned representatives are authorizedl during the execution of this Search
Warrant, to video tape, photograph and/or take digital images, at the discretion of the Searching
Officers, inside and outside of the location, any and all items and/or vehicles at the location, in
addition, can identify and photograph and/or digital image all persons present at the Search
Warrant location during the period of execution of this Search Warrant

Additionally, with respect to computer systems and any items listed above found during the
execution of this Search Warrant, the searching Peace Officers are authorized to seize and book
said computer systems and any items listed above and transfer them to a l_aw Enforcement
Agency location prior to commencing the search of the files and for law enforcement to do a full
and complete forensic review of any and all items listed above

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1 AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
STATEMENT OF PROBABLE CAUSE

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b.)

4 ll David Syvock, have been employed by the Newport Beach Police Departrnent as a

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Police Officer since January 2006 l was previously employed as a Deputy Sheriff with

the l_os Angeles County Sheriff’s Department from December 1988 until January 2006.

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During my career l have worked assignments in uniform patrol, Special Assignment
8 (S/-\O), Countywide Cops, Bicycle Patrol and Field Training Offlcerr l am currently

9 § assigned as a Detective in the Special Victims Unit.

11 ‘ Over the past 26 years l have conducted numerous investigations involving narcotics
12 crimes, property crimes, auto theft, sex crimes and subsidized housing fraud. l have an

13 `; advanced P.O.S.T. certificate and l am a member of the California Sexual Assault

 

14 ~' investigators Association.

16 During my law enforcement career l have conducted hundreds of preliminary
17 investigations into a wide variety of crimes. These investigations have included taking
18 police reports, interviewing victims and witnesses to crimes, conducting follow-up
19 investigations serving search warrants, and interviewing and arresting suspects l\/ly
20 arrests have led to prosecution where l have testified in court Convictlons have been

21 obtained as a result of my investigations and testimony

23 l have received specialized training in the following areas; Criminal Abatement, Crime
24 Prevention through Environmental Design, lnterview/lnterrogatlon, Drug/Alcohol
25 Recognition and 32 hours internal /-\ffairs. l have also received specialized training in
26 the field of child abuse and sexual assault during a 40 hour course entitled “Child Abuse

27 and Sexual Assault”. Subjects in this course included Physical Abuse, Abusive l-lead

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1 Trauma (Also known as Shaken Baby Syndrorne), Child Death, Sexual Abuse, Forensic

2 l\/ledical Examination, Severe Neglect & Failure to Thrive, General Child Abuse

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lnvestigative Procedures, lnterviewing Child Victims, Offender Characteristics, Child

4 Pornography, Crime Scene Searches, Forensics in Child Abuse and Child Abuse Laws.

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6 `; l am also a Task Force Officer (TFO) with the Orange County Child Exploitation Task
7 Force (OCCETF) Since September 10, 2012, The OCCETF is a multi agency group,
8 comprised of Homeland Security investigations Orange County Sheriff’s Department,
9 Federal Bureau of lnvestigation, Orange County District Attorney’s Office, US Postal
10 inspection and several local police departments throughout Orange County. The
11 OCCETF is responsible for conducting investigations related to internet crimes against

12 children

14 l have attended (2) 36 hour internet Crimes Against Children, Peer to Peer File Sharing
13 § Classes, through the Office of Juveni|e Justice and De|inquency Prevention (OJJDP).
16 The classes were taught by subject matter experts in the field of crimes against children
17 and child exploitation on the lnternet. l was instructed on the use of Law Enforcement
18 software designed to assist investigators on locating and identifying suspects sharing

19 child sexual exploitation materials via Peer to Peer networks
21 l attended the 2011 and 2012 internet Crimes Against Children Conference where l
22 received a combined 48 hours of training, by subject matter experts, in the investigation

23 27 of crimes related to the sexual exploitation of children on the lnternet.

25 l attended a 20 hour internet Crimes Against Children file sharing class conducted by

26 TLO. l was instructed on the use of Law Enforcement software designed to assist

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1 investigators with locating and indentifying suspects sharing child sexual exploitation

2 materials via Peer to Peer networks

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4 ii l attended the 2012 and 2013 Crimes Against Children Conferences where l received
5 approximately 39 hours of training, by subject matter experts in the investigation of child
6 abuse cases. During this conference, l also attended and 8 hour class taught by
7 :; subject matter experts in the investigation of the ARES Peer to Peer network.

8

9 l have attended the 2013 California Sexuai Assauit investigators Conference. During
10 Y this conference i received 20 hours of training, by subject matter experts in the fields of
11 sexual assaults missing persons (children) and human trafficking

13 Additionai|y, since i\/iarch, 2014, i have been an instructor for the Child Protection
14 System (CPS). CPS is a law enforcement tool which is used to identify internet Protocol
Addresses being utilized to share indecent images of children i have traveled
16 internationally to train other investigators in the use of this tool which has resulted in the
17 identification of person using the Peer to Peer networks to share child exploitation

18 fi images

20 During my career, l have personally examined digitai videos videotapes pictures and
21 computer images depicting children involved in sexual activity with themselves other

22 children, animals and adults

24 i am aware that the following characteristics are generally found in varying combinations
25 in people who produce, trade, distribute or possess images of child pornography: These
26 people view children as sexual objects They received gratification from sexually explicit

,,,,, , 27 images of minors They collect sexually explicit images of minors which they use for

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1 their own sexual gratification and fantasy. They use these images as a means of reiiving

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the fantasies or actual sexual encounters They rarely, if ever, dispose of sexually

explicit images of minors because the images are treated as prized possessions

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5 They store such images in many different formats including photographs printouts
6 magazines videotapes and other forms of digital media such as hard drives diskettes,
7 CDs and/or DVDs and storing devices They store images in many different locations

8 §§ such as the home, their vehicie(s), their work area, and other areas under their controi.

10 The images represent a currency among other collectors and are a means of gaining
11 acceptance, status trust, and psychological support by exchanging, trading, or selling

12 the images to other people with similar interests

14 They maintain images of minors with whom they have had sexual contact if such a
15 person takes a picture of a minor in the nucle, there is a high probability that the minor

16 was used to produce sexually explicit images

18 i know that suspects will and have used the internet to gain access to children for the
19 purposes of sexual exploitation l also know, based on my training and experience, that
20 suspects will chat oniine with other suspects to share their information on the sexual
21 exploitation of children, including where to watch children, how to access children, how
22 to desensitize victims to sexual abuse, how to hide their actions from law enforcement
23 officials how to store their child pornography and how to keep the victims from talking
24 about the abuse. Furthermore, l am aware that suspects will trade images of child

25 exploitation through emaiis.

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1 Also, based on my experience, that persons who possess child pornography generally

2 prefer to store images in electronic format as computer files. The computer’s ability to

b)

store images in digital format makes a computer an ideal repository for child

4 pornography Portabie disks can contain thousands (1,000’s) of child pornography

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images l have personally witnessed collectors going to great lengths to protect their

6 collection from discovery

8 From training received in online file~sharing networks and through the utilization of law

9 enforcement investigative tools l have learned the following:

11 Peer-to-Peer networks are frequently used in the trading of child pornography l know
12 that one such network is known as the Edonkey2000. The Edonkey2000 network is
13 being used to trade digital files including still images and movie files depicting child
14 pornography Based on my training and experience, i know the following about the

15 operation of the EDonkey2000 file-sharing network:

17 EDonkey2000 is an open-source (a) publicly available peer-to-peer (b) file sharing-
18 ij network i\/lost computers that are part of this network are referred to as peers or hosts.
19 /-\ peer computer can simultaneously share files while downioading files from the other

20 § peers or hosts Peers may be elevated to temporary indexing servers referred to as an

 

21 § “uitra-peer.”

22 (a) Open-Source; Open Source is defined as software that includes code and a free
23 x iicense, in other words it’s freely available to everyone on the lnternet.

24 (b) Peer-to-Peer: Peer-to-Peer is an application or program that allows users to exchange
25 files with each other directly or through a mediatan server, via the internet A peer~to-
26 peer file transfer network does not have the notion of clients or servers but only equal

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1 peer nodes that simultaneously function as both “ciients" and “servers” to the other

nodes on the network.

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4 Ultra-peers increase the efficiency of the EDonkey2000 network by maintaining an index

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of the file contents of network peers EDonkey2000 users ask ultra-peers for file
6 sources and are directed to one of more peers sharing the file or portions of the file.

7 T There are many ultra-peers on the network

9 §§ The EDonkeyZOOO network can be accessed by computers running different Peer-to~
10 Peer software programs written to be used on the EDonkey2000 network. These
11 software programs share common protocois for network access and file sharing The
12 user interface, features and configuration may vary between the different software
13 clients but ali of them allow you to access the network as either a client, (the computer
14 seeking a fiie), a candidate, (the computer supplying the file), or an ultra~peer, (the

15 computer referring the client to the candidate).

17 During the default installation of the EDonkey2000 software program, settings are
18 established which configure the host computer to share (c) files A feature known as
19 browsing (d) may also be turned on, Depending upon the client program used, a user
20 may have the ability to reconfigure some of these during installation or after the
21 installation has been completed Typicaiiy, the Peer-to-Peer software can be configured
22 to establish the location of one or more directories of folders whose contents (files) are
23 made available for distribution or sharing to other EDonkeka peers i:urthermorel the
24 Peer-to-Peer software can be configured to establish whether or not other users of the

25 network can obtain a list or browse the files being shared by the host computer.

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1 (c) Share: A folder or directory on a computer’s hard drive, set up to share its contents with
2 other computers on a network

(d) Browsing: Common term used in reference to peer to peer networks referring to the

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4 ability of a client to look at or browse a candidates shared files
5 z
6 l know that if an investigator is able to browse a shared directory on a candidate’s

7 computer, a direct connection between the computer being used by the investigator and
8 the candidates computer is established at a specific time, on that specific date. l also
93 know that the browsed files are physically present at the time, on date, on the

10 candidate’s computer.

12 The strength of the EDonkey2000 network is that it bases its entire file sharing on an

 

13 l ED2k l-iash Algorithm. This mathematical algorithm allows for the fingerprinting of files
14 No two files naturally produce the same hash value unless the contents are identical;
15 thus the content of some of the computer files can be positively established without ever
16 viewing the content, once a known file with a certain hash value has been identified
17 Hash values were specifically developed by government agencies including the Nationai
18 § Security Agency, to assist in the unique identification of computer files. `l`he United
19§ States of America has adopted the Secure Hash Aigorithm (SHAt) hash algorithm
20 described herein as a Federal information Processing Standard. A file processed by

21 SHA1 operation results in the calculation of a unique hash value for that file, often

 

22 ii referred to as a digital signature Sl-lA1 signatures provide a certainty exceeding 99.99
23 ij percent that two or more files with the same SHA1 signature are identical copies of the
24 same files regardless of the file name. EDonkey2000 uses a similar hashing system

25 that is specific to Edonkey clients

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1 Users may receive a selected file from numerous sources by accepting segments of the
2 file from multiple peers The EDonkey2000 software being used reassembles the
3 complete file on the local computer The EDonkeyZOOO program succeeds in
4 reassembiing the file from different sources only if ali segments came from the exact
5 copy of the same file. The network uses EDZK hash values to ensure exact copies of

6 the same files are used during this process

8 Upon connecting to the EDonkey2000 network, the software complies a list of the
9 shared files file details and the file’s associated EDZK values This list in then submitted
10 to the ultra-peer This information is then propagated to other ultra-peers throughout the

11 network and made available to anyone running a unique search.

13 The frequency of updating information as file changes occur or candidates leave the
14 network depends upon the client software being used and EDonkey2000 networking
15 protoco|s. The information sent to the ultra-peers is data about the file and not the
16 actual file. The file remains on the peer computer. in this capacity, the ultra-peer acts

17 as a pointer to the files located on each peer.

19 The EDonkey2000 software allows the user to search for pictures movies and others
20 files by entering descriptive text as search term (ex. PTHC=Preteen Hardcore), These
21 terms are typically processed by ultra-peers based upon the information about the files

22 : submitted by the EDonkeyZOOO user. Entering search terms into the EDonkey2000

 

23 program returns a list of files and descriptive information pertaining to each file, including

24 the associated ED2K signature.

26 l know that an investigator is able to compare the EDDonkey2000 signatures of files

27 being shared on the network to previously identified child pornography EDonkey2000

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1 signatures Using a publicly available EDonkey2000 software, an investigator can select
2 the EDonkey2000 signature of a known file as they attempt to locate and downioad the

known file on the EDonkeyZ network

b.)

4
5 /-\ review of the EDonkey2000 signatures allows an investigator to identify the files that
6 are on a peer computer

8 Once a specific file is identified, the downioad process may be initiated Once initiated,
9 an investigator is presented with a list of peer or user iP (r) addresses that have been
10 recently identified as downioad candidates This allows for the detection and
11 investigation of computers involved in possessing, receiving and/or distributing files

12 previously identified as child pornography

 

14 (e) iP Address: The internet is comprised of many computer networks and subnets that are
15 concealed. Subnets are typically comprised of individually addressed computers /~\n
16 internet Protocoi, or lP address is a unique four-byte number assigned to a computer,
17 when that computer accesses the lnternet. The lP number can be assigned “statically"
18 or “dynamically”. A “static” iP address is a permanently assigned number, where the
19 “dynamic" lP address may differ each time the computer accesses the internet. This
201 address expressed as four numbers separated by decimal points is unique to a
21 particular computer during an online session Companies such as internet Service
22 Providers, or Web Hosting companies doing business on the lnternet, commonly obtain
23 a block or series of lP addresses When the computer subscribing to the internet
24 companies services logs onto the lnternet, the internet Company assigns the computer
25 and iP address Using publicly available software, the lP address assigned to a
26 computer can be traced to the company providing the internet services

27

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1 l know that lP addresses can be used to identify the location of a computer. A computer
2 can be traced to a specific region or area The ability to identify the location of these lP

addresses is provided through lP geographic mapping services which are publicly

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4 available and also used for marketing and fraud

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6 At this point in the investigative process a recent (generally within the last 24 hours)
7 association between a known file (based upon SHAi or EDZK comparison) and a
8 computer having a specific lP address located within a specific region can be

9 established

11 Once this association has been established an investigator can attempt to downioad a

12 file previously identified as child notable from the associated peer.

14 §§ if the function known as browsing is turned on, the investigator can view or browse the
contents of the target peer’s shared folder. This is dependent upon several factors
16 including the EDonkeyZOOO configuration and available resources Browsing may or
17 may not be possible if browsing is available, a listing of the files being shared by the
18 associated target peer may be viewable in order to obtain the list of files a direct
19 connection between the computers must occur. This browsing connection is a default
20 setting The file list can only be obtained if the associated target peer is connected to

21 the Edonkey2000 and the software being used is configured for browsing

23 By receiving either a browsed file list or portions of a downioad file from a specific lP
24 address the investigator can conclude that a computer, in his jurisdiction, is running a
25 EDonkey2000 software and is processing, receiving and/or distributing specific and

26 known visual depictions of child pornography

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1 l know that Detective VVil|iam Wiltse with the Broward County Sheriff’s Office has created
2 an automated systems called Peer Spectre. Peer Spectre reads the publicly available

advertisement from computers that are identifying child sexual abuse images availabie,

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4 §§ for distribution, in a consistent and reliable manner. The software reads these reported

5 offers to participate in the sharing of child pornography and reports the time, date,

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6 SHA1, EDonkeyZOOO values Globally Unique ldentifier (GUlD) (g) and filename for each
7 individual computer in the same way every time. l have validated this software by
8 running identical search terms through the manual method described above and the
9 automated system using Peer Spectre. Peer Spectre performs in the same way with

10 matching results as the previous manual investigative technique

11 (f) GUlD: File sharing software generates a unique identifier number called a Globaily
12 Unique ldentifier (GU|D) which is used to identify the systems on the Gnutella file
13 sharing network The GUiD is similar to a serial number and is generated at the time
14 the software is installed identifying the GUlD assists in indentifying which computer
15 was used by the suspect

16 §

17 l know from training and experience that an investigator can review these details and

18 f identify a pattern of activity that links a single iP address to specific files of child

19 pornography with an extremely high degree of accuracy Peer Spectre automates the

 

20 search process but conducts and reports the search in the same manner that has
21 previously been done by individual investigators Peer Spectre does not report details
22 if which are not also discoverable by the general public using internet available software
23 Through historical searches utilizing a law enforcement investigative too|, investigators
24 can conduct searches to read through Giobally Unique identifiers (GUiD) history records
25 § and lP address history records This performs lookups of child pornography Sl-iA1 and
26 ED2K values associated with the lP addresses and GUlD’s. This historical search

27 shows dates when individual investigators throughout the country, discover an lP

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1 ; address or GUlD with child pornography in their share file. This historical search also

2 displays the automated Peer Spectre searches GUlD’s which are generated at the

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time the software is installed onto an individual computer, do not change even when a

4 dynamic lP address changes A GUiD would change if the client software was

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uninstalled and then reinstalled or if a version update occurs

7 This investigation of peer-to-peer file sharing networks is a cooperative effort of law
8 enforcement agencies around the country l\/lany of these agencies are associated with
9 the internet Crimes Against Children (lC/-\C) Task Force Programs. l\/lany of the officers
10 involved in this effort are using the technology and methods described herein to
11 investigate Peer-to-Peer networks This methodology has led to the issuance and
12 execution of search warrants around the country resulting in many seizures of child
13 pornography and arrests for possession and distribution By using the above listed
14 method of investigation, nearly every case l have personally been involved with, has

15 been verified through the following means:

 

16 1. Evidence of child pornography was found on the computer.

17 2. if no images of child pornography were found on the computer, interviews of the
18 persons using the computers verified that child pornography had been present
19 at one time but had been deleted or the computer with the child pornography
20 had been removed from the premises

21 3. images were moved from the computer and stored on other media.

22

23 ` Specific Probable Cause

24

25 ii On October 16, 2014, while conducting a covert investigation on the Peer-to-Peer file

26 sharing network, l located a computer using the internet Protocol Address 76.172.3.11

 

27 displaying unique files (122 child notable, child erotic, child other and 40 unknown

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1 content). A child notable file is one that has previously been identified through the
2 Secure Hash Algorithm (8ha1) as being child pornography A majority of the files
3 displayed from the aforementioned lP had titles indicative of child pornography The
4 user of the computer system had left his/her Peer~to-Peer client software EDonkey2000
5 configured to allow the sharing of files from his/her shared folder. The Globai Unique
6 g ldentifier (GUiD) of the EDonkey2k Software the suspect was using is listed as ED2K:
7 032771F1650E02600222F3B68DD76F6D. A GUiD is equivalent to the software serial

8 t number.

10 § Additionally, on October16, 2014, at approximately 10:36:12 Al\/i, PST, during the above

 

11 f described covert investigation, l made a direct connection to the computer using lP
12 address 76.172.3.11 and downioad 5 files this computer was making available The

13 following is a list of the files l downioaded and viewed:
15 Completed Downloads:

17 Started:2014-10-16 10:36:12 Ai\/l i_ast Received:2014-10-17 06:28:13 Pi\/i

18 l-lash:EDZK:81CFC4FBOF76BA6C63924718DBE93400

19 Si-lA1:FBJYT4XKVVZTQXY6BXV\/SCCBZCRSJFNKCl\/l Fi|e Size:9,476,006

20 Name:(~pthc center~)(opva)(2013) 11yo boy&giri in the childs camp.avi

21 Description: This video is 3:41 in length and begins with a partially nude female child
22 performing oral sex on what appears to be a juvenile male The female is then seen
23 sitting on the edge of the bed as she spreads her vagina and a person just off camera is
24 seen holding a cell phone The female child is then seen donning her underpants as an
25 z prepubescent male is seen exposing his genitals to the cameral The female child then

26 begins to perform oral sex on the male child before removing her underpants and sitting

13

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on his genitals The children appear to be having sexual intercourse for several minutes

before the video abruptly ends

Started.'2014-11-11 07130136 /-\i\/l Last Received:2014~11-11 08:16§11 Al\/l
i~lash§ED2K!DEBE7AQE/-\B95E7656141668€345030€5
SHA1ZZCXSGRXZUlPR7KF3X6DQAl\/12MZY4l\/lZXR4 File Sizel10,510,157

Name:(~pthc center~)(opva)(2013) Cumming over loli__s pussy 2010 7yo_and__Dad

BRll_Ll/\NT.wmv

Description: This video is 1:26 in length and begins with a prepubescent child exposing
her vagina An adult male is then seen from the waist down as he rubs his erect penis
against the childs vagina. The adult male continues rubbing and inserting his penis into

the child`s vagina before he ejaculates on her genitals and legs

Started12014-11~06 11249135 Al\/l i_ast Received:2014-11~O7 07;22;16 /-\i\/i
HashjEDZKISFCBQEQSSZFFSQDF7EDCDA91143059F8
SHA11lC504KRNTGY6DNOSESRLFTRSCFV4Q3FD Flle Sizei3,135,488

Name:Pthc Pedoiand Frifam Webcam - 11Yo Pt - Spoiled Princess Shows /-\l|

Stickam.avi

Description: This video is 1135 in length and begins with a female chiid, approximately
11~12 years old, wearing a blue bathrobe sitting in front of the camera. As the video
continues the child is seen opening her robe, removing her pajama pants and underwear

before inserting her fingers into her vagina The child then looks into the camera and

sticks her tongue out before exposing her anus. Before the video abruptly ends the child

if is seen exposing her undeveloped breasts to the camera

§ Started12014-1 1~11 08216211 Al\/i i_astReCeiVed12014-11-11 12254219 PM

Hash:ED2K15291B480949FBD3AF/-\29112EABQDD594

14

Case 8:15-cr-OOO63-.]LS Document 59-1 Filed 10/23/15 Page 20 of 147 Page lD #:328

1 § SHA1ZGNZEXQSSTBJD\/XZYGXVVVBNAUEXAF4I_|O File Size:11,153,690

2 § Name:webcam 2 11Yr Bate Omfgllll Stickam chaliaxx2.avi

3 Description:

4 §

5 Started:2014-10-16 10:36:12 Ai\/i i_ast Received:2014-11-11 07:30:36 Al\/l

6 §» l-lash:EDZK:BS33DB267F/\C1E8E4B262E0628564F86

7 Sl-lA1:KZSKH3046DXA2EZZUNFAGAT2XSRO4HEN File Size:9,747,688

8 Name:lpthc 2013] 8yo Daughter BJ Daddy [VVebcam] -- by Nibra Productions.flv

9 Description: This video is 6:24 in length and begins with a female chlld, approximately 8-
10 9 yrs old facing the camera The child appears to be talking to somebody off camera
11 when an adult male`s erect penis appears from the left side of the screen. The child

12 immediately begins performing oral sex on the male The penis then disappears from

 

13 the screen and the child remains on camera for several more minutes before the video

14 abruptly ends

16§ During my investigation, l checked lP address76.172.3.11 through the American
17§ Registry for internet Numbers (ARlN). ARlN reported that the aforementioned lP
18 address is registered to Time VVarner Cable, l-`urther, a check of the lP address through

19 § l\/iaxmind revealed that it geolocated to the city of Newport Beach.

21 On November 19, 2014l l requested l-lomeland Security investigations Speciai Agent
22 Ron Perez to issue a Department of Homeland Security (Dl-lS) summons to Time
23 §§ Warner Cable for subscriber records related to lP address 76.172.3.11. l requested the
24 summons to cover the time frame in which l made direct connections with the
25 § aforementioned lP address These times frames were 10/16/2014, 10:36;12 AM PST

26 5 through 10/17/2014, 6128113 PST, 11/06/2014, 11;49135 Ai\/i PST

 

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Case 8:15-cr-OOO63-.]LS Document 59-1 Filed 10/23/15 Page 21 of 147 Page lD #:329

1 On November 23, 2014, i identified a second lP address (76.171.211.243) associated
2 with lP 76.172.3.11. Both lP addresses were utilizing the same GUlD ED2K:
3 C32771F1650E02600222F3868DD76F6D. Two lP addresses utilizing the same GUlD
4 § can occur when a dynamic lP address changes at the discretion of the internet Service

§§ Provider (lSP) or if the subscriber moves to a new residence but continues using the

U\

same Peer-to-Peer software

\}O`\

8 During a direct connection to the computer utilizing lP 76.171.211.243address l was able

9 ' to downioad the following video this computer was making available to share:
11 f Completed Downloads:

13 § Started:2014-12-29 06:20:53 Pl\/i i_ast Received:2014-12-30 04:46:33 Pl\/l

14 Hash:ED2K:42i3883997512914184606FVV93D208FR9

15 SHA1:3YJFDMEGAK7L7ZJV6FGKE7GOPBlBGGUX File 8ize:4,508,460

16 § Name: Kidcam - Mirey-12Y (2010)Pthcli.avi

17 Description: This video is 1:58 in length and begins with a pubescent female exposing
18 her vagina to the camera The fema|e`s face is not immediately visible in the video. At
19 ` 25 seconds into the video the camera focuses on the females face and she appears to
20 § be approximately 13-14 yrs old The child is lying on her back with her legs spread as
21 § she fondles her breast over her clothes The camera then pans back to the child`s

22 vagina and anus as she remains on her back The child eventually stands in front of the

 

23 camera as she doris her underpants and the video abruptly ends
24 2
25 §§ On November 25, 2014, l received the response from Time Warner Cabie reference the

26 (See Attached Exhibit 1) DHS summons issued for lP address 76.172.3.11 Time

§y(`

C-ase 8:15-cr-OOO63-.]LS Document 59-1 Filed 10/23/15 Page 22 of 147 Page lD #:330

 

1 Warner identified Judy l-lartman

2 subscriber for the above listed lP address during the time period outlined in my request

L»J

4 After receiving the subscriber information from Time Warner Cable, Detective Fox and l

The male identified

U\

 

contacted a male adult a -~:?"'" '§
6 himself as Todd Hartman and using a ruse we verified that he resided at the residence
7 with his mother, Judy Hartman. Todd indicated that he has been living at the location
8 with his mother for the past three years Todd further indicated that he and his mother

9 are the only people residing at that address
0

11 Based on the identification of the associated lP address 76.171.21§1._243, l requested
12 Speciai Agent Ron Perez to issue §a separate summons to Time Warner Cable. l
13 requested the summons to cover the time period of 12/29/2014, 2014, 06:20:53 (PST)
,,,,,, 14 through December 30, 2014, 04:47:47 Pl\/l (PST). These times correspond with the
times in which l made a direct connection to the computer using § lP address

16 76.171.211.243 and downioaded a video depicting child exploitation images

18 On January 13, 2015, l received a response from Time Warner regarding the summons
19 issued for iP address 76.171.211.243 (See Attached Exhibit 2), Time Warner Cable

29 identified Judy Hartman at § s the subscriber forthis

 

21 rr> address

23 Based on the above detailed information, l believe the crimes of 311.11 (a)
24 CPC/Possession of Child Pornography and 311.1 (a) CPC/Distribution of Child
25 pornography have been committed and the person(s) responsible for committing those

§§ From my training,

W

26 crimes live within the residence at,_ §

 

27 experience and past investigations l know that based on the nature of the internet

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everyone residing within 217 ‘/2 35th Street could have access to the internet through a

V\/lFi router and therefore could be the person(s) using lP address 76.172.3.11 or

§§ 76.171.211.243 to share indecent images of children,

Based on the fact anyone within the residence could access to the internet registered to

Judy hartman, l arn requesting the search to included the persons of Todd Christian

Hartman_(DOB,

  

l believe the probable cause exists for the issuance of this Search V\/arrant, as
set forth in section 1524 of the Penal Code, based on the aforementioned facts

and circumstances

§ Reviewed By: '»>r)/> putnam ca¢r:¢<.i__

 

on 389 Day,

February ,2015 31__£_1____}-'\/‘~ '

 

Signature of Deputy District Attorney

18

f P 1[)/1§3§5@
Case 8: 15- --cr OO§£?$AJ|L|_§ DforiuRE-n{:'é§?|__\§lmizi|edw 10/23 h5TYPagie 2c4),'$A1|\4j7GE age 7

RETURN TO SEARCH WARRANT

Peace Officer David Syvock being sworn says that he/she conducted a search pursuant to the Search

        
 
  

Warrant described below: 30 d g
~ - . . .. §§H§Of

issuing l\/lag1strate. Honorable Douglas Hatchimonjr 411/§ng OO£@@
i\/iagistrate’s Court: Superior Court of California, County of Orange, Harbor Justice C er. “1/@0 §93§§§§0"`

Date of lssuance: February 4, 2015 Date of Service : §§bru§i%?§,f O"°”§§§§: 04§§§”/
and searched the following location(s), vehicle(s), and person(s): §§O”C:§z 05

1 §§°"r/>SC
THE PREl\/|lSES att “ ‘ '“ ’ further described as a two stg@du with be§g'e

stucco siding white wood trim and brown wood composite roof The numberw are affixed to the mailbo§$iqgated
at the entrance to the walkway leading to the rear unit (See attached photos) To include all rooms attics basements
and other parts therein the surrounding grounds and any garages storage rooms trash containers and outbulldings of
any kind located the thereon:

 
 

» Sdescribed as a female Caucasian approximately 5
feet 7 inches tall, weighing 135 pounds brown hair and brown eyes with California Drivers License numbe' "

and Seized the ltems*
See attached property report

19~49 /<l,//c/

(Sig;t‘ature of . iant)

Sworn to and Subscribed before me this 1 VVde <Qz ‘ zeqt \4: S`HF/ P.lVl.

v

(Sign md

Judge ofthe Superior Court of California, County of Orange, Harbor Justice Center, Dept. 17 \ °“.~1

W 1,__§1>;1 L>V`$rll\/\/c>\\t§’t

` (i\/iagistr\ate s Printed Name)

l:`J'QUGl l_AS rfA l CHl lviOl\iJi

_sw RETuRN 10 sEARcH wARRANT.do¢»revrsed 03-11~2006 MLv Return to Search Warrant CR / DR # .

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U.S. V. Hartman, SA CR 15-63-JLS

Government’s Supplemental Briefmg Opposing
Defendant’S Motion to Compel Discovery

EXhibit B

Document 59-1 Filed 10/23/15 Page 26 of 147 Page lD #:334
United States Department of Justice

United States Attorney’s Office
Central District of California

 

 

A)zne C Gamzc)/i ~!/ ] H'es[ Fr)urr/i S/ree!
Phone: (7/4) 338-35-'!8 Szu`re 8000
E-))zaI`/.' annaga)mo)z@usdoj.gr)v Scznra Amz, California 92 701

September 23, 2015
VIA HAND DELIVERY

Cuauhtemoc Ortega

Office of the F ederal Public Defender
411 West Fourth Street, Suite 7110
Santa Ana, CA 92701

Re: United States v. Todd Christian Hartman.
SA CR No. 15-63-JLS

Dear l\/lr. Ortega:

Pursuant to your request for discovery and the Stipulation Re: Protective Order in this matter,
enclosed please find one compact disc containing the following:

' A compact disc entitled “63 files relating to file downloads”

The contents of this disc include the logs that were shown during the evidence review at the U.S.
Attorney’s Office.

The government will make available for your inspection any item of evidence referred to above,
as well as any other evidence seized from your client and/or which the government intends to
offer in its case-in-chief. Please contact me to arrange a mutually convenient time for your
inspection of such items.

The government will produce to you any additional Jencl<s material»~including any relevant
grand jury transcripts assuming a Rule 6(e) order has been issued--one week before trial if you
agree to the production of reciprocal Jencks material at that time or affirmatively represent that
you have no Jencks material to produce Please inform me whether such an arrangement is
acceptable to you,

 

The government also hereby gives notice that it may seek to introduce the other crimes, wrongs,
or acts committed by your client which are referenced in the enclosed items pursuant to Rules
404(b), 608, and/or 609 of the Federal Rules of Evidence, or on the theory that they are
inextricably intertwined with the charged conduct. Please contact me if you believe this notice is
insufficient

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 27 of 147 Page lD #:335
Cuauhtemoc Ortega
RE: U.S. v. Hartman - Discovery Letter
September 23, 2015
Page 2

The enclosed materials and any future discovery provided to you that may exceed the scope of
discovery mandated by the F ederal Rules of Crirninal Procedure, federal statute, or relevant case
law are provided voluntarily and solely as a matter of discretion By producing such materials to
you, the government does not waive its right to object to any future discovery requests beyond
the ambit of its legal obligations

With this letter the government requests all reciprocal discovery to which it is entitled under
Rules 16(b) and 26.2 of the Pederal Rules of Criminal Procedure. The government also requests
notice of any intention of your client to rely on an entrapment defense, or a defense involving
mental condition or duress and/or an alibi defense Pursuant to F ederal Rule of Criminal
Procedure 12.1, the dates times and places of the charged offenses are detailed within the
documents included within the discovery. Please contact me immediately if you believe that this
notice is insufficient

Please let me know if you have any questions or would like to further discuss any of the matters
raised above

Very truly yours

bar C@CU/Mo?\~

ANNE C. GANNON
Assistant United States Attorney

Enclosure

. md
case azls-cr-oooes-Ji_s Document 59-1 1=11@01 10/23/15_ Page 28 of 147 @<p"j`s$e\,Y

United States Department of Justice

United States Attorney’s office
Central District of California

 

 

Am'ze C. Garmon 411 Wesl Fow'tlz Slreer
Phr)ne: (7/-'1) 338-3548 Suz'te 8000
E-/naz'l: anne.garmon@zisdc)j.gov Sanra Ana. California 92 701

October 15_, 2015
VIA HAND DELIVERY

Cuauhtemoc Ortega

Andrea J`acobs

Office of the Federal Public Defender
411 West Fourth Street, Suite 7110
Santa Ana, CA 92701

Re: United States v. Todd Christian Hartman,
SA CR No. l5-63-JLS

Dear l\/lr. Ortega and l\/ls. Jacobs:

Pursuant to your request for discovery and the Stipulation Re: Protective Order in this matter,
enclosed please find three compact discs containing the following:

' A compact disc containing files relating to the downioad from lP 76.171.211.243.
These files contain the data that Was missing from the previous disclosure

' A compact disc containing inmate calls 6/20/15-7/30/15

' A compact disc containing inmate calls 7/30/15-9/19/ 15

ln addition, the government supplements its previous expert witness notice. Dr. Berkowitz’s rate
for trial preparation and testimony is $500/hour. David McCain’s rate for trial preparation and
testimony is SZSO/hour.

The government will make available for your inspection any item of evidence referred to above,
as well as any other evidence seized from your client and/or which the government intends to
offer in its case-in-chief. Please contact me to arrange a mutually convenient time for your
inspection of Such items

The enclosed materials and any future discovery provided to you that may exceed the scope of
discovery mandated by the Federal Rules of Crirninal Procedure, federal statute, or relevant case
law are provided voluntarily and solely as a matter of discretion By producing such materials to
you, the government does not waive its right to object to any future discovery requests beyond
the ambit of its legal obligations

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 29 of 147 Page lD #:337

Cuauhtemoc Ortega

RE: U.S. v. Hartman - Discovery Letter
October 15, 2015

Page 2

With this letter the government requests all reciprocal discovery to which it is entitled under
Rules 16(b) and 262 of the F ederal Rules of Criminal Procedure. The government also requests
notice of any intention of your client to rely on an entrapment defense, or a defense involving
mental condition or duress and/or an alibi defense Pursuant to Federal Rule of Criminal
Procedure 12.1, the dates times and places of the charged offenses are detailed within the
documents included within the discovery. Please contact me immediately if you believe that this
notice is insufficient

Please let me know if you have any questions or would like to further discuss any of the
matters raised above.

Very truly yours

@mfl C@§Cu/im,m`-

ANNE c.`oANNoN
Assistant United States Attorney

ENCLOSURES

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 30 of 147 Page l[age:$$€l

ShareazaLE Summary Report for IP: 76.172.3.11
This report was generated on 2014-1 1~07 06:25.'29 AM

This lP has been observed in CPS between the dates 12/23/2009 @ 2:23: 19 Al\/l and 1 1/6/2014 @
8 : 5 5 :25 Pl\/l advertising unique files (102 Child Notable / Child Erotic / Child Other / 3 8 Unknown
Content). This lP has been associated with the following GUle:
EDZK/C3277 l F l 650E026C0222F3B68DD76F6D,
ED2K/E93 37941470E50BD7DADE8C651D06F98,
ED2K/025E101D240E2123B l 00DC527A356F75,
Gnutella/2D272BD3 0C876D4DA80B4000C93D4300,
Gnutella/542E5AE0917E4048BB415A411CFA3A00,
Gnutella/FEOEE9AF4C797F42FF88C2F56495 5000,
Gnutella/SEA4 l 9F6939B984FFF867EA4DEF72 l 00,
Gnutella/SOCF2F914OE3 CB4EFF2A4C1 lFF?> 8D700,
Gnutella/lED674A7E9C70349FF3494A91B13DB00,
Gnutella/EZF1DD$EB784D845FFCCD26AA395C700,
Gnutella/l76DACD88706CD49FFOC7A6344C81000,
Gnutella/AS CBC3 A4D30EE64EFF B90C6CAFED3 700

Browse Results:

This lP hasn't been browsed yet.

l\/lost Recent Browse~Host
This lP hasn't been browsed yet.

Completed Downloads:

started:2014-10-16 10;36;12 AM Last Re°eivedizom`m'w

06:28:13 Pl\/l

Hash:EDZK: 8 l CFC4FBOF76BA6C63 924718DBE93400
SHAl :FBJYT4XKWZTQXY6BXW5CCBZCR3 JFNKCM

Name:(~pthc center~)(opva)(2013) llyo boy&girl in the childs camp.avi

File Size:9,476,006

Incomplete Downloads:
No incomplete downloads with downloaded content for this lP

file:///E:/76.l72.3.l l/ShareazaLE/lPReports/'76.172.3.11_2014-1 1-07%20062529_Report... 10/23/2015

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 31 of 147 Page IDSESBEl

ShareazaLE Summary Report for IP: 7 6.172.3.11
This report was generated on 2014-11~1] 06.'32.'29 AM

This lP has been observed in CPS between the dates 12/23/2009 @ 2:23: 19 Al\/l and 11/11/2014 @
12:09:49 Al\/l advertising unique files (112 Child Notable / Child Erotic / Child Other / 39 Unknown
Content). This IP has been associated with the following GUle:

ED2K/C32771F l 650E026C0222F3B68DD76F6D,
ED2K/E9337941470E5OBD7DADE8C651D06F98,
ED2K/025E101D240E2123B100DC527A356F75,
Gnutella/2D272BD30C876D4DA80B4000C93D4300,
Gnutella/542E5AE0917E4048BB415A4l lCFA3A00,
Gnutella/FEOEE9AF4C797F42FF88C2F564955000,
Gnutella/SEA419F6939B984FFF867EA4DEF72100,
Gnutella/SOCF2F9140E3 CB4EFF2A4C1 lFF3 8D700,
Gnutella/lED674A7E9C70349FF3494A91B13DB00,
Gnutella/EZFlDD3EB784D845FFCCD26AA395C700,
Gnutella/ 176DACD88706CD49FFOC7A6344C81000,
Gnutella/A5CBC3A4D30EE64EFFB9OC6CAFED3 700

Browse Results:

This IP hasn't been browsed yet.

l\/Iost Recent Browse-Host

This lP hasn't been browsed yet.
Completed Downloads:

Started:2014-10-16 10:36:12 AM

Hash:EDZK:8 l CFC4FBOF76BA6C6392471 8DBE93400
SHAl :FBJYT4XKWZTQXY6BXW5CCBZCRSJFNKCM

Name:(~pthc center~)(opva)(ZOl$) llyo boy&girl in the childs camp.avi

Last Received:2014-l 0-17
06:28:13 Pl\/l

File Size:9,476,006

Last Received:2014-l 1-07
07:22:16 AM

File Size:3,135,488

Started:2014-1 1-06 11:49:35 Al\/l

Hash:EDZK:SFCB9E95 82FF59DF7EDCDA91 143059F8
SHAl :IC504KRNTGY6DNOSESRLFTRSCFV4Q3FD

Name:Pthc Pedoland Frifam Webcam - llYo Pt - Spoiled Princess Shows All Stickam.avi

Incomplete Downloads:

started:20i4-i i~07 07;51;25 AM Last Re°ewed: 2014'11'07

10:21:05 Al\/l

Bytes Received219,537,920 of
21,556,176

Name:(~pthc center~)(opva)(2013)(webcam) Two lOyo lolis show all and make a hot kiss
Revniva_GC_ZO l 3 -08-09.avi

Hash:EDZK:24B51A18A218880E3 8AB4BAD59E9A463

file:///E:/76.l72.3.ll/ShareazaLE/lPReports/76.172.3.11_2014-11-11%20063229_Report... 10/23/2015

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 32 of 147 Page 1131$3411"2

ShareazaLE Summarv Report for IP: 7 6.172.3.11
This report was generated on 20]4~11-13 06,‘43 .'1 0 AM

This IP has been observed in CPS between the dates 12/23/2009 @ 2:23:19 AM and ll/l 1/2014 @
9:09:57 Pl\/l advertising unique files (122 Child Notable / Child Erotic / Child Other / 40 Unknown
Content). This IP has been associated with the following GUIDS:
ED2K/C32771F1650E026C0222F3B68DD76F6D,
ED2K/E9337941470E50BD7DADE8C651D06P98,
ED2K/025E101D240E2l23B100DC527A356F75,
Gnutella/2D272BD30C876D4DA80B4000C93D4300,

Gnutella/542E5AE0917E4048BB415A41 lCFA3A00,
Gnutella/FEOEE9AF4C797F42FF88C2F564955000,
Gnutella/8EA4l9F6939B984FFF867EA4DEF72l00,
Gnutella/50CF2F9140E3CB4EFF2A4C1 lF 133 8D700,
Gnutella/ 1ED674A7E9C70349FF3494A9lB13DB00,
Gnutella/EZF1DD3EB784D845FFCCD26AA395C700,
Gnutella/ 176DACD88706CD49FFOC7A6344C81000,
Gnutella/A5CBC3A4D30EE64EFFB90C6CAFED3700

Browse Results:
This IP hasn't been browsed yet.

l\/lost Recent Browse-Host
This lP hasn't been browsed yet.

Completed Downloads:

s1ar1ed:2014~10-16 10;36;12 Ai\/i Last Received£@“'w“”

06:28:13 Pl\/l

Hash:EDZK: 8 l CFC4FBOF76BA6C63 9247 l 8DBE93 400
SHAl :FBJYT4XKWZTQXY6BXW5 CCBZCR3 JFNKCl\/l

Name:(~pthc center~)(opva)(2013) llyo boy&girl in the childs camp.avi

File Size:9,476,006

Last Received:2014-l l-ll
08:16:11 Al\/l

File Size:10,510,157

Started:2014-l l-ll 07:30:36 Al\/I

Hash:ED2K:DEBE7A9EAB95E7656141668CB450BOC5
SHAl :2CXS6RXZU1PR7KF3X6DQAM2MZY4MZXR4

Name:(~pthc center~)(opva)(2013) Cumming over loli_s pussy 2010 7yo“and_Dad
BRlLLlANT.wmv

Last Received:20l4-l 1~07
07:22:16 Al\/l

File SiZe:3,l35,488

Started:2014‘l 1-06 11:49:35 Al\/l

Hash:EDZK:SFCB9E95 82FF59DF7EDCDA91 143 059F8
SHAl :1C504KRNTGY6DNOSESRLFTRSCFV4Q3FD

Name:Pthc Pedoland Frifam Webcam - llYo Pt - Spoiled Princess Shows All Stickam.avi

Last Received:2014-1l~ll

started;2014-ii-ii os;is;ii Ai\/i 12:54:19 PM

file:///E:/76.l72.3.ll/ShareazaLE/lPReports/76.172.3.11_2014-11-13%20064310_Report... 10/23/2015

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 33 of 147 Page llEa§eSiAde

Hash:EDZK:529lB480949FBD3AFA291 lZEAB9DD594
SHAl :6N2EXQSGTBJDVX2Y6XWV3NAUEXAF4LIO

Name:webcam 2 11Yr Bate Omfg! l !! Stickam chaliaxe.avi

File Size: l 1,153,690

Last Received:2014~l l-ll
07:30:36 AM

File Size:9,747,688

Started:2014-lO-l610:36:12 AM

Hash:EDZK:B533DB267FAClE8E4B262E062B564F86
SHAl :KZSKH3D46DXA2EZZUNFA6AT2XSRO4HEN

Name:[pthc 2013] 8yo Daughter BJ Daddy [Webcam] -- by Nibra Productions.flv

Incomnlete Downloads:
Last Received: 2014-11-07
Started:2014-l 1-07 07:51:25 Al\/l 10221:05 AM
Bytes Received: 19,537,920 of
21,556,176
Name:(~pthc center~)(opva)(2013)(webcam) Two lOyo lolis show all and make a hot kiss
Revniva_~GC_Z() l 3-08-09.avi

Hash:EDZK:24B5lAl8A218880E38AB4BAD59E9A463

file:///E:/76.l72.3.ll/ShareazaLE/lPReports/76.172.3.l1_2014-11-13%20064310_Report... 10/23/2015

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 34 of 147 Page lBtgeCi¢l@fl

ShareazaLE Summarv Report for IP: 76.171.211.243

This report was generated on 2014-]2-3] 02.'40:26 PM

This IP has been observed in CPS between the dates 11/18/2014 @ 12:32:07 AM and 12/31/2014 @
2:17:56 AM advertising unique files (70 Child Notable / 2 Child Erotic / Child Other / 6 Unknown

Content). This IP has been associated with the following GUle:
ED2K/C32771F1650E026C0222F3B68DD76F6D

Browse Results:

This lP hasn't been browsed yet.

Most Recent Browse-Host

This IP hasn't been browsed yet.
Completed Downloads:

Started:2014-12-29 06:20:53 Pl\/l

Hash:EDZK:42BB839975129141846D6FA93D208AF9
SHA1:3 YJFDMEGAK7L7ZJV6FGKE7GOPBIBG6UX

Name:Kidcam - l\/lirey~lZY (2010)Pthc! !.avi

Last Received:2014~12-30
04:46:33 PM

File Size:4,508,460

Incomplete Downloads:

Started=2014~12-30 04;46:56 PM Last Re°ewed: 2014`12'30

04;47;47 PM
Hash:EDzK;ic64BcF3327i5DC741AC445EDAEC72D0 193-1295 2R8‘;°eived‘737»280 Of

Name:(~Pthc Center~)(Opva)(2012) lOYo Firsthair - lOYo Boy 12Yo Girl Fuck 4rn39S.avi

file:///E:/76. 171 .21 l.243/ShareaZaLE/IPReports/76.171.21 l .243_2014-12-3 1%20144026... 10/23/2015

Case 8:15-cr-00063-.]LS Document 59-1 Filed 10/23/15 Page 35 of 147 Page lngt~:?l¢er`l

ShareaZaLE Summary Report for IP: 76.171.211.243

T his report was generated on 2014-12-3] 02.'52.'53 PM

This IP has been observed in CPS between the dates 11/18/2014 @ 12:32:07 Al\/l and 12/31/2014 @
2117:56 Al\/l advertising unique files (70 Child Notable / 2 Child Erotic / Child Other / 6 Unknown

Content). This IP has been associated with the following GUle:
ED2K/C32771Fl650E026C0222F3B68DD76F6D

Browse Results:

This lP hasn't been browsed yet.

Most Recent Browse-Host

This lP hasn't been browsed yet.
Completed Downloads:

Started:2014-12-29 06:20:53 PM

Hash:ED2K:42BB839975129141846D6FA93D208AF9
SHAl 23YJFDMEGAK7L7ZJV6FGKE7GOPBIBG6UX

Name:Kidcam - l\/Iirey-12Y (2010)Pthc!!.avi

Last Received:2014-12-30
04:46:33 PM

File Size:4,508,460

Incomplete Downloads:

started;2014-12-30 04;46;56 PM Last Received: 2014'12'30

04:47:47 PM

Bytes Received:737,280 of
9,108,284

Name:(~Pthc Center~)(Opva)(2012) 10Yo Firsthair - lOYo Boy 12Yo Girl Fuck 4m39S.avi

Hash:ED2K: l C64BCF332715DC741AC445EDAEC72D0

file:///E:/76.171.21l.243/ShareazaLE/lPReports/76.171.211.243_2014-12-31%20145253... 10/23/2015

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shareazaLE_76.171.211.243_2014-12-30.log
2014/12/30 09:40:58 (GMT-OS:OO): :Requesting Job details for Target='76.l7l.21l.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 09:40:58 (GMT-OS:OO): :Request for Job details for
Target='76.171.211.243' fulfilled by CPS
2014/12/30 09:46:16 (GMT-OS:GO): :Requesting Job details for Target='76.17l.211.243‘
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 09:46:17 (GMT~OS:OO): :Request for Job details for
Target='76.l7l.211.243' fulfilled by CPS
2014/12/30 09:47:02 CGMT-OS:OO): :Requesting Job details for Target='76.l7l.21l.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 09:47:03 (GMT-OS:OO): :Request for Job details for
Target=‘76.171.211.243' fulfilled by CPS
2014/12/30 09:48:43 (GMT-OS:OO): :Requesting Job details for Target='76.l7l.211.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 09:48:43 (GMT-OS:GO): :Request for Job details for
Target='76.l7l.211.243' fulfilled by CPS
2014/12/30 09:58:28 (GMT~O$:OO): :Requesting Job details for Target='76.171.211.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 09:58:28 (GMT~OS:OO): :Request for Job details for
Target='76.l7l.211.243' fulfilled by CPS
2014/12/30 10:33:55 (GMT~O8:OO): :Requesting Job details for Target=‘76.l71.21l.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 10:33:55 (GMT~OS:OO): :Request for Job details for
Target='76.l7l.211.243‘ fulfilled by CPS
2014/12/30 10:38:04 (GMT~OS:OO): :Requesting Job details for Target='76.171.211.243'
from CPS. Target may show empty candidate list until job request is fulfilled...
2014/12/30 10:38:04 (GMT~OS:OG): :Request for Job details for
Target='76.l7l.211.243' fulfilled by CPS
2014/12/30 11:19:47 (GMT~OS:OO): :EDZK client on 76.171.211.243:34052 reports
GUID='C32771F1650E026C0222F3B68DD76F6D', Nick='http://emule-project.net‘, using
software 'eMule O.SOa' and does not support browse host and does not support file
preview.
2014/12/30 11:19:52 (GMT-O8:OO): :download transfer started. JobId=76.l72.3.ll,
HASH=ede:fea8de6d25ae826ca7ad822d60fde309, FileName="(pthc frifam lolifuck) Horny
Haley - 12yo webcam - she changes into her pj_s (HOT!!) - New 2012.avi",
size=8506814, port=34052
2014/12/30 11:22:04 (GMT-O8:OO): :EDZK client on 76.171.211.243:34052 reports
GUID='C32771F1650E026C0222F3B68DD76F6D', Nick='http://emule~project.net', using
software 'eMule O.SOa' and does not support browse host and does not support file
preview.
2014/12/30 11:22:09 (GMT-OS:OO): :download transfer started. JobId=76.l71.211.243,
HASH=ede:42bb839975129141846d6fa93d208af9, FileName="Kidcam - Mirey-lZY
CZOlO)Pthc!l.avi", size=4508460, port=34052
2014/12/30 16:39:54 (GMT-OS:OO): :EDZK client on 76.171.211.243:34052 reports
GuID='C32771F1650E026C0222FZB6SDD76F6D‘, Nick='http //emule-project.net', using
software 'eMule O.SOa' and does not support browse host and does not support file
preview.
2014/12/30 16:39:59 CGMT-OS:OO): :download transfer started. 30bId=76.17l.21l.243,
HASH=ede:42bb839975129141846d6fa93d208af9, FileName="Kidcam - Mirey-lZY
CZOlO)Pthc!l.avi", size=4508460, port=34052
2014/12/30 16:43:01 (GMT-O8:00): :EDZK client on 76.171.211.243:34052 reports
GUID='C3277lFl650EOZ6C0222F3B6SDD76F6D', Nick='http://emule-project.net', using
software 'eMule O.SOa' and does not support browse host and does not support file
preview.
2014/12/30 16:43:06 (GMT-OS:OG): :download transfer started. JobId=76.17l.211.243,
HASH=ede:42bb839975129141846d6fa93d208af9, FileName="Kidcam ~ Mirey~lZY
(ZOlO)Pthcl!.ayi", size=4508460, port=34052
2014/12/30 16:43 53 CGMT-08:00): :EDZK client on 76.171.211.243:34052 reports
GUID='C3277lFl650E026C0222FBB68DD76F6D', Nick='http //emule-project.net', using
software 'eMule O.SOa' and does not support browse host and does not support file
preview.
2014/12/30 16:43:58 CGMT~OS:OG): :download transfer started. JobId=76.l71.211.243,
HASH=ede:42bb839975129141846d6fa93d208af9, FileName="Kidcam - Mirey~lZY

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shareazaLE_76.171.211.243_2014-12-30.log
CZOlO)Pthcll.avi", size=4508460, port=34052
2014/12/30 16:46:33 (GMT-OS:OO): :download transfer started. JobId=76.17l.211.243,
HASH=ede:lc64bcf332715dc74lac445edaec72d0, FileName="(~Pthc Center~)(Opva)(ZOlZ)
lOYo Firsthair - lOYo Boy lZYo Girl Fuck 4m39$.avi", size=9108284, port=34052
2014/12/30 16:46:33 (GMT-OS:OO): :TRANsFER coMPLETE. JobId=3114732,
HASH=ede:42bb839975129141846d6fa93d208af9, FileName="Kidcam - Mirey-lZY
(2010)Pthcl!.avi", size=4508460

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
~-- FileStatus Message received at 2014-11-11 07:30:36 (local time) ----------------
Client reports having the complete file
Queued at position 51 at 2014-11-11 07 30 37 (local time) ----------------
-~~ FileStatus Message received at 2014-11~11 07:33:05 (local time) ----------------
Client reports having the complete file
-~e FileStatus Message received at 2014-11-11 07:33:05 (local time) ----------------
client reports having the complete file
Received Fragment 0 8, 192 at 2014 11- 11 07: 33: 06 (local time) ----------------
Received Fragment 8, 192-15, 318 at 2014- 11 11 07: 33: 06 (local time) ----------------
Received Fragment 15, 318~ 23, 510 at 2014- 11- 11 07:33 07 (local time) ----------------
Received Fragment 23, 510- 26, 140 at 2014-11-11 07:33:07 (local time) ~~~~~~~~~~~~~~~~
Received Fragment 26,140-34,332 at 2014-11-11 07:33:08 (local time) ----------------
Received Fragment 34,332~37,047 at 2014-11-11 07:33:08 (local time) ----------------
Received Fragment 37,047-45,239 at 2014~11-11 07:33:09 (1ocal time) ----------------
Received Fragment 45,239~47,892 at 2014-11-11 07:33:09 (local time) ----------------
Received Fragment 47,892-56,084 at 2014~11~11 07:33:10 (local time) ----------------
Received Fragment 56,084~59,020 at 2014-11-11 07:33 10 (local time) ----------------
Received Fragment 59,020-67,212 at 2014-11-11 07:33:11 Clocal time) ----------------
Received Fragment 67,212-69,960 at 2014-11-11 07:33:11 (local time) ----------------
Received Fragment 69,960~78,152 at 2014-11-11 07:33:12 (local time) ----------------
Received Fragment 78,152-80,965 at 2014-11~11 07:33:12 (local time) ----------------
Received Fragment 80, 965 89, 157 at 2014- 11- 11 07:33:13 (local time) ----------------
Received Fragment 89, 157- 92, 160 at 2014 11 11 07:33:13 (local time) ----------------
Received Fragment 92, 160 100, 352 at 2014- 11- 11 07: 33: 14 (local time) ----------------
Rece§ved Fragment 100, 352-103, 707 at 2014-11 11 07: 33: 14 (local
time ~~~~~~~~~~~~~~~~
Rece§ved Fragment 103,707-111,899 at 2014-11-11 07:33:16 (local
time ~~~~~~~~~~~~~~~~
Rece;ved Fragment 111,899-115,186 at 2014-11-11 07:33:16 (local
time ----------------
Rece;ved Fragment 115,186-123,378 at 2014-11-11 07:33:17 (local
time ----------------
Rece;ved Fragment 123,378~126,813 at 2014-11-11 07:33:17 (local
time ----------------
Rece;ved Fragment 126,813~135,005 at 2014-11-11 07:33:18 (local
time ----------------
Rece;ved Fragment 135,005»138,329 at 2014-11-11 07:33:18 (local
time ----------------
Rece;ved Fragment 138,329-146,521 at 2014-11-11 07:33:19 (local
time ----------------
Rece;ved Fragment 146,521-149,836 at 2014-11-11 07:33:19 (local
time ~~~~~~~~~~~~~~~~
Rece§ved Fragment 149,836-158,028 at 2014-11*11 07:33:20 Clocal
time ----------------
Rece;ved Fragment 158,028-161,275 at 2014-11-11 07:33:20 Clocal
time ----------------
Rece;ved Fragment 161,275-169,467 at 2014-11-11 07:33:21 (local
time ----------------
Rece;ved Fragment 169,467-172,858 at 2014-11-11 07:33:21 (local
time ----------------
Rece§ved Fragment 172,858-181,050 at 2014~11-11 07:33:22 (local
time ----------------
Rece§ved Fragment 181,050-184,320 at 2014-11~11 07:33:22 (local
time ~~~~~~~~~~~~~~~~
Rece;ved Fragment 184,320-192,512 at 2014-11-11 07:33:24 (local
time ----------------
Rece;ved Fragment 192,512~195,762 at 2014-11-11 07:33:24 (local
time ----------------
Rece;ved Fragment 195,762~203,954 at 2014-11-11 07:33 25 (local
time ----------------
Rece§ved Fragment 203,954-207,232 at 2014-11-11 07:33:25 (local
time ----------------
Received Fragment 207,232-215,424 at 2014-11-11 07:33:26 (local

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§@§iy§d‘§;§§n§n§'§i§,424-218,686 at 2014-11-11 07 33 26 (iocai
§;@§iyéé_§§§§n§§§_§i§,686~226,878 at 2014~11-11 07 33 27 riocai
§;T§iy§a_§;§§m§n§_§§s,878~230,270 at 2014-11~11 07 33 27 riocai
§§T§iv§d~§;§§n§ni”§§o,270-238,462 ar 2014-11-11 07 33 28 riocai
§§T§iy§d“§§§§n§ni~§§s,462-241,755 at 2014-11-11 07 33 28 riocai
§§T§iy§a'§§a§n§§i“§li,755-249,947 ar 2014-11-11 07 33 29 riocai
§§@§iv§a"§§§§n§§§'§l§,947-253,189 at 2014-11-11 07 33 29 riocai
§§E§iy§a~§§§§n§§§"§§§,189-261,381 at 2014-11-11 07 33 30 riocai
§;@§iv§a_§§§§néni_§si,381-264,791 at 2014-11-11 07 33:30 riocai
§§T§iy§a_§§§§n§§i_§éi,791-272,983 at 2014-11-11 07 33 31 riocai
§;§§iv§a_§;§§n§§§_§i§,983~276,480 ar 2014~11-11 07 33 31 riocai
§§Y§iv§é_§§§§n§§§_§rs,480~284,672 ar 2014-11-11 07 33 32 (iocai
§;T§iv§a_§§a§néni_§si,672~287,938 at 2014-11-11 07 33 32 riocai
§;@§iy§d_ffa§n§ni_§si,938-296,130 ar 2014-11-11 07 33 32 (iocai
§;Q§iv§a_§;a§n§§i_§§s,130-299,330 at 2014-11-11 07 33 32 riocai
§§E§i§§a*§;§§n§ni~§§§,330-307,522 ar 2014-11-11 07 33 33 riocai
§;T§iy§a'ffa§méni*§o§,522-310,809 at 2014-11-11 07 33 33 riocai
§;T§iyéé'§;§§w§§i“§io,809-319,001 at 2014-11-11 07 33:33 riocai
§;T§iyéé_§§§§n§§§_§i§,001-322,580 at 2014-11-11 07 33 33 riocai
§§T§iy§a_§;a§n§§§_§§§,580-330,772 ar 2014~11-11 07 33 34 riocai
§;T§iy§a_§;a§n§ni_§§o,772~334,146 at 2014-11-11 07 33 34 riocai
§;T§iy§é_ffa§m§§§_§§l,146-342,338 at 2014-11-11 07 33 35 riocai
§;@§iv§a*§§§§méni_§la,338-345,676 ar 2014-11-11 07 33 35 riocai
§§T§iy§§*§;§§n§ni*§l§,676-353,868 at 2014-11-11 07 33 36 riocai
§§Y§iy§é*§;§§n§n§~§§§,868-357,207 at 2014~11-11 07 33:36 ciocai
§§@§iy§é_f§§§n§§§_§s§,207-365,399 at 2014-11-11 07 33 37 riocai
§;§§iv§a_§§§§néni_§a§,399-368,640 at 2014-11-11 07 33 37 riocai
§§@§iv§a_§;a§n§§§_§ss,640-376,832 at 2014-11-11 07 33 38 riocai
§;T§iv§a*§§a§neni_§is,832-380,175 at 2014-11~11 07 33 38 riocai
§;@§i§§a_§§a§n§§§'§so,175-388,367 ar 2014-11-11 07 33 38 ciocai
§§2§1§§8_§§§§8§§§~§§§,367-391,645 ar 2014-11-11 07:33 38 riocai
ti me) ---------------- page 2

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 391,645-399,837 at 2014-11-11 07:33:39 (local
§§T§iv§a_§§a§m§§i_§§§,837~403,138 ar 2014-11-11 07 33 39 riocai
§§@§i§§§“f§a§n§§i_lo§,138-411,330 ar 2014-11-11 07 33 40 ciocai
§§Q§iv§é*§§§§n§§§_lii,330_414,737 at 2014-11-11 07 33 40 riocai
§;Y§iy§a_§}§§m§n§_lil,737-422,929 ar 2014-11-11 07 33 40 <iocai
§§Q§iv§a'§§§§w§§§~l§§,929-426,301 ar 2014-11-11 07 33 40 riocai
§§Y§iy§a_f§a§n§§§_l§s,301-434,493 ar 2014-11-11 07 33 41 riocai
§§Q§iv§d_§§§§a§§i_l§l,493~437,807 ar 2014-11~11 07 33 41 ciocai
§§Q§iv§a_§§§§n§§i_l§i,807~445,999 at 2014-11~11 07 33 42 riocai
§§T§iv§a_§§a§n§§§_ii§,999~449,342 ar 2014-11~11 07 33 42 riocai
§§Q§iy§a_§§a§a§§§_ii§,342~457,534 ar 2014-11-11 07 33 44 riocai
§;@§iv§a_f;a§w§§§_isi,534*460,800 at 2014-11-11 07 33:44 riocai
§;T§iv§a_§§a§néni_iso,800-468,992 ar 2014-11-11 07:33 45 riocai
§;T§iy§a_§§§§n§§§_lss,992-472,296 at 2014_11-11 07 33 45 <iocai
§§T§i§§a"§;§§n§§i*li§,296-480,488 at 2014-11-11 07 33 45 riocai
§§@§iy§é_§§a§m§§{_lso,488-483,805 at 2014~11-11 07 33 45 riocai
§§§§iy§a“§;§§n§§§_ls§,805-491,997 ar 2014-11-11 07 33 47 riocai
§§T§iv§é_§§§§n§H§-E§i,997-495,335 ar 2014-11-11 07 33 47 riocai
§§T§iy§d_§§a§n§n§_l§§,335-503,527 at 2014-11-11 07 33 47 riocai
§e@;iyed_;fagment_503,527-506,897 at 2014-11-11 07:33:47 (local
§;T§i§§a_ffa§n§ni’§oa,897-515,089 at 2014-11-11 07 33 48 riocai
§§T§iy§é~f;a§a§§i*§i§,089-518,378 at 2014-11-11 07 33 48 riocai
§§T§iv§a_§§§§n§§i“§is,378-526,570 ar 2014-11-11 07 33 49 ciocai
§§E§iv§é_§§§§n§§§'§§a,570-529,879 ar 2014-11-11 07 33 49 (iocai
§§Q§iy§a_§§§§n§§§'§§§,879-538,071 at 2014~11-11 07 33 51 riocai
§;§§iy§a_§§a§n§§§_§§s,071~541,449 at 2014-11-11 07 33 51 (iocai
§;z§iv§a_§§a§m§ni_sli,449~549,641 at 2014-11~11 07 33 52 riocai
§;Q§i§§a_f;§§m§ni_§lo,641-552,960 ar 2014-11-11 07 33 52 riocai
§e@§iyed~ffagment~552,960-561,152 at 2014-11-11 07:33:53 (local
§§T§iy§a_§§a§n§§§'§si,152-564,453 at 2014-11-11 07:33 53 riocai
§§Q§iy§a_§§a§m§§§_§el,453-572,645 at 2014-11-11 07 33 54 riocai
§;T§ivéd_§§a§néni_§i§,645-575,938 at 20§4~11§11 07 33 54 riocai
age

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§T§iv§a_§§§§n§§§_§§§,938-584,130 at 2014-11-11 07 33 55 riocai
§;T§iy§a_fia§n§§§_§si,130-587,427 ar 2014-11-11 07 33:55 riocai
§§@§iv§a_§§a§n§§§_§si,427~595,619 ar 2014-11~11 07 33 56 riocai
§;Y§i§§a_§;a§n§n§_§§§,619-599,008 ar 2014-11-11 07 33 56 riocai
§§T§iy§a_§§§§n§§§~§§a,008-607,200 at 2014-11-11 07 33 57 riocai
§;Q§iv§a_fia§n§ni_éo§,200-610,501 ar 2014~11-11 07 33 57 riocai
§§T§iy§d_§§a§n§§i_sio,501-618,693 ar 2014~11-11 07 33 58 ciocai
§§T§iv§a_§;a§n§§§_eis,693-622,077 at 2014-11~11 07 33 58 riocai
§;Y§iv§a_§;a§néai_e§§,077-630,269 at 2014~11~11 07 33 59 riocai
§;T§iv§a_ffa§néni_s§o,269-633,626 at 2014-11-11 07 33 59 riocai
§;@§iy§§_§§a§néni_s§§,626-641,818 at 2014-11-11 07 34 00 riocai
§§@§iy§§~§§§§n§§i‘eli,818-645,120 at 2014-11-11 07 34 00 riocai
§§Q§iy§§“§§§§n§§§*el§,120-653,312 ar 2014-11-11 07 34 01 riocai
§§Y§i§§a'§;§§n§§i*é§§,312~656,571 at 2014-11-11 07 34 01 riocai
§§T§iv§a*§§a§n§ni~s§e,571-664,763 ar 2014-11-11 07 34 02 riocai
§§Y§i§§a'§;§§n§§i'éél,763-668,046 at 2014-11-11 07 34 02 riocai
§§Q§iv§§-§}§§n§n§~aés,046-676,238 at 2014-11-11 07 34 03 riocai
§§Q§iy§a’§§a§n§§§“s§s,238-679,482 ar 2014-11-11 07 34 03 riocai
§§T§iy§§_f§a§n§§§_sr§,482-687,674 ar 2014~11~11 07 34 04 riocai
§§§§iy§é_§§a§n§n§_esi,674-691,044 ar 2014-11~11 07 34 04 riocai
§;§§iy§a_§;a§méni's§i,044-699,236 at 2014-11-11 07 34 05 riocai
§§T§iv§d_§§§§m§n§_s§§,236~702,518 ar 2014-11-11 07 34 05 riocai
§§Y§iy§a~§§§§n§§i~§o§,518-710,710 at 2014-11-11 07 34 06 riocai
§§z§iy§a_§;a§n§§§_iio,710-714,095 ar 2014~11~11 07 34 06 riocai
§§Y§iy§a_§§§§n§§i_§il,095-722,287 at 2014-11~11 07 34 08 riocai
§;§§iv§a_§§a§néni_i§§,287-725,803 ar 2014-11~11 07 34 08 riocai
§;§§iv§a_§§a§n§n§_i§§,803~733,995 ar 2014-11~11 07 34 09 riocai
§;§§iv§a_§;§§néai_i§§,995-737,280 at 2014-11-11 07 34 09 riocai
§;§§iy§a*r§§§néai_i§§,280-745,472 ar 2014-11~11 07 34 10 riocai
§§Q§iy§a~§§§§n§§i*§l§,472-748,760 at 2014-11-11 07 34 10 riocai
§;T§iv§a_fiagn§nigiis,760-756,952 at 2014~11-11 07 34 11 riacai
time) ---------------- Page 4

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 756,952-760,290 at 2014-11-11 07:34:11 (local
§§T§iy§é*§§a§n§§i_ieo,290-768,482 at 2014-11-11 07 34 12 riocai
§§T§iv§a_§;§§n§§i_iss,482-771,764 at 2014-11-11 07 34 12 riocai
§§T§iv§a'§§§§n§§i_rii,764-779,956 ar 2014-11-11 07 34 13 riocai
§;E§iv§a_§;a§n§§i_r§§,956-783,332 at 2014-11-11 07 34 13 riocai
§;Q§iv§d_ffa§n§§iais§,332~791,524 at 2014-11-11 07 34 14 riocai
§;@§iy§a_§§a§néni*i§i,5244794,837 at 2014-11-11 07 34 14 (iocai
§;T§iy§a_§§a§n§§§_ial,837-803,029 ar 2014-11-11 07 34:16 riocai
§§Y§iy§§_§;a§a§ni_so§,029-806,352 at 2014-11-11 07:34:16 riocai
§;T§iy§a_§;a§a§ni_sos,352-814,544 at 2014-11-11 07 34 17 riocai
§§Y§iv§é~§;§§n§§§_si§,544-817,938 ar 2014-11-11 07 34 17 (iocai
§§T§iv§a“§;§§n§§i_sii,938-826,130 ar 2014~11~11 07 34 18 riocai
§§T§iy§§'§;a§n§§§_s§s,130-829,440 at 2014-11~11 07 34 18 riocai
§;§§ivaa*§§§§néni_s§§,440-837,632 ar 2014-11-11 07 34 19 ciocai
§§T§iy§a'§;§§n§ni's§i,632-840,857 at 2014-11-11 07 34 19 riocai
§§T§iv§a'§;§§n§§i_slo,857~849,049 at 2014-11-11 07 34 20 riocai
§;T§iyéd_§;a§n§§i_sla,049~852,333 at 2014-11-11 07 34 20 riocai
§;T§iy§a_f§a§m§ni_s§§,333-860,525 at 2014-11-11 07 34 21 riocai
§§§§iv§d_§;§§n§§i*sso,525~863,862 ar 2014-11-11 07 34:21 riocai
§§T§iv§a_§;a§n§§§'sa§,862-872,054 ar 2014-11-11 07 34 22 (iocai
§§T§iv§§~§§a§n§§i_si§,054-875,426 ar 2014-11~11 07 34 22 riocai
§;T§iy§a_§§§§n§ni_s§§,426~883,618 at 2014-11~11 07 34 23 riocai
§§T§iv§a_f§a§n§n§“ss§,618-886,841 at 2014-11-11 07 34 23 riocai
§§T§iv§a_§§§§m§ni_ssé,841~895,033 at 2014-11-11 07 34 24 riocai
§§z§iy§d_§§a§a§§i's§§,033-898,431 at 2014-11-11 07 34 24 riocai
§§§§iv§d_§§a§n§§§_s§s,431-906,623 at 2014~11-11 07 34 25 riocai
§;Y§iy§a_§;a§meni_§os,623-910,079 at 2014-11-11 07 34 25 riocai
§§T§iv§a_§§§§n§§§*§io,079-918,271 at 2014-11-11 07 34 26 (iocai
§§T§iv§a_f§§§n§§i“§is,271~921,600 ar 2014-11-11 07 34 26 (iocai
§;Q§iy§a_§§§§n§ni'§§i,600-929,792 at 2014-11-11 07 34 27 (iocai
§;@§iy§d_§;a§a§§§_§§§,792-933,077 ar 2014-11-11 07 34 27 (iocai
§;@§iv§§_§;§§neai_§§§,077-941,269 ar 20;4-11§11 07 34 28 riocai
age

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_ shareazaLE_76.172.3 11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§@§iv§a_§;§§n§§§_§li,269-944,538 ar 2014~11-11 07 34 28 riocai
§;T§iv§a_§§a§n§n§'§ll,538-952,730 ar 2014-11~11 07 34 29 ciocai
§§@§iy§a~§§a§n§§§_§§§,730-956,019 at 2014-11-11 07 34 29 riocai
§§T§iy§a'§;§§n§§i_§§s,019-964,211 at 2014-11-11 07 34 30 riocai
§§T§iy§é~§;a§n§§{_§sl,211-967,579 at 2014-11-11 07 34 30 (iocai
§§@§iv§av§§§§m§n§_§ei,579-975,771 ar 2014»11-11 07 34 32 riocai
§§Y§iv§a_§§§§n§ni_§§§,771-979,081 at 2014-11-11 07 34 32 riocai
§§T§iv§a_§;§§n§§i_§i§,081-987,273 at 2014-11-11 07 34 33 riocai
§;Q§iv§a_fia§n§§i_§si,273~990,646 ar 2014-11~11 07 34:33 riocai
§;T§iv§a_ffa§n§§i_§§o,646~998,838 at 2014-11~11 07 34 34 riocai
§§Y§iv§a_§§a§n§§§~§§s,838~1,002,215 ar 2014-11~11 07 34 34 riocai
§;T§iy§d_fia§n§§i~i:ooz,215~1,010,407 at 2014-11-11 07 34 35 riocai
§§Y§iv§é_§§§§n§§§_i:oio,407~1,013,760 ar 2014-11-11 07 34 35 (iocai
§;T§iy§a-§;a§aéni_i:ois,760~1,021,952 ar 2014-11-11 07 34 36 riocai
§;§§iyéa~§§a§n§ni_i:ozi,952-1,025,207 at 2014-11-11 07 34 36 riocai
§;T§iy§a'§§a§néni_i:ozs,207-1,033,399 at 2014-11-11 07:34 37 riocai
§;Y§iy§a'§§§§méai_i:ozs,399-1,036,647 ar 2014»11-11 07 34 37 riocai
§;Q§iv§a'f;§§n§ai_i:oae,647-1,044,839 ar 2014-11-11 07 34 38 riocai
§§§§iy§a_§;§§n§ni_i:o44,839-1,048,179 ar 2014-11-11 07 34 38 riocai
§;T§iv§a_§§a§n§ni_i:o4s,179-1,056,371 at 2014-11~11 07 34:39 riocai
§§@§iy§a_f§a§a§§§~i:oss,371~1,059,795 at 2014-11~11 07 34:39 riocai
§;T§iv§a_§;a§néni'i:osa,795~1,067,987 at 2014-11-11 07 34 40 riocai
§;T§i§§a_f;a§néni_i:os7,987-1,071,293 at 2014-11-11 07 34 40 riocai
§;T§iy§§~§§a§n§§i_i:ori,293-1,079,485 at 2014-11-11 07 34 41 (iocai
§§§§iv§a-§§§§n§§§_i:o79,485-1,082,792 ar 2014-11-11 07:34 41 riocai
§;T§iv§a_§;§§m§ni’i:osz,792-1,090,984 ar 2014~11-11 07 34 42 riocai
§§T§iv§a_§;§§n§§§`i:oao,984~1,094,401 at 2014-11~11 07 34 42 (iocai
§;@§i;§a_§§a§n§n§_i:oa4,401~1,102,593 at 2014-11~11 07 34 44 riocai
§§Q§iv§a‘§§§§n§§§_i:ioz,593~1,105,920 at 2014-11-11 07 34 44 riocai
§§§§iy§§*§§§§m§§§_i:ios,920-1,114,112 at 2014-11-11 07 34 44 riocai
§§T§iv§é_§§§§n§n§_i:ii4,112-1,117,395 ar 2014-11-11 07 34:44 (iocai
time) ---------------- Page 6

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 1,117,395-1,125,587 at 2014-11-11 07:34:45 (local
§§E;iyed_ffagment_l:lZ$,587-1,128,878 at 2014-11-11 07:34:45 (local
§ez:ived_ffagmenf_1:128,878-1,137,070 at 2014~11~11 07:34:47 (local
§;E§iyed~ffagment_1:137,070~1,140,367 at 2014-11-11 07:34:47 (local
§§T§iyed~;fagment*1:140,367-1,148,559 at 2014-11-11 07:34:48 (local
§§Y§i§§é`§§£§a§§§'i:i48,559-1,151,937 at 2014-11-11 07 34 48 riocai
§§@;ived_ffagmeht_l:l$l,937-1,160,129 at 2014~11-11 07:34:49 (local
§;T§ived_ffagment_1:160,129-1,163,227 at 2014~11~11 07:34:49 (local
§§T§ived_ffagment_1:163,227~1,171,419 at 2014-11~11 07:34:50 (local
§e§§ived_ffagment_1:171,419-1,174,785 at 2014-11-11 07:34:50 (local
§e?;ived_ffagment_1:174,785-1,182,977 at 2014-11~11 07:34:51 (local
§e@;iyed-;fagmenf_1:182,977~1,186,505 at 2014-11-11 07:34:51 (local
§e§:ived_fragment'1:186,505-1,194,697 at 2014-11-11 07:34:52 (local
§;E§iyed-gfagment*1:194,697-1,198,080 at 2014-11-11 07:34:52 (local
§;T§iyed_ffagment_1:198,080-1,206,272 at 2014-11-11 07:34:53 (local
§;T§iyed_;fagment_1:206,272-1,209,599 at 2014~11~11 07:34:53 (local
§;T§iyed_ffagment_1:209,599-1,217,791 at 2014~11~11 07:34:54 (local
§e§§ived_ffagment_1:2l7,791~1,221,115 at 2014-11-11 07:34:54 (local
§ez§ived-ffagment_1:221,115-1,229,307 at 2014-11-11 07:34:55 (local
§ez;ived_;fagment_1:229,307-1,232,678 at 2014-11-11 07:34:55 (local
§§T§iyed_gfagment_1:232,678-1,240,870 at 2014-11-11 07:34:56 (loCal
§§Y§iyed_gfagment_1:240,870-1,244,248 at 2014-11-11 07:34:56 (local
§ezgived_ffagment_1:244,248-1,252,440 at 2014~11-11 07:34:57 (local
§;z§ived_ffagment_1:252,440-1,255,739 at 2014~11-11 07:34:57 (1ocal
§e§§iyed*ffagment_1:255,739~1,263,931 at 2014-11~11 07:34:58 (local
§e@§iyed‘ffagmeht_1:263,931-1,267,139 at 2014-11-11 07:34:58 (local
§§T§iyed_gfagment~1:267,139-1,275,331 at 2014-11-11 07:35:00 (local
§eggiyed_ffagment_1:275,331-1,278,714 at 2014-11-11 07:35:00 (local
§§T§iy§a_§§§§a§§i_i:§7s,714-1,286,906 at 2014-11-11 07 35 00 riocai
§;T§ived_gfagmeht_1:286,906-1,290,240 at 2014-11-11 07:35:00 (local
§e?§ived_ffagmenf_1:290,240~1,298,432 at 2014-11~11 07:35:02 (local
§;T§iv§a_§§§§n§§§`i:§as,432-1,301,744 ag 2013-11-11 07:35:02 ciocai
age

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1 shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§T§iv§a_f§a§n§§i_i:§oi,744-1,309,936 at 2014-11-11 07 35 03 (iocai
§§@§iy§é'§§§§n§§§_i:§os,936~1,313,241 at 2014~11»11 07 35 03 riocai
§§Y§iv§a'§§a§n§§§_i:§is,241-1,321,433 at 2014~11-11 07 35 04 riocai
§;T§iyéé_fia§méni_i:§zi,433-1,324,710 at 2014-11-11 07 35 04 riocai
§;T§iy§a_f§a§n§ni_i:§24,710-1,332,902 at 2014-11-11 07 35 05 riocai
§;T§iv§a_§§a§n§ni_i:§zz,902-1,336,309 at 2014-11-11 07 35 05 (iocai
§§Y§iv§a_§;§§n§ni~i:§se,309~1,344,501 at 2014-11-11 07 35 06 <iocai
§§@§iy§a~§§§§n§§§_i:§44,501~1,347,736 at 2014~11-11 07 35 06 riocai
§;T§iv§a*§§§§néni_i:§47,736~1,355,928 at 2014~11~11 07 35 07 (iocai
§§Y§iv§a_§§§§n§n§_i:§ss,928-1,359,356 at 2014-11-11 07 35:07 riocai
§§E§iy§a'§;§§n§n§_i:§sa,356~1,367,548 at 2014-11-11 07 35 08 (iocai
§§Q§iy§a'§§a§n§n§_i:§sr,548-1,370,910 at 2014-11-11 07 35 08 riocai
§;T§iy§a_fia§n§§§_i:§ro,910-1,379,102 ar 2014-11-11 07 35 09 (iocai
§;*£§1;;1‘;;;§11;1;'1;§79,large,400 at 2014_11_11 msi-1109 neal
§;Q§iy§a_§§a§n§§i"i:§sz,400-1,390,592 ar 2014-11-11 07 35 10 riocai
§;@§iv§a_§§§§méni~i:§so,592-1,393,637 ar 2014-11~11 07 35 10 (iocai
§§§§iv§a_§§§§w§§§_i:§as,637-1,401,829 at 2014-11-11 07 35 11 (iocai
§§@§iv§a_§§§§n§§i_i:ioi,829~1,404,875 at 2014~11-11 07 35 11 riocai
§;Y§iv§a_ffa§m§§§“i:lo4,875-1,413,067 at 2014-11-11 07 35 12 riocai
§§z§iv§a"§§a§n§§§_i:liz,067-1,418,179 ar 2014-11-11 07 35 12 riocai
§§§§iy§a_§§§§m§§§_i:lis,179-1,426,371 at 2014-11-11 07 35 13 riocai
§§T§iy§a_§§a§n§§i_i:lzs,371-1,429,494 at 2014-11-11 07 35 13 (iocai
§§T§iy§é_§§a§m§§§*i:lza,494-1,437,686 at 2014-11-11 07 35 14 riocai
§;E§iy§a_§§a§néni~i:437,686-1,440,751 ar 2014-11~11 07 35 14 riocai
§§T§iv§a_§§a§n§§i*i:l4o,751-1,448,943 ar 2014~11~11 07 35 15 riocai
§;@§iv§a~§§§§n§n§_i:44s,943~1,451,949 at 2014-11-11 07 35 15 riocai
§;Y§ivéé~§§§§n§n§_i:lsi,949~1,460,141 at 2014-11-11 07 35 16 riocai
§§@§iy§é_§§a§n§n{_i:leo,141-1,463,320 at 2014-11-11 07 35 16 riocai
§;t§i;a‘;aaa;'tj;a,320_1,471,512 at 2014_11_11 07135=17 neal
§§T§iy§a_§§a§n§§i”i:l7i,512-1,474,560 at 2014-11-11 07 35 17 riocai
§§§§iy§a_§§a§n§niii:lr4,560-1,482,752 at 2014-11-11 07 35 17 riocai
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shareazaLE_76.172.3.11“debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 1,482,752-1,486,032 at 2014-11-11 07:35:17 (local
§§T§iv§a_§§§§n§§i_i:ise,032-1,494,224 at 2014~11-11 07 35 19 riocai
§;@§iv§d_§;§§n§n§_i:494,224-1,497,514 ar 2014~11-11 07 35:19 riocai
§§T§iv§a_§§§§n§n§'i:497,514-1,505,706 ar 2014-11-11 07 35 19 (iocai
§;T§iy§a_ffaén§§i*i:sos,706~1,508,998 ar 2014-11-11 07 35 19 riocai
§;@§i§§a_§§a§n§§i~i:§os,998-1,517,190 at 2014-11-11 07 35 20 riocai
§§T§iy§é~f;§§n§ni_i:§i7,190-1,520,619 at 2014-11*11 07 35:20 riocai
§§Y§iv§a'§§a§n§ni_i:szo,619-1,528,811 ar 2014-11-11 07 35 21 riocai
§;Q§iyéd_§§§§néni~i:§zs,811~1,532,095 at 2014-11-11 07 35 21 riocai
§;@§iv§a_§;a§n§§§_ilssz,095-1,540,287 ar 2014-11-11 07 35 22 riocai
§;T§iv§a_ffa§m§ni“i:§4o,287-1,543,590 at 2014-11-11 07 35 22 riocai
§;T§iv§a_§§a§n§n§_i:§43,590-1,551,782 ar 2014-11-11 07 35:23 ciocai
§;Q§iy§a_§;a§néni_i:§si,782-1,555,167 ar 2014~11-11 07 35 23 (iocai
§§Y§iv§é“§§a§a§§i_i:§ss,167-1,563,359 ar 2014-11~11 07 35 24 (iocai
§;T§ivédnf;a§n§§§_i:sas,359-1,566,720 ar 2014-11~11 07 35 24 riocai
§§@§iy§a*f§a§n§§i_i:§es,720-1,574,912 ar 2014-11-11 07 35:25 riocai
§;T§iy§a*§;§§n§ni_i:§74,912-1,578,235 ar 2014-11~11 07 35:25 riocai
§;Q§iv§a_§§§§n§ni_i:s7s,235-1,586,427 at 2014-11-11 07 35 26 riocai
§§T§iy§d_§§§§n§§i_i:sss,427-1,589,712 at 2014-11-11 07 35 26 (iocai
§;@§iyéd_§§a§n§n§*i:§sa,712-1,597,904 at 2014-11-11 07 35:27 riocai
§;T§iv§a_ffa§a§§§'i:§97,904-1,601,047 ar 2014-11-11 07 35 27 riocai
§§Y§i§§d_f;§§m§n§_i:aoi,047-1,609,239 at 2014~11-11 07 35 28 riocai
§§T§iv§a~§;§§n§ni_i:aoQ,239-1,612,666 ar 2014-11-11 07 35 28 riocai
§;T§iv§a_§§§§néai_i:siz,666-1,620,858 at 2014-11-11 07 35 29 riocai
§§T§iv§a_§;§§n§§i~i:szo,sss-i,624,239 at 2014-11-11 07 35 29 (iocai
§§T§iv§a_§§§§n§n§~i:éz4,239-1,632,431 at 2014-11-11 07 35 30 riocai
§;T§iv§a_ffagn§§§_i:esz,431~1,635,767 ar 2014-11-11 07 35 30 riocai
§§T§iy§§_f;a§w§§§_i:sss,767-1,643,959 at 2014-11-11 07 35 31 riocai
§;@§iy§a“§§a§néni_i:a43,959-1,647,316 at 2014-11-11 07 35 31 riocai
§;Q§iv§a“§§§§néai_i:a47,316-1,655,508 at 2014-11-11 07 35 32 riocai
§§§§iv§a_§§§§n§n§_i:sss,sos-l,sss,sso ar 2014-11~11 07 35 32 (iocai
§§T§iv§a_§§a§a§§§“i:sss,880~1,667,072 ag 2013-11-11 07 35 33 (iocai
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§T§iyed_ffagment_1:667,072-1,670,351 at 2014-11-11 07 35:33 Clocal
§e@:ived_ffagment_1:670,351-1,678,543 at 2014-11-11 07:35:34 (local
§;Q;ived~ffagment_1:678,543-1,681,823 at 2014-11-11 07:35:34 (local
§;T§iyed~ffagment_1:681,823~1,690,015 at 2014-11-11 07:35:35 (local
§e@§ived_;ragment~1:690,015-1,693,301 at 2014~11-11 07:35:35 (local
§eg§iyed_;fagment_1:693,301-1,701,493 at 2014-11-11 07:35:36 (local
§;T§iyed_ffagment_1:701,493-1,704,872 at 2014-11-11 07:35 36 Clocal
§e@§iyed_ffagment_1:704,872-1,713,064 at 2014-11-11 07:35:37 (local
§;Q§ived_ffagment_1:713,064-1,716,448 at 2014-11-11 07:35:37 (local
§e§§ived~ffagment_1:7l6,448-1,724,640 at 2014-11-11 07:35:37 (local
§§Y§ived~ffagment_1:724,640-1,727,937 at 2014~11-11 07:35:37 (local
§;T§iyed~fragment~1:727,937-1,736,129 at 2014~11~11 07:35:38 (local
§e§§ived_gfagment~1:736,129-1,739,542 at 2014-11-11 07:35:39 (local
§e@§iyed_ffagment*1:739,542~1,747,734 at 2014-11-11 07:35:39 (local
§e@§iyed_ffagment_1:747,734-1,751,040 at 2014-11-11 07:35:39 (local
§e?§ived_ffagment_1:751,040-1,759,232 at 2014-11-11 07:35:41 (local
§;T;iyed_ffagment_1:759,232-1,762,583 at 2014-11-11 07:35:41 (local
§;T§ived_ffagment_1:762,583-1,770,775 at 2014-11-11 07:35:41 (local
§e§:ived_ffagment_1:770,775-1,774,091 at 2014-11-11 07:35:41 (local
§;z§ived_ffagment_1:774,091-1,782,283 at 2014-11-11 07:35:42 (local
§;E§ived-ffagment_1:782,283-1,785,582 at 2014~11-11 07:35:42 (local
§;Q§ived_ffagment~1:785,582-1,793,774 at 2014-11~11 07:35:43 (local
§e@§iyed_gfagment_1:793,774-1,797,153 at 2014-11-11 07:35:43 Clocal
§e?;iyed_ffagment_1:797,153-1,805,345 at 2014-11-11 07:35:44 Clocal
§;T§ived_fragment_1:805,345-1,808,642 at 2014-11-11 07:35 44 (local
§e@§ived_;fagment_1:808,642-1,816,834 at 2014-11~11 07:35:45 (local
§e§§iyed_ffagment-1:816,834-1,820,112 at 2014-11~11 07:35:45 (local
§e§§ived_ffagment_1:820,112-1,828,304 at 2014-11-11 07:35:46 (local
§e§§iyed_ffagmeht_1:828,304-1,831,702 at 2014-11-11 07:35:46 (local
§ezzived_gfagment_1:83l,702-1,839,894 at 2014-11-11 07:35:47 (local
§;@§ivéa-r;§§a§n§_i:ssa,894-1,843,200 ar 2014-11-11 07 35 47 riocai
tjme) ________________ Page 10

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 1,843,200-1,851,392 at 2014-11~11 07:35:48 (local
§;T§iy§adffa§n§§i_i:ssi,392-1,854,652 ar 2014-11-11 07 35 48 riocai
§§Y§iy§é_§;§§n§ni_i:s54,652-1,862,844 at 2014-11-11 07 35 49 ciocai
§§T§iv§a_§;a§n§n§“i:sez,844-1,866,121 ar 2014-11-11 07 35 49 ciocai
§;@§ivéa_fia§n§n§~i:§ee,121~1,874,313 ar 2014-11-11 07 35 50 tiocai
§;Q§iy§a_§§a§m§ni~i:s74,313-1,877,616 at 2014-11~11 07 35 50 riocai
§§T§i§§a_§§§§n§§§_i:s77,616-1,885,808 at 2014-11-11 07 35 51 riocai
§§T§iy§é‘§§a§n§§§_i:sss,808-1,889,193 at 2014-11-11 07 35 51 riocai
§§Q§iv§§`§§§§m§§i_i:sss,193-1,897,385 at 2014-11-11 07 35 51 riocai
§;E§iy§é_§§a§n§§§_i:sor,385-1,900,661 at 2014_11-11 07 35 51 riocai
§§@§iv§a*§§§§n§ni_i:§oo,661-1,908,853 at 2014-11-11 07 35 52 (iocai
§§T§iy§a_§§§§n§§i_i:§os,853-1,912,185 ar 2014~11-11 07 35:52 ciocai
§§T§iy§a_§;§§n§ni_i:§iz,185-1,920,377 at 2014-11~11 07 35 53 riocai
§§E§iy§a_§;a§n§ni'i:§zo,377-1,923,788 at 2014-11~11 07 35 53 riocai
§§Y§iv§d_§§§§n§§§*i:§zs,788-1,931,980 at 2014-11-11 07 35 54 (iocai
§§T§iv§é_§§a§n§§§~i:§si,980-1,935,360 ar 2014-11-11 07 35 54 (iocai
§§@§iv§a_f§a§n§n{“i:§zs,360-1,943,552 ar 2014-11-11 07 35:55 ciocai
§§T§iv§a_§§a§n§§§_i:§43,552-1,946,819 ar 2014-11-11 07 35 55 ciocai
§§T§iv§a_§§§§m§n§_i:§46,819-1,955,011 ar 2014-11-11 07 35 56 riocai
§;@§iv§a’f§§§néai_i:§ss,011-1,958,389 ar 2014-11-11 07:35 56 (iocai
§§T§iy§§~§§§§n§ai_i:§ss,389-1,966,581 ar 2014~11-11 07 35:57 riocai
§§T§iy§a_§§§§n§n§*i:§s@,581-1,969,894 ar 2014-11-11 07 35 57 riocai
§§T§iy§a_§§a§n§§i*i:§sa,894-1,978,086 ar 2014-11~11 07 35:58 (iocai
§;@§iy§a_ffa§a§n§_i:§7s,086~1,981,476 ar 2014-11-11 07 35 58 riocai
§;@§iv§a_§§§§méai_i:§si,476»1,989,668 ar 2014-11-11 07 35 59 <iocai
§;T§iv§a_ffa§néni_i:§ss,668-1,992,966 ar 2014-11-11 07:35 59 riocai
§§T§iv§§*§§a§n§§i_i:§az,966-2,001,158 at 2014*11-11 07 36 00 riocai
§;T§ivaa_§§§§m§ni_§:ooi,158-2,004,480 ar 2014~11-11 07 36 00 riocai
§;T§iy§avffa§n§ni_§:oo4,480-2,012,672 at 2014-11-11 07 36 00 riocai
§§T§iv§d_§;§§n§§§"§:oiz,672~2,016,071 at 2014-11-11 07 36 00 riocai
§;@§iv§a_§§a§néni_§:ois,071-2,024,263 at 2014-11-11 07 36 01 riocai
§;Q§iy§a~f§§§néai_§:oz4,263-2,027,520 aj 201§{11-11 07 36 01 riocai
age

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. shareazaLE_76.172.3.11*debe7a9eab95e7656141668cb450b0c5_D0wnloadHeaders.txt
§§T§iv§a_f§a§n§§§"§:oz7,520-2,035,712 at 2014-11-11 07 36 02 riocai
§;T§iv§a_§§a§n§§i_§:oas,712-2,038,860 at 2014-11~11 07 36 02 riocai
§§T§iv§a'f;a§m§§i_§:oss,860-2,047,052 at 2014-11-11 07 36 03 (iocai
§;Q§iv§a-§§a§n§ni_§:o47,052-2,050,357 at 2014-11-11 07 36 03 riocai
§§T§iy§a_§§a§n§§i_§:oso,357-2,058,549 ar 2014-11-11 07 36 04 (iocai
§§T§iy§a_f§a§n§§{~§:oss,549~2,061,879 at 2014~11-11 07 36 04 riocai
§;@§iv§a_§§§§néni_§:osi,879-2,070,071 at 2014411~11 07 36 05 riocai
§;Y§iv§a_§§§§n§§i_§:oro,071-2,073,501 at 2014-11-11 07 36 05 riocai
§;@§iv§a_§;a§n§n{_§:o73,501-2,081,693 ar 2014-11-11 07 36 06 riocai
§;?§iv§d_f§§§m§n§*§:osi,693-2,084,998 ar 2014-11-11 07 36 06 riocai
§;T§iv§a_ffa§n§§§_§:os4,998-2,093,190 ar 2014-11~11 07 36 07 riocai
§§T§iv§a_f§a§a§§§_§:oas,190-2,096,577 at 2014~11~11 07 36 07 riocai
§e§§ived_ffagment_2:096,577-2,104,769 at 2014-11-11 07:36:08 (local
§;E§iy§a-§§§§n§ni_§:io4,769-2,108,166 at 2014-11-11 07 36 08 (iocai
§;T§iv§a~§;§§n§ni_§:ios,166~2,116,358 at 2014~11-11 07 36:09 (iocai
§§T§iv§d_§§§§m§§i*§:iis,358-2,119,680 ar 2014~11-11 07 36 09 ciocai
§§§§iv§a_§§§§n§ni_§:ii9,680-2,127,872 ar 2014~11-11 07 36 10 riocai
§§T§iy§a'§§§§n§§i*§:iz7,872-2,131,189 ar 2014~11~11 07 36 10 riocai
§§Q§iy§a_§§a§n§§§_§:isi,189-2,139,381 ar 2014-11-11 07 36 11 riocai
§;E§iy§a_§§a§n§§§_§:ias,381-2,142,687 at 2014-11-11 07 36 11 riocai
§§T§iy§d_§§a§n§§§_§:i4z,687-2,150,879 ar 2014-11-11 07 36 12 riocai
§§@§i§§d’§;a§n§§§_§:iso,879-2,154,130 at 2014-11-11 07:36 12 riocai
§§@§iv§a“f§§§n§§i_§:is4,130-2,162,322 ar 2014-11-11 07 36:13 riocai
§§E§iy§a_§§§§n§ni_§:iez,322~2,165,730 ar 2014-11-11 07 36 13 riocai
§;T§iy§a_f§§§n§§§~§:ies,730-2,173,922 ar 2014~11-11 07 36 14 (iocai
§§T§iy§a_§§§§n§§i_§:i73,922-2,177,268 at 2014-11-11 07 36 14 riocai
§;@§iv§a_§§§§néni_§:ir7,268-2,185,460 at 2014-11-11 07 36 15 riocai
§§T§iv§é‘f§a§n§§i_§:iss,460-2,188,741 ar 2014-11-11 07 36 15 riocai
§§T§iy§a*§§§§n§§i_§:iss,741-2,196,933 ar 2014-11-11 07 36 16 ciocai
§§Y§iv§a_§§a§w§§i_§:iae,933-2,200,335 at 2014-11-11 07 36:16 riocai
§§T§iy§a"§§§§n§§i_§:§oo,335-2,208,527 ar 2014~11~11 07 36 17 riocai
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders txt
Received Fragment 2, 208, 527- 2, 211, 840 at 2014~ 11- 11 07:36: 17 (local
§;E§iyed_ffagment_2:2ll,840-2,220,032 at 2014-11-11 07:36:18 (local
§ez;ived*ffagment‘2:220,032-2,223,292 at 2014-11-11 07:36:18 (local
§;E;ived*gfagment_2:223,292-2,231,484 at 2014~11-11 07:36:19 (local
§;T§iyed_ffagment_2:231,484*2,234,764 at 2014-11-11 07:36:19 (local
§e§§iyed_ffagment_2:234,764~2,242,956 at 2014-11-11 07:36:20 (local
§;Q§iyed_ffagment_2:242,956~2,246,239 at 2014-11-11 07:36:20 (local
§;T§ived_ffagment_2:246,239-2,254,431 at 2014-11-11 07:36:21 (local
§e@§ived_ffagment~2:254,431-2,257,797 at 2014~11~11 07:36:21 (local
§§E§iyed_ffagment~2:257,797-2,265,989 at 2014~11~11 07:36:23 (local
§;@§iy§a~§;a§n§ni“§:iss,989-2,269,296 at 2014~11-11 07 36 23 (iocai
§ez;iyedagfagment~2:269,296-2,277,488 at 2014-11~11 07:36:24 (local
§e§§iyed*gragment*2:277,488-2,280,795 at 2014-11-11 07:36:24 (local
§§T§i§§é’§§;§i§§§`é:§so,795_2,288,987 at 2014-11-11 07 36 24 <iocai
§§T§iyed_ffagment_2:288,987~2,292,430 at 2014-11-11 07:36:24 (local
§§T;ived_ffagment_2:292,430~2,300,622 at 2014-11-11 07:36:26 (local
§;T§iyed_gfagment_2:300,622-2,304,000 at 2014~11~11 07:36:26 (local
§§T§iyed_ffagment_2:304,000-2,312,192 at 2014~11~11 07:36:26 (local
§§T§iyed_ffagment~2:312,192-2,315,485 at 2014-11-11 07:36:26 (local
§§T§i§§é'§§;§ié§£`§:§is,485_2,323,677 at 2014-11_11 07 36 27 riocai
§e?;iyed~gfagmeht_2:323,677-2,327,012 at 2014-11-11 07:36:27 (local
§;E§iyed_ffagment_2:327,012-2,335,204 at 2014-11~11 07:36:28 (local
§§T§iy§a_§§a§m§§i"§:§ss,204-2,338,524 at 2014-11-11 07 36 28 riocai
§;T;iyed_ffagment’2:338,524-2,346,716 at 2014-11-11 07:36:29 (local
§;T;ived_ffagment_2:346,716-2,350,112 at 2014-11-11 07:36:29 (local
§§T;iyed*ffagment~2:350,112-2,358,304 at 2014-11-11 07:36:30 (lOCal
§e@§iyed~;fagment_2:358,304~2,361,601 at 2014-11-11 07:36:30 (local
§e@§ived_ffagment_2:361,601-2,369,793 at 2014-11-11 07:36:31 (local
§;T§iyed_ffagment_2:369,793-2,373,070 at 2014-11-11 07:36:31 (local
§;T§iyed_fia§n§ni~§:§73,070-2,381,262 ar 2014-11-11 07 36 32 riocai
§§T§iyed_§fagment_2:381,262-2,384,686 at 2014-11-11 07:36:32 (local
§e@§iyed~;fagment_2:384,686-2,392,878 aj 201§;11-11 07:36:33 (local
age

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§e?§ived_ffagment_2:392,878-2,396,160 at 2014-11-11 07:36:33 (local
§ezgived_ffagment_2:396,160-2,404,352 at 2014-11-11 07:36:33 (local
§eggivedvffagment_2:404,352~2,407,690 at 2014~11-11 07:36:33 (local
§egziyedwgfagment_2:407,690~2,415,882 at 2014-11~11 07:36:34 Clocal
§ez§iyed_gragment_2:415,882-2,419,187 at 2014-11-11 07:36:34 (local
§;Q§iyed_ffagment_2:419,187-2,427,379 at 2014-11-11 07:36:35 (local
§;T§ived_ffagmeht_2:427,379-2,430,723 at 2014-11-11 07:36:35 (local
§§T§ived_ffagment_2:430,723-2,438,915 at 2014-11~11 07:36:36 (lOCal
§;@§iv§a_ffa§a§ni_§:las,915-2,442,300 at 2014-11-11 07 36 36 riocai
§e@§ived_ffagment_2:442,300-2,450,492 at 2014-11-11 07:36:37 (local
§§T§iyed~;fagment_2:450,492~2,453,829 at 2014-11-11 07:36:37 (local
§;Y;iyed_ffagment_2:453,829-2,462,021 at 2014-11-11 07:36:38 Clocal
§§T§iyed_;fagment_2:462,021-2,465,188 at 2014-11-11 07:36:38 (lOCal
§§T;ived_ffagment_2:465,188-2,473,380 at 2014-11-11 07:36:39 (local
§ez;ived_gfagment_2:473,380-2,476,727 at 2014~11-11 07:36:39 (lOCal
§;T;iyed_ffagment_2:476,727-2,484,919 at 2014~11-11 07:36:40 (local
§;T§iv§a_§§a§a§ni_§:ls4,919-2,488,320 at 2014~11~11 07 36 40 riocai
§§T;ived_ffagmeht_2:488,320~2,496,512 at 2014-11~11 07:36:40 (local
§;Q;ived~fragmeht_2:496,512-2,499,880 at 2014-11-11 07:36:40 (local
§§T§iy§a_§§a§n§§i*§:laa,sso-z,508,072 at 2014-11-11 07 36 41 riocai
§§Q§ived_ffagment_2:508,072-2,511,332 at 2014-11-11 07:36:41 (local
§e§§iyed_ffagment_2:5ll,332-2,519,524 at 2014~11-11 07:36:42 (local
§ez§ived_ffagment_2:519,524-2,522,820 at 2014-11~11 07:36:42 (local
§e@:ived_ffagmenf_2:522,820~2,531,012 at 2014-11~11 07:36:43 (local
§e@;iyed_§fagment_2:531,012-2,534,415 at 2014-11-11 07:36:43 (local
§§T§ived_;fagment*2:534,415-2,542,607 at 2014-11-11 07:36:44 (local
§;T;iyed_ffagment_2:542,607-2,545,874 at 2014-11-11 07:36:44 (local
§;Q§iyed_ffagment_2:545,874-2,554,066 at 2014-11-11 07:36:44 (local
§eggiyed_gfagment_2:554,066-2,557,418 at 2014-11-11 07:36:44 (local
§e?§iyed_ffagment_2:557,418-2,565,610 at 2014~11-11 07:36:45 (local
§ezgived*gragment_2:565,610~2,569,017 at 2014-11~11 07:36:45 (local
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 2,569,017-2,577,209 at 2014~11-11 07:36:46 (local
§§T§iv§d_§§§§n§ni-§:§77,209~2,580,480 ar 2014-11~11 07 36 46 ciocai
§§T§iy§a*§§§§n§n§-§:§so,480-2,588,672 at 2014-11-11 07 36 47 riocai
§§T§iy§a_§§§§n§§§*§:§ss,672-2,591,926 ar 2014-11-11 07 36 47 riocai
§§@§iv§é_§§a§n§n§_§:§gi,926-2,600,118 ar 2014-11-11 07 36 47 riocai
§;@§iv§a_§§a§aéni_§:soo,118-2,603,366 at 2014~11-11 07 36 47 (iocai
§;§§iyéa_ffa§m§n{_§:aoz,366-2,611,558 at 2014-11-11 07 36 48 (iocai
§;E§i§§a_ffa§n§ni_§:eii,558~2,614,912 at 2014-11-11 07 36 48 riocai
§;Q§iy§a_§§§§néni*§:ei4,912~2,623,104 at 2014-11-11 07 36 49 riocai
§§@§iy§§_§§a§n§§i~§:ézs,104-2,626,508 at 2014-11-11 07 36:49 riocai
§§Q§iy§a_§§§§n§§i_§:szs,508-2,634,700 at 2014-11-11 07 36 50 riocai
§§T§iy§d_§§§§m§n§_§:sz4,700-2,638,008 ar 2014~11-11 07 36 50 riocai
§;T§iv§a_§§§§néni_§:ess,008~2,646,200 ar 2014-11~11 07 36:51 riocai
§;T§iv§a_§§a§néni_§:a46,200*2,649,495 at 2014-11~11 07 36 51 riocai
§;z§iv§d_ffa§n§§i_§:a49,495»2,657,687 ar 2014-11-11 07 36 52 riocai
§§Q§iv§a_f§a§n§§i_§:ss7,687~2,661,096 at 2014-11-11 07 36 52 riocai
§§T§iy§a_f§a§w§§i_§:sei,096»2,669,288 ar 2014-11-11 07 36 53 riocai
§§T§iy§a*§;a§m§ni~§:eeQ,288-2,672,640 at 2014-11-11 07 36:53 riocai
§§Q§iy§a~§;a§w§§i~§:erz,640-2,680,832 ar 2014-11-11 07 36 53 riocai
§§Q§iv§a_§§§§m§§i_§:aso,832-2,684,096 at 2014-11-11 07 36 53 riocai
§§T§iy§a_f§a§n§§i_§:ss4,096-2,692,288 ar 2014-11~11 07 36 54 riocai
§§@§iv§a_§§a§m§§§_§:soz,288~2,695,571 ar 2014-11-11 07 36 54 riocai
§;T§iv§a_f§a§n§n§_§:sas,571-2,703,763 ar 2014-11-11 07 36 55 riocai
§§@§iv§a'§§§§n§§i*§:ios,763-2,707,115 ar 2014-11-11 07 36 55 ciocai
§;E§iy§a'§§§§n§§i'§:io7,115-2,715,307 ar 2014-11-11 07 36 56 riocai
§;Q§iy§a_fia§n§n§'§:iis,307-2,718,732 ar 2014_11-11 07 36 56 riocai
§§Q§iy§a_f§a§n§n§_§:iis,732-2,726,924 at 2014~11-11 07 36 57 riocai
§;T§iv§é_§§a§néai_§:izs,924-2,730,208 ar 2014-11-11 07 36 57 riocai
§§T§iy§é-E§§§n§ni_§:rso,208-2,738,400 ar 2014-11-11 07 36 58 riocai
§§E§iy§a'§;§§n§n§'§:ias,400-2,741,695 at 2014-11-11 07 36:58 riocai
§§T§iv§a_§§§§n§n§_§:i4i,695-2,749,887 at 2014-11-11 07 36 59 (iocai
§;T§ivéd_§§a§n§§i_§:r49,887-2,753,299 ij 201§;11~11 07 36 59 riocai
age

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_ shareazaL£_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§;T§iy§a_ffa§n§n§*§:rss,299-2,761,491 at 2014-11-11 07 37 00 riocai
§§Q§iv§a_§§a§a§n§_§:iei,491-2,764,800 at 2014-11-11 07 37 00 riocai
§;Y§i§§a~§§§§néni_§:is4,800~2,772,992 at 2014-11-11 07 37 01 riocai
§;z§iy§a_§§a§n§§§~§:r7z,992-2,776,268 ar 2014~11~11 07 37 01 (iocai
§;T§iv§a_§§a§a§ni_§:§76,268-2,784,460 ar 2014-11-11 07 37 02 (iocai
§§T§iv§a_§§a§n§§§'§:is4,460-2,787,767 ar 2014-11-11 07 37 02 (iocai
§;E§iy§a_r§a§n§§i'§:isr,767-2,795,959 ar 2014-11-11 07 37 03 riocai
§;Q§iv§a_ffa§a§§§_§:ros,959-2,799,266 at 2014-11-11 07 37 03 riocai
§e@§ived_;fagment_2:799,266-2,807,458 at 2014-11-11 07:37:04 (local
§;T§iy§a_§§a§m§§i_§:so7,458-2,810,838 at 2014-11-11 07 37 04 riocai
§§Q§iy§a_§§§§n§§i_§:sio,838~2,819,030 ar 2014~11~11 07 37 05 riocai
§§T§i§§é~§§§§n§§i_§:sia,030~2,822,367 at 2014~11~11 07 37 05 (iocai
§;T§iv§a“§§a§n§Hi-§:szz,367-2,830,559 ar 2014-11-11 07 37 06 riocai
§§T§iy§a_§§§§n§ni'§:§so,559-2,833,867 ar 2014-11-11 07 37 06 riocai
§§Q§iy§a_f§a§n§n§_§:sss,867-2,842,059 at 2014-11-11 07:37:07 riocai
§§T§iv§a_f§§§a§§i'§:s4z,059-2,845,447 ar 2014-11-11 07 37 07 (iocai
§;T§iv§a_ffa§méni_§:s45,447-2,853,639 at 2014-11-11 07 37 08 riocai
§§T§iv§a_§§a§a§§i_§:ssz,639-2,856,960 at 2014~11-11 07 37 08 (iocai
§;Q§iv§a_ffa§m§ni_§:sss,960-2,865,152 at 2014*11-11 07 37 09 riocai
§;T§iv§a~§§§§m§ni_§:ses,152-2,868,465 ar 2014-11~11 07 37 09 riocai
§§Y§iv§a~§;§§m§ni“§:sss,465-2,876,657 at 2014-11~11 07 37 10 (iocai
§§T§iy§a_§§a§a§§§_§:srs,657-2,879,991 at 2014-11-11 07 37 10 riocai
§;T§ivéa_§§§§méni_§:sra,991-2,888,183 at 2014-11-11 07 37 11 riocai
§;T§iy§a_ffa§n§§§_§:sss,183-2,891,519 at 2014-11-11 07 37 11 riocai
§§T§iy§a_f§a§n§§i_§:sai,519-2,899,711 at 2014~11-11 07 37 12 riocai
§§@§i§§é~§§§§n§§i_§:ssa,711-2,903,009 at 2014-11~11 07 37 12 riocai
§§z§iy§a_§§§§n§n§~§:§os,009-2,911,201 ar 2014-11-11 07 37 13 riocai
§;@§iyéé_§;a§n§§§'§:§ii,201-2,914,520 ar 2014-11-11 07 37 13 riocai
§§T§iv§d_§§a§m§§i_§:§i4,520-2,922,712 at 2014-11-11 07 37 14 riocai
§;T§iv§a_§§a§m§ni_i:§zz,712-2,926,044 at 2014-11-11 07 37 14 (iocai
§;T§i§§a*§§a§méni_§:§zs,044~2,934,236 at 2014*11-11 07 37 15 (iocai
tjme) ________________ Page 16

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 2,934,236-2,937,617 at 2014»11-11 07:37:15 (local
§§T§iv§a_f§a§n§§§_§:§ar,617-2,945,809 at 2014-11~11 07 37 16 riocai
§;@§iv§a_ffa§n§§i_§:§4s,809-2,949,120 at 2014-11-11 07 37 16 riocai
§§T§iv§a_§§a§n§§i*§:§49,120-2,957,312 at 2014-11-11 07 37 17 (iocai
§§T§iy§a_§§§§n§§i*§:§sr,312-2,960,613 at 2014-11-11 07 37 17 (iocai
§§Y§iy§a_§§§§n§§§~§:§eo,613-2,968,805 at 2014~11-11 07 37 is riocai
§§Q§iv§§*§;a§a§§§'§:§ss,805-2,972,082 ar 2014~11~11 07 37 18 riocai
§;T§iy§a'§;a§n§ni_§:§7z,082-2,980,274 at 2014-11~11 07 37 19 riocai
§§Y§iv§a'§§§§n§§§_§:§so,274-2,983,588 at 2014-11-11 07 37 19 riocai
§;T§iyéd'ffa§n§§§_§:§ss,588~2,991,780 at 2014-11~11 07 37 20 riocai
§§T§iy§a'§§a§n§§i_§:§ai,780-2,995,148 at 2014-11~11 07 37 20 (iocai
§§T§iv§av§§a§w§§§_§:§ss,148-3,003,340 at 2014-11-11 07 37 21 (iocai
§;T§iv§a“§§§§n§§§_§:oos,340-3,006,624 at 2014-11-11 07 37 21 riocai
§§§§iv§a_§§§§n§§§_§:oos,624-3,014,816 ar 2014-11-11 07 37 22 riocai
§;Y§iv§a_§§a§n§§§~§:oi4,816-3,018,130 at 2014-11~11 07 37 22 riocai
§§@§iv§a_§;§§n§ni-§:ois,130-3,026,322 at 2014-11~11 07 37 23 riocai
§§§§iv§a_§§a§w§§i~§:ozs,322-3,029,775 ar 2014~11-11 07:37 23 riocai
§§Q§iv§a_§§a§n§n§~§:ozo,775-3,037,967 at 2014-11~11 07 37 24 riocai
§;@§i§§a_§§a§néni_§:os7,967~3,041,280 at 2014-11-11 07 37 24 riocai
§;@§iv§é-§§a§n§§i_§:o4i,280-3,049,472 at 2014-11-11 07 37 25 riocai
§;@§iv§a_§;a§m§§i_§:o49,472-3,052,726 ar 2014-11-11 07 37 25 riocai
§§T§iy§a_§§a§n§ni_§:osz,726-3,060,918 ar 2014-11-11 07 37 26 ciocai
§;Q§iv§a_f;§§m§ni~§:oeo,918-3,064,286 ar 2014~11-11 07 37 26 riocai
§;T§iv§a_f;a§néai`§:os4,286-3,072,478 ar 2014-11-11 07 37 27 riocai
§§T§i§§a_f§a§n§§§_§:o7z,478~3,075,776 at 2014-11411 07 37 27 riocai
§;T§iy§a“ffa§n§§§'§:o7s,776~3,083,968 at 2014~11~11 07 37:28 (iocai
§;Y§iyéd~§;§§n§n§_§:oss,968-3,087,338 at 2014-11-11 07 37 28 riocai
§§T§iv§a'§§§§n§ni_§:os7,338-3,095,530 at 2014-11-11 07 37 29 riocai
§§T§iv§a_§;§§n§§i_§:oos,530-3,098,794 ar 2014~11-11 07 37 29 riocai
§§@§iv§a_§§a§m§§i“§:oos,794-3,106,986 ar 2014~11-11 07 37 30 riocai
§;T§iv§d_ffa§n§§§_§:ios,986~3,110,317 at 2014-11-11 07 37 30 riocai
§§§§iy§d~§§a§n§§§_§:iio,317-3,118,509 ij zow§;ii-ii 07 37 31 (iocai
'age

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_ shareazaLE_76.172.3.11,debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§T§iv§d_§§a§n§§§_§:iis,509~3,121,921 at 2014-11-11 07 37 31 riocai
§§T§iy§a_§§§§n§§§_§:izi,921-3,130,113 ar 2014-11~11 07 37 32 riocai
§§@§iy§é*§§a§n§§§_§:iso,113-3,133,440 at 2014-11-11 07 37 32 riocai
§;§§iy§a_§§§§n§§i_§:iaa,440-3,141,632 at 2014-11-11 07 37 33 riocai
§§T§iy§é_§§§§n§§i‘§:i4i,632~3,145,002 ar 2014-11-11 07 37 33 riocai
§;T§iv§a_ffa§n§n§_§:i45,002-3,153,194 at 2014-11~11 07 37 34 riocai
§§@§iv§a_§;a§n§§§_§:iss,194-3,156,504 at 2014-11-11 07 37 34 riocai
§;T§iy§a_fia§n§§i_§:ise,504-3,164,696 at 2014-11-11 07 37 36 (iocai
§;Q§iyéd_§§a§w§§§_§:ie4,696-3,167,999 at 2014-11-11 07 37 36 riocai
§§E§iv§a_f;§§n§§§_§:ie7,999-3,176,191 ar 2014-11-11 07 37 36 riocai
§§Y§i§§é~§;§§n§§i_§:i7e,191-3,179,580 ar 2014-11-11 07:37 36 riocai
§§z§iv§a“§§§§n§§i_§:ira,580-3,187,772 ar 2014-11~11 07 37 37 riocai
§;Q§iyéé_§§a§n§§i‘§:is7,772-3,191,071 at 2014~11~11 07 37 37 riocai
§§T§iv§é_f§§§n§§i-§:isi,071~3,199,263 at 2014»11-11 07 37 39 riocai
§§T§iy§é_f§a§n§§§*§:i99,263_3,202,539 ar 2014-11-11 07 37 39 riocai
§§T§iv§a_§§a§n§§§“§:§oz,539-3,210,731 at 2014~11-11 07 37 39 riocai
§§T§iy§a_§§a§m§§§_§:§io,731-3,214,090 at 2014-11-11 07 37 39 riocai
§;@§iy§a~f§a§n§§§_§:§i4,090-3,222,282 ar 2014-11-11 07 37 41 riocai
§§E§iv§a-§§§§n§§i_§:§zz,282-3,225,600 ar 2014~11-11 07 37 41 riocai
§§T§iy§a_§§§§n§§i'§:§zs,600~3,233,792 at 2014-11-11 07 37 42 riocai
§§T§iv§§_§§a§n§§i'§:§as,792~3,237,063 at 2014-11~11 07 37 42 riocai
§§T§iy§a_§§a§n§n§“§:§37,063-3,245,255 ar 2014-11~11 07 37 42 riocai
§;T§iv§d_fia§n§§§'§:§4s,255-3,248,550 at 2014-11-11 07 37 42 riocai
§§T§i§§d_§§a§n§§i_§:§4s,550-3,256,742 at 2014-11-11 07 37 44 riocai
§;§§i§§a”§;a§n§§i_§:iss,742-3,259,964 at 2014-11-11 07 37 44 riocai
§§@§iy§é`§§§§n§ni_§:§sa,964~3,268,156 at 2014-11-11 07 37 44 riocai
§§Q§iy§a_§§§§n§§§_§:§ss,156-3,271,497 at 2014»11-11 07 37 44 riocai
§§Q§iy§a_f§§§n§§§`§:§7i,497~3,279,689 ar 2014-11~11 07 37 46 riocai
§;T§ivéé_§§a§néni_§:§79,689-3,282,953 at 2014-11~11 07 37 46 riocai
§§T§iv§d_§§§§n§§§_§:§sz,953-3,291,145 ar 2014-11-11 07 37 46 riocai
§§@§iy§a“§;§§n§§§_§:§ai,145~3,294,700 ar 2014~11-11 07 37 46 riocai
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 3,294,700-3,302,892 at 2014-11-11 07:37:47 (local
§§T§iv§a_§;a§m§§i_§:§oz,892-3,306,265 ar 2014-11-11 07 37 47 riocai
§;T§iv§a_fia§m§§i_§:§os,265-3,314,457 at 2014-11~11 07 37 43 (iocai
§;E§iv§d_§§a§n§n§_§:§i4,457-3,317,760 at 2014-11-11 07 37 48 riocai
§§z§iy§a_§§a§n§§§“§:§i7,760~3,325,952 at 2014~11-11 07 37 49 riocai
§§@§iv§a”§§§§n§§§_§:§zs,952-3,329,163 ar 2014-11-11 07 37 49 riocai
§;T§ivéd~§;§§n§n§_§:§za,163-3,337,355 at 2014-11-11 07 37 50 riocai
§§T§iy§d_§§§§a§§i_§:§37,355-3,340,558 ar 2014-11-11 07 37 50 riocai
§§E§iy§a_f§a§n§§i~§:§4o,558-3,348,750 at 2014-11-11 07 37 51 (iocai
§;T§iyéé_f;a§néni~§:§4s,750~3,352,062 at 2014-11-11 07 37 51 riocai
§§T§iy§é_§;§§n§§§~§:§sz,062-3,360,254 ar 2014-11-11 07 37 52 riocai
§§@§iv§é_f;a§n§§§_§:§so,254~3,363,665 at 2014-11-11 07 37 52 riocai
§§T§iv§§_f;§§n§§§_§:§ss,665-3,371,857 at 2014-11-11 07 37 54 riocai
§§T§iv§§~§;a§n§§§_§:§7i,857-3,375,252 ar 2014-11~11 07 37 54 riocai
§§T;i§§§_§;a§n§§i_§:§7s,252-3,383,444 at 2014-11-11 07 37 54 riocai
§;Q§iv§a~§;§§n§§i_§:§ss,444-3,386,754 ar 2014-11~11 07 37 54 riocai
§§T§i§§é“§§§§n§ni_§:§se,754-3,394,946 at 2014-11~11 07 37 55 riocai
§;Y§iy§é~§§§§m§ni_§:§94,946-3,398,356 at 2014-11-11 07 37 55 riocai
§;T§iv§a_§§a§néai_§:§as,356-3,406,548 ar 2014-11-11 07 37 57 riocai
§§T§iy§é_§;a§w§§§*§:loa,548-3,409,920 ar 2014-11-11 07 37 57 riocai
§§T§iy§a‘§§a§n§§§_§:loo,920-3,418,112 at 2014-11~11 07 37 57 riocai
§§T§iy§é”§§a§n§§§_§:lis,112-3,421,441 at 2014~11-11 07 37 57 riocai
§§§§iv§a_§§a§n§§i_§:izi,441-3,429,633 at 2014-11~11 07 37 59 ciocai
§;§§iy§a'§;§§ne§i_§:lza,633-3,432,941 at 2014-11-11 07 37 59 riocai
§;T§iyéé_fia§n§n§*§:isz,941-3,441,133 ar 2014-11-11 07 38 00 riocai
§§@§iy§a_§§a§n§§§~§:l4i,133-3,444,446 at 2014-11-11 07 38 00 (iocai
§§T§iv§§_§§§§n§§§'§:l44,446-3,452,638 ar 2014-11~11 07 38 01 riocai
§;T§iv§d_§§§§n§n§_§:lsz,638-3,456,053 at 2014~11~11 07 38 01 riocai
§§Y§iv§d‘§§§§n§§§_§:lse,053-3,464,245 ar 2014~11~11 07 38 02 riocai
§;T§iv§a“§§§§néai_§:ls4,245-3,467,561 at 2014-11-11 07:38 02 riocai
§§T§i§§d_§§a§n§§i_§:ls7,561-3,475,753 ar 2014-11-11 07 38 03 Ciocai
§§T§iy§é_§§§§n§ni_§:i7s,753~3,479,006 ij 201§;11-11 07 38 03 riocai
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0cS_DownloadHeaders.tXt
§§T§i§§é-§§§§n§§§“§:i79,006-3,487,198 at 2014-11-11 07 38 04 (iocai
§;Y§iv§a_§§§§n§ni_§:ls7,198-3,490,585 at 2014-11-11 07 38 04 riocai
§§Y§iv§é_§§a§n§§§_§:iao,585-3,498,777 ar 2014-11-11 07 38 05 riocai
§;T§iy§a_§§a§néai_§:i9s,777-3,502,080 at 2014-11-11 07 38 05 riocai
§§T§iy§a_§§a§n§§§_§:§oz,080-3,510,272 at 2014-11-11 07 38 06 riocai
§;T§iyéé_f§§§n§§i_§:sio,272-3,513,561 ar 2014-11-11 07 ss 06 riocai
§§T§iy§§“f§a§m§§i*§:§is,561-3,521,753 ar 2014-11-11 07 38 07 riocai
§§T§iy§§“§§§§n§§§'§:szi,753-3,525,028 ar 2014-11-11 07 38 07 (iocai
§§§§iv§a_§§§§a§§i_§:§zs,028-3,533,220 at 2014~11-11 07 38 08 (iocai
§§T§iy§d_§;§§n§§§_§:ssa,220-3,536,550 ar 2014~11~11 07 38 08 (iocai
§§T§iv§é_f§a§n§§i_§:§se,550-3,544,742 ar 2014-11-11 07 38 09 riocai
§§T§iy§a_§§a§n§§i_§:§44,742-3,548,106 ar 2014-11-11 07 38 09 riocai
§;T§iv§d_f§§§neai~§:§4s,106-3,556,298 at 2014*11»11 07 38 10 riocai
§§§§i§§é`§§§§n§§§_§:§se,298-3,559,641 at 2014-11-11 07 38 10 riocai
§§§§iv§é~§§§§n§§§_§:§sQ,641~3,567,833 ar 2014-11-11 07 38:11 riocai
§§§§iv§é~§§§§n§§§_§:§sr,833-3,571,122 at 2014-11-11 07 38 11 riocai
§§Q§iy§a_§§§§n§§i_§:§7i,122~3,579,314 at 2014~11~11 07 38 12 riocai
§§Y§iv§a'§§§§n§§§_§:§ra,314~3,582,718 at 2014~11~11 07 38 12 (iocai
§§T§iy§a_§§§§n§§§_§:§sz,718-3,590,910 ar 2014-11-11 07 38 13 riocai
§;T;iy§a_§;a§meni_§:soo,910-3,594,240 ar 2014-11-11 07 ss 13 riocai
§§T§iv§§_§§a§n§ni~§:§94,240-3,602,432 at 2014-11-11 07 38 14 riocai
§§T§iv§d'§§a§n§§§*§:soz,432-3,605,704 ar 2014-11-11 07 38 14 <iocai
§§T§i§§a“§§a§n§§§_§:sos,704-3,613,896 at 2014»11-11 07 38 15 <iocai
§§@§iv§a_§§a§w§§i_§:sis,896-3,617,201 at 2014-11-11 07 38 15 riocai
§;T§iy§a_§}a§n§ni_§:ai7,201-3,625,393 at 2014-11-11 07 38 16 riocai
§;T§iv§d_§;§§n§Hi-§:ezs,393-3,628,681 at 2014-11-11 07 38:15 riocai
§§T§iy§§'§§§§n§§§'§:ezs,681~3,636,873 at 2014-11_11 07 38 17 riocai
§§T§iy§é'§§a§n§§§_§:sss,873-3,640,237 at 2014~11-11 07 38 17 riocai
§;T§iyéé_§;§§n§ni_§:e4o,237-3,648,429 ar 2014-11-11 07 38 18 riocai
§;Q§iv§d_§§a§meai_§:é4s,429-3,651,693 at 2014-11-11 07 38 is riocai
§;T§ived_f§a§n§ni~§:ssi,693-3,659,885 ar 2014-11-11 07 38 19 riocai
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shareazaLE,76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 3,659,885~3,663,198 at 2014-11-11 07:38:19 (local
§§Q§iy§a“§§§§n§§i~§:ses,198-3,671,390 ar 2014-11-11 07 38:19 tiocai
§§§§iy§d_§§§§a§§§'§:s7i,390-3,674,841 at 2014-11-11 07 38:19 riocai
§§T§iy§d_§;a§m§ni_§:er4,841~3,683,033 at 2014-11~11 07 38 20 riocai
§;T§iyéé~§;§§n§§i_§:sss,033-3,686,400 ar 2014-11-11 07 38:20 tiocai
§;Q§iv§a_§§§§néni-§:ése,400-3,694,592 ar 2014~11-11 07 38 21 riocai
§§T§iv§a_§;§§n§§§_§:es4,592-3,697,856 at 2014-11-11 07 38 21 riocai
§;T§iyéé_§§§§a§n§'§:aa7,856-3,706,048 ar 2014-11-11 07:38:22 riocai
§§@§iy§d_§§a§n§§§_§:ios,048-3,709,286 ar 2014-11-11 07 33 22 riocai
§§z§iy§d_§§a§n§n§'§:ioa,286-3,717,478 ar 2014-11-11 07 ss 23 riocai
§;T§iv§a_§§a§n§§§_§:iir,478-3,720,808 at 2014-11~11 07 38 23 riocai
§§T§iv§é_§§a§n§§i_§:izo,808~3,729,000 ar 2014-11-11 07:38:24 riocai
§;T§iv§§_§§a§néai_§:iza,000~3,732,379 ar 2014-11-11 07 38 24 riocai
§§T§iy§é~§§a§n§ni_§:isz,379~3,740,571 ar 2014-11-11 07 38 25 riocai
§;T§iy§d_§§a§a§ni_§:r4o,571-3,743,862 at 2014-11-11 07 38 25 (iocai
§;T§iv§§_§§a§négi_§:r43,862-3,752,054 at 2014-11-11 07 38 26 (iocai
§§T§iy§a~§;§§n§n§_§:zsz,054-3,755,249 at 2014-11-11 07 38 26 (iocai
§§§§iy§a'§§§§m§§§_§:§ss,249-3,763,441 at 2014-11-11 07 38 27 riocai
§§z§iv§§_§§§§n§§§_§:§ss,441-3,767,257 ar 2014-11~11 07 38 27 riocai
§;T§ivéd_§§a§n§§§_§:iei,257-3,775,449 ar 2014~11~11 07 38 28 riocai
§;@§iyéé_§§a§w§§§_§:i7s,449»3,778,560 at 2014-11-11 07 38 28 riocai
§;§§iv§§_§§§§m§n{_§:irs,560-3,786,752 ar 2014-11~11 07 38 29 riocai
§§§§iv§§~f;a§n§§i_§:iss,752-3,789,916 ar 2014-11-11 07 38 29 riocai
§§§§i§§d~f;§§n§§i~§:isa,916-3,798,108 at 2014-11-11 07 38 30 (iocai
§§§§iv§é_§;§§n§§§‘§:ias,108-3,801,199 ar 2014-11-11 07 38 30 riocai
§§T§iy§a_f§§§a§§§_§:soi,199-3,809,391 ar 2014-11-11 07:38 31 (iocai
§§T§iv§a_§;§§n§§i_§:soa,391-3,812,468 ar'2014-11-11 07 38 31 riocai
§§T§iy§a_§§§§n§§i_§:siz,468-3,820,660 ar 2014-11-11 07 38 32 (iocai
§§T§iv§§_§§a§n§§i_§:szo,660-3,823,831 at 2014-11-11 07 38 32 (iocai
§§T§iy§é'§;§§n§§i'§:szs,831-3,832,023 ar 2014~11-11 07 38 33 riocai
§§T§iv§§_§§a§n§§§_§:saz,023-3,835,068 ar 2014-11-11 07 38 33 riocai
§;T§iv§d_§§a§négi_§:sas,068-3,843,260 ij 201§{11-11 07 38 34 riocai
age

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt

§§Q§iy§é_§§§§n§§i*§:s43, 260- 3, 846, 344 at 2014 11 11 07. 38. 34 riocai
§;Y§iy§a_§§a§m§§{_§:s46,344-3,854,536 at 2014-11-11 07 38 35 riocai
§§T§iv§a"§§§§n§§i*§:ss4,536~3,859,017 ar 2014-11~11 07 38:35 riocai
§§@§iy§é_§§§§n§§i_§:ssQ,017-3,867,209 ar 2014~11-11 07 38 36 ciocai
§§T§iy§§_§§a§n§§i_§:se7,209-3,870,720 at 2014~11~11 07 38 36 riocai
§§§§iv§a_§§a§n§§§_§:s7o,720-3,878,912 ar 2014-11-11 07 38 37 riocai
§§T§iv§a_§§a§n§§§_§:srs,912-3,ssz,166 at 2014-11-11 07 38 37 riocai
§§T§iy§a_§§a§n§§i_§:ssz,166-3,890,358 ar 2014-11-11 07:38 38 riocai
§§@§iy§§_§§a§m§§i_§:soo,358-3,893,636 ar 2014-11-11 07 38:38 riocai
§§Q§iy§é*f§§§a§ni_3:393,636~3,901,828 ar 2014-11-11 07 38:39 (iocai
§§T§iv§é'§;§§a§§i'§:§oi,828-3,905,101 ar 2014~11~11 07 38 39 (iocai
§§T§iy§a~§;§§n§ni“§:§os,101~3,913,293 at 2014~11-11 07 38 40 riocai
§;@§iv§a“§§§§n§§i~3:313,293-3,916,591 ar 2014-11-11 07 38 40 riocai
§§@§iy§a_§§a§n§§§~§:§ls,591-3,924,783 at 2014-11-11 07 38 41 riocai
§§Y§iv§a_f§§§n§§§_§:§z4,783-3,928,010 ar 2014-11-11 07 38 41 riocai
§§T§iv§d_§§a§a§§i_§:§zs,010-3,936,202 at 2014-11_11 07 38 42 riocai
§§T§iv§d_§§a§n§n§_§:§36,202-3,939,940 ar 2014-11-11 07 38 42 riocai
§§z§i§§a_§§a§n§§§_§:§39,940~3,948,132 ar 2014-11~11 07 38 42 riocai
§§E§iy§a~§§§§n§ni_§:§4s,132»3,951,442 ar 2014-11-11 07 38 42 riocai
§§E§iv§a_§§a§n§§§“§:§si,442-3,959,634 at 2014-11-11 07 38 43 riocai
§§T§iv§d_f§a§n§§i_§:§ss,634-3,962,880 at 2014-11-11 07 38:43 riocai
§§T§iv§a_§§§§n§§i_§:§ez,880-3,971,072 ar 2014-11-11 07 38 44 riocai
§§E§iv§a'§;§§n§ni_§:§7i,072-3,974,308 at 2014-11~11 07 38 44 riocai
§§T§iv§a-§§§§n§ni’§:§74,308~3,982,500 ar 2014-11-11 07 38 45 riocai
§§E§iy§é`§§§§n§§i_§:§sz,500-3,985,728 at 2014-11~11 07 38 45 riocai
§§T§iy§a_§§§§n§§§_§:§ss,728-3,993,920 at 2014-11-11 07 38 46 (iocai
§§T§iy§§_f;a§n§§§_§:§93,920-3,997,235 ar 2014-11-11 07 38 46 tiocai
§§T§iy§a_§§a§n§§i_§:§97,235-4,005,427 ar 2014-11-11 07 38 47 riocai
§§T§iy§a~§§a§n§§i_4:oos,427-4,008,793 ar 2014~11-11 07 33:47 riocai
§§T§iy§a_§§§§w§§i_4:oos,793-4,016,985 ar 2014~11-11 07 38 48 riocai
§§@§iy§a'§§a§n§§§_4:ols,985-4,020,385 ar 2014-11-11 07 38 48 (iocai
tqme) ________________ Page 22

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0cS_DownloadHeaders.txt
Received Fragment 4,020,385-4,028,577 at 2014~11-11 07:38:49 (local
§ez§ived_gragment_4:028,577~4,031,964 at 2014~11~11 07:38:49 (local
§e@§ived_;fagment_4:031,964~4,040,156 at 2014-11-11 07:38:50 (local
§;?;ived_gfagment_4:040,156-4,043,556 at 2014-11-11 07:38:50 (local
§;Y§ived_ffagment*4:043,556-4,051,748 at 2014-11-11 07:38:51 (local
§;Q§ived_gfagment‘4:051,748-4,055,040 at 2014~11-11 07:38:51 (local
§;T§ivedvgfagment_4:055,040-4,063,232 at 2014-11~11 07:38:52 (local
§;@§iy§é_ffa§méai_4:os3,232-4,066,394 at 2014-11-11 07 38 52 riocai
§e@§iyed_gragment_4:066,394-4,074,586 at 2014-11-11 07:38:53 Clocal
§§T:ived_;fagment_4:074,586-4,077,809 at 2014-11-11 07:38:53 Clocal
§e?§iyed_ffagment_4:077,809-4,086,001 at 2014-11-11 07:38:54 (local
§;E§iyed_ffagment_4:086,001-4,089,223 at 2014-11-11 07:38:54 (local
§e§§iyed_ffagmeht-4:089,223-4,097,415 at 2014-11~11 07:38:55 (local
§e§§iyed_ffagment_4:097,415~4,101,027 at 2014~11~11 07:38:55 (local
§;E§iyed*gfagment'4:101,027~4,109,219 at 2014-11-11 07:38:56 Clocal
§;Q§iyed~ffagment_4:109,219~4,112,702 at 2014-11-11 07:38:56 (local
§e@§iyed_;fagment'4:112,702~4,120,894 at 2014-11-11 07:38:57 (local
§;T§iyed-gfagment_4:120,894~4,124,265 at 2014-11-11 07:38:57 (local
§§Q§iyed_;fagment_4:124,265-4,132,457 at 2014-11-11 07:38:59 (local
§;§§iyed_ffagment_4:132,457-4,135,777 at 2014-11-11 07:38:59 (local
§§T;ived_;fagment_4:135,777-4,143,969 at 2014~11-11 07:38:59 (local
§e@§ived_ffagment_4:143,969-4,147,200 at 2014-11~11 07:39:00 (local
§e§§iyed_ffagment_4:147,200~4,155,392 at 2014~11-11 07:39:01 (local
§;@§i§§é_§;a§n§§i_4:iss,392-4,158,590 at 2014-11-11 07 39 01 riocai
§§Q§iyed~ffagment_4:158,590-4,166,782 at 2014-11-11 07:39:01 (local
§e§;iyed_gfagment_4:166,782-4,170,016 at 2014~11-11 07:39:01 (local
§;T§ived_gfagment~4:170,016-4,178,208 at 2014~11-11 07:39:02 (local
§§T;iyed_gfagment_4:178,208~4,181,452 at 2014-11-11 07:39:02 (local
§e?;iyed_gfagment`4:181,452~4,189,644 at 2014-11-11 07:39:04 (local
§;T§iyed_ffagment_4:189,644~4,193,103 at 2014-11-11 07:39:04 (local
§;T§ived~ffagment_4:193,103-4,201,295 at 2014-11-11 07:39:04 Clocal
§e§;iyed_gfagment_4:201,295-4,204,869 aj 201§;11-11 07:39:04 (local
age

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5*DownloadHeaders.txt
§ezgiyed“ffagment_4:204,869-4,213,061 at 2014-11-11 07:39:05 Clocal
§e@§iyed_ffagment_4:213,061-4,216,265 at 2014-11~11 07:39:05 (local
§e@§iyed_;fagment*4:2l6,265-4,224,457 at 2014-11~11 07:39:06 (local
§e§;ived_ffagment~4:224,457~4,227,925 at 2014-11-11 07:39:06 (local
§e§§ived_ffagment_4:227,925-4,236,117 at 2014-11-11 07 39:07 (local
§e§§ived_fragment_4:236,117-4,239,360 at 2014-11~11 07:39:07 (local
§;Y§iyed_ffagment_4:239,360-4,247,552 at 2014-11-11 07:39:08 (local
§e?§ived_gfagment_4:247,552»4,250,915 at 2014-11-11 07:39:08 (local
§ez§iyed_ffagment_4:250,915~4,259,107 at 2014-11-11 07:39:09 (local
§e@§iyed_gfagment~4:259,107~4,262,519 at 2014-11-11 07:39:09 (local
§e@§ived_ffagment~4:262,519*4,270,711 at 2014~11-11 07:39:10 (local
§e@§iyed_ffagment_4:270,711-4,273,997 at 2014-11~11 07:39:10 (local
§e@§ived*;fagment_4:273,997-4,282,189 at 2014-11-11 07:39:11 (local
§;::ivedwffagment_4:282,189-4,285,516 at 2014-11-11 07:39:11 (local
§;T§ived*;fagment_4:285,516-4,293,708 at 2014-11-11 07:39:12 (local
§;T§ived~ffagment_4:293,708-4,297,001 at 2014-11-11 07:39:12 (local
§e@§iyed_ffagment_4:297,001-4,305,193 at 2014-11-11 07:39:13 (local
§e@§iyed_;fagment~4:305,193~4,308,452 at 2014-11-11 07:39:13 (local
§e§;iveduffagment"4:308,452~4,316,644 at 2014-11-11 07:39:14 (local
§§T§iv§a_§§a§n§§§“4:3is,644~4,320,038 ar 2014-11~11 07 39 14 riocai
§e§;iyed_;fagment_4:320,038-4,328,230 at 2014-11~11 07:39:15 (local
§;T§ived*ffagment_4:328,230-4,331,520 at 2014-11-11 07:39:15 (local
§e§§iyed_;fagment_4:33l,520-4,339,712 at 2014-11-11 07:39:15 (local
§;T;iyed_ffagment~4:339,712~4,342,989 at 2014-11-11 07:39:15 (local
§§Y§ived_ffagmentv4:342,989-4,351,181 at 2014~11-11 07:39:16 (local
§;@§ived_ffagment_4:351,181-4,354,449 at 2014-11~11 07:39:16 (local
§;T§iyed*ffagment_4:354,449-4,362,641 at 2014-11-11 07:39:17 (local
§e@§ived_gfagment_4:362,641-4,365,941 at 2014-11-11 07:39:17 (local
§e@§ived_ffagment*4:365,941~4,374,133 at 2014-11-11 07:39:18 (local
§§T;iyed_;fagment_4:374,133-4,377,465 at 2014-11-11 07:39:18 (local
§e?§ived_gfagment_4:377,465~4,385,657 at 2014-11-11 07:39:19 (local
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 4,385,657-4,388,956 at 2014~11-11 07:39:19 (local
§§Q§iv§a_§§§§m§§i_4:3ss,956-4,397,148 at 2014-11-11 07 39 19 riocai
§;T§iy§a_r§§§m§§i'4:397,148-4,400,498 at 2014-11-11 07 39 19 riocai
§§T§iy§é`§§§§n§§i_4:4oo,498-4,408,690 at 2014~11~11 07 39 21 riocai
§§T§iv§a_§§§§n§§§'4:4os,690-4,412,096 at 2014-11-11 07 39 21 ciocai
§§§§iy§a'§§a§n§§i_4:4iz,096~4,420,288 ar 2014-11-11 07:39 21 riocai
§§Y§iy§a_§§§§n§§i_4:4zo,288~4,423,680 at 2014-11-11 07 39 21 riocai
§;T§iv§d_fia§néni_4:4z3,680-4,431,872 at 2014-11-11 07 39 21 riocai
§;T§iveé_f;§§m§§§-4:431,372-4,435,144 at 2014~11-11 07 39 21 riocai
§;T§iy§a*§§§§n§§§"4:43s,144-4,443,336 at 2014~11-11 07 39 22 riocai
§§Y§iv§a_§;§§n§§§*4:443,336-4,446,639 at 2014-11-11 07 39 22 riocai
§§T§iv§é“§§§§n§§§_4:44s,639-4,454,831 ar 2014-11-11 07 39 23 riocai
§§T§iy§§_§§§§n§§i_4:4s4,831-4,458,035 at 2014-11-11 07 39 23 riocai
§§T§iv§a'§§a§n§n§_4:4ss,035-4,466,227 at 2014-11-11 07 39 24 riocai
§§T§iv§é_f§a§m§§§_4:466,227-4,469,682 at 2014-11-11 07 39 24 riocai
§§T§iv§é_§§a§m§§§_4:469,682-4,477,874 at 2014-11~11 07 39 24 riocai
§;@§iv§a_§§a§méni_4:477,874-4,481,193 at 2014-11-11 07 39 24 riocai
§§z§iv§d_§§§§n§§§_4:4si,193-4,489,385 at 2014-11-11 07 39 25 riocai
§§§§iv§é_§;a§n§§i_4:489,385-4,492,691 at 2014~11-11 07 39 25 riocai
§§§§iv§d‘§§a§n§§i'4:492,691-4,500,883 ar 2014-11-11 07 39 26 riocai
§§§§iv§§~§§§§n§§§“4:soo,883»4,504,318 at 2014-11-11 07 39 26 riocai
§;@§iy§a_f§a§néni_4:§04,318~4,512,510 at 2014-11-11 07 39 27 riocai
§;@§iy§a_§;aénéni_4:siz,510-4,515,840 at 2014~11-11 07 39 27 riocai
§§T§iy§é_§§a§m§§i_4:§15,840-4,524,032 at 2014~11-11 07 39 28 riocai
§§T§iy§d_§§a§m§§§_4:§24,032-4,527,326 ar 2014411-11 07 39 28 riocai
§;T§iv§a_§§a§n§§§~4:§z7,326-4,535,518 at 2014-11-11 07 39 29 riocai
§;Y§iv§d'§§a§n§6i'4:§35,518-4,538,866 at 2014-11-11 07 39 29 (iocai
§§@§iv§§_§§§§n§§§_4:§3s,866-4,547,058 at 2014-11~11 07 39 30 riocai
§§T§iy§§_§;§§n§§{_4:§471058-4,550,389 at 2014-11~11 07 39 30 riocai
§;@§iv§d_fia§néai_4:sso,389-4,558,581 ar 2014-11-11 07 39 31 riocai
§;T§iv§d_§§a§néai_4:§58,581-4,562,005 ar 2014-11-11 07 39 31 riocai
§§T§iv§a~§§a§n§§§~4:§sz,005-4,570,197 ij 201;;11-11 07 39 32 riocai
age

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0cS_DownloadHeaders.txt
§§T§iyed_ffagment_4:570,197*4,573,391 at 2014-11-11 07:39:32 (local
§§Y§i§éa_§§§§n§§§_£:§rz,391~4,581,583 at 2014-11_11 07 39 33 riocai
§e@§iyed_ffagment_4:581,583-4,584,963 at 2014-11-11 07:39:33 (local
§;E§iyed_gfagment-4:584,963-4,593,155 at 2014~11-11 07:39:33 (local
§§T§iyed_ffagment_4:593,155~4,596,486 at 2014-11-11 07:39:33 (local
§;T§ived_ffagment_4:596,486-4,604,678 at 2014-11-11 07:39:34 (local
§§Q§iv§a_§§a§n§§i_4:ao4,678-4,608,000 ar 2014-11-11 07 39 34 (iocai
§§Y;iyed_ffagment_4:608,000-4,616,192 at 2014-11-11 07:39:35 (local
§;Q§iyed_ffagment_4:616,192-4,619,582 at 2014-11-11 07:39:35 (local
§;T§iyed_ffagment_4:619,582-4,627,774 at 2014~11~11 07:39:36 (local
§e@§ived_;fagment_4:627,774-4,631,104 at 2014-11-11 07:39:36 (local
§e§§iyed-;fagment~4:63l,104-4,639,296 at 2014-11-11 07:39:37 (local
§;T§ived_gfagment_4:639,296-4,642,620 at 2014-11-11 07:39:37 (local
§§T§iyed_ffagment_4:642,620~4,650,812 at 2014-11-11 07:39:38 (local
§;T§iyed_ffagment_4:650,812~4,654,184 at 2014-11-11 07:39:38 (local
§;T§ived_ffagment_4:654,184-4,662,376 at 2014~11~11 07:39:39 (local
§;T§ivéd_f;§§m§§i-4:ész,376-4,665,656 ar 2014-11-11 07 39 39 (iocai
§e§§ived_;ragment_4:665,656-4,673,848 at 2014-11-11 07:39:40 (local
§;Y§iyed_ffagment_4:673,848-4,677,071 at 2014-11-11 07:39:40 (local
§ez§ived_ffagment_4:677,071~4,685,263 at 2014-11-11 07:39:41 (local
§;T§iyed_ffagment_4:685,263-4,688,645 at 2014-11-11 07:39:41 (local
§§T§iyed_ffagmeht_4:688,645-4,696,837 at 2014-11-11 07:39:42 (local
§;T§ived_ffagment_4:696,837-4,700,160 at 2014-11~11 07:39:42 (local
§§T§ived~fragment*4:700,160-4,708,352 at 2014~11-11 07:39:43 (local
§e@§ived~ffagmeht~4:708,352-4,711,645 at 2014-11-11 07:39:43 (local
§§T§i§§é`§§§§ié§§`i:§ii,645_4,719,837 at 2014-11-11 07 39 43 riocai
§e?§iyed_ffagment_4:719,837*4,723,141 at 2014-11-11 07:39:43 (local
§;Q:ived_ffagment_4:723,141-4,731,333 at 2014~11~11 07:39:44 (local
§§T;ived~ffagment~4:73l,333-4,734,610 at 2014-11-11 07:39:44 (local
§;§§ived_gfagment_4:734,610-4,742,802 at 2014-11-11 07:39:44 (local
§§T§ived_gfagment_4:742,802~4,746,179 at 2014-11-11 07:39:44 (local
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
Received Fragment 4,746,179-4,754,371 at 2014-11-11 07:39:45 (local
§§T;iyed_ffagment_4:754,371~4,757,753 at 2014~11~11 07:39:45 (local
§e§§ived_gfagment_4:757,753~4,765,945 at 2014-11-11 07:39:46 (lOcal
§e§:iyedfgfagment-4:765,945-4,769,230 at 2014-11-11 07:39:46 (local
§§Y§i§§é`§§§§i§§£“l:§@e,230-4,777,422 at 2014-11_11 07 39 47 riocai
§;T§iyed“;ragmeht_4:777,422-4,780,793 at 2014-11»11 07:39:47 (local
§;T§ivéé_f§a§n§ni_4:iso,793-4,788,985 ar 2014-11-11 07 39:48 tiocai
§e§;iyeddffagment_4:788,985-4,792,320 at 2014-11-11 07:39:48 (local
§;T;iyed’ffagment_4:792,320-4,800,512 at 2014-11-11 07:39:49 (local
§e§;ived_ffagmeht_4:800,512-4,803,794 at 2014-11-11 07:39:49 (local
§e@§ived*;fagment_4:803,794-4,811,986 at 2014-11-11 07:39:50 (local
§e@§iyed~ffagment*4:8ll,986-4,815,307 at 2014-11-11 07:39:50 (lOCal
§e@;iyed~;fagment’4:815,307-4,823,499 at 2014-11-11 07:39:51 (local
§ez;iyed_gragment*4:823,499-4,826,767 at 2014~11~11 07:39:51 (local
§;Q§iyed_gfagment_4:826,767-4,834,959 at 2014~11~11 07:39:52 (local
§;T§iyed_ffagment_4:834,959*4,838,434 at 2014-11-11 07:39:52 (local
§;T§iyed_ffagment_4:838,434~4,846,626 at 2014-11-11 07:39:53 (local
§;T§iyed_ffagment_4:846,626~4,849,903 at 2014-11-11 07:39:53 (local
§§T§iy§a_§;§§a§§i_4:s49,903-4,858,095 at 2014-11-11 07 39 54 (iocai
§§T:ived_ffagment_4:858,095-4,861,378 at 2014~11~11 07:39:54 (local
§§Q§i§§§~§§§§a§§i*4:§ei,378-4,869,570 at 2014-11-11 07 39 55 (iocai
§e§§iyed-;fagment_4:869,570-4,872,983 at 2014-11-11 07:39:55 (local
§e@§iyed_;fagment_4:872,983-4,881,175 at 2014-11-11 07:39:56 (local
§;T:iyed'gfagment_4:881,175~4,884,480 at 2014-11-11 07:39:56 (local
§e@§iyed_;fagment_4:884,480~4,892,672 at 2014-11-11 07:39:57 (local
§§T§iyed_ffagment_4:892,672-4,895,967 at 2014-11-11 07:39:57 (local
§§T;iyed_;fagment-4:895,967-4,904,159 at 2014-11-11 07:39:58 (local
§§T§iv§a_§§a§n§§i_4:§o4,159-4,907,492 at 2014-11~11 07 39 58 riocai
§e@§iyed~gragment_4:807,492-4,915,684 at 2014-11-11 07:39:59 (local
§e§§iyed'gfagment_4:§15,684~4,918,982 at 2014-11-11 07:39:59 (local
§;E§ived_gfagment_4:él8,982~4,927,174 at 2014-11-11 07:40:00 (local
§;E;ived_ffagment_4:§27,174-4,930,567 at 201;;11-11 07:40:00 (local
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.tXt
§§T§iv§é_§§§§a§§i'4:§3o,567-4,938,759 ar 2014-11~11 07 40 01 riocai
§e§§ived_;fagment_4:838,759-4,942,040 at 2014-11-11 07:40:01 (local
§§Y§iv§é_§§a§n§§i_4:§4z,040-4,950,232 at 2014-11-11 07 40 02 riocai
§§@§iy§é_§§§§n§§i_4:§so,232~4,953,543 ar 2014~11-11 07 40 02 riocai
§82811887§8586861*4:§53,543-4,961,735 at 2014~11~11 07 40 03 riocai
§§T§iv§a_f§a§n§§§*4:§si,735-4,965,102 ar 2014-11-11 07 40 03 riocai
§§Y§iv§a_§§a§n§§{_4:§ss,102-4,973,294 at 2014-11-11 07 40 04 riocai
§§Y§iv§a_§§a§a§§§_4:§73,294-4,976,640 at 2014-11-11 07 40 04 (iocai
§;T§iv§a_f;a§meai_4:§7s,640-4,984,832 at 2014-11-11 07 40 05 riocai
§;T§iv§a_f;a§neni_4:§s4,832-4,988,109 at 2014-11-11 07 40 05 riocai
§§Q§iy§é“§;§§n§§§“4:§ss,109-4,996,301 at 2014-11-11 07 40 06 (iocai
§§T§iv§a_§§a§n§§i_4:§96,301-4,999,615 at 2014-11-11 07 40 06 (iocai
§;T§iy§a_§§§§aéni'4:§99,615-5,007,807 ar 2014-11-11 07 40 07 (iocai
§§T§iy§d_§§a§n§§i_§:oo7,807-5,011,068 ar 2014-11-11 07 40 07 (iocai
§§E§iy§a_§;§§n§§§“§:oii,068-5,019,260 at 2014-11-11 07 40 08 riocai
§§@§iy§a'§§a§n§§§_§:oia,260-5,022,620 ar 2014-11-11 07 40 08 riocai
§§Y§iv§é_§;§§n§§§_s:ozz,620-5,030,812 at 2014~11*11 07 40 09 riocai
§;T§iv§d_§;a§néai_s:o3o,812~5,034,111 at 2014~11-11 07 40 09 riocai
§§T§i§§é_§§a§n§§i_§:o34,111-5,042,303 ar 2014-11-11 07 40 10 riocai
§e@§ived_;fagment~5:042,303-5,045,640 at 2014-11-11 07:40:10 Clocal
§§T§iv§a~§§§§m§§i~§:o4s,640-5,053,832 ar 2014-11-11 07 40 11 riocai
§§T§iv§d_f;§§m§§§_§:os3,832-5,057,250 at 2014~11-11 07 40 11 (iocai
§§T§iv§a_§;a§n§§i_§:os7,250~5,065,442 at 2014-11-11 07 40 12 riocai
§;T§ivéd*f;§§n§ni_§:oss,442-5,068,800 at 2014-11-11 07 40 12 riocai
§§@§iv§é“§;§§a§§i~s:oss,soo-s,076,992 ar 2014-11-11 07 40 13 riocai
§§@§iy§é_§§§§n§§§_§:o7s,992-5,080,153 at 2014-11-11 07 40 13 (iocai
§§@§iy§a_f;§§n§§i_§:oso,153-5,088,345 at 2014_11-11 07 40 14 riocai
§§@§iv§a_§§a§n§§§_§:oss,345-5,091,473 at 2014-11-11 07 40 14 riocai
§§T§iv§a_§§a§m§§i_§:o9i,473~5,099,665 ar 2014~11~11 07 40 15 riocai
§§T§iy§é_§;§§n§§i_§:oaa,665-5,102,827 at 2014-11~11 07 40 15 riocai
§§Q§iy§é~§fa§n§§§~§:ioz,827-5,111,019 at 2014-11-11 07 40 16 riocai
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5*D0wnloadHeaders.txt
Received Fragment 5,111,019~5,114,247 at 2014~11-11 07:40:16 (local
§;§§iv§é_§§a§n§§§_§:ii4,247-5,122,439 ar 2014-11-11 07 40 17 riocai
§§T§iy§é’§;§§n§§§~§:izz,439-5,125,677 at 2014-11-11 07 40 17 (iocai
§§Y§iv§é_§;a§a§§§`§:izs,677-5,133,369 ar 2014-11-11 07 40 is riocai
§§T§iv§a_§§a§m§§i_§:i33,869-5,137,027 ar 2014-11-11 07 40 is riocai
§§§§iy§é_§§a§n§§i_§:i37,027~5,145,219 ar 2014-11-11 07 40 is riocai
§§T§iv§é_§§a§a§§i_§:i4s,219-5,148,493 ar 2014-11-11 07:40:18 riocai
§§T§i§§§_§§§§n§§i`§:i4s,493-5,156,685 at 2014-11-11 07 40 19 riocai
§§@§iy§a_§;§§n§§i*§:iss,685-5,160,960 at 2014-11-11 07 40 19 riocai
§§§§iy§a_§§a§n§§§_s:ieo,960-5,169,152 at 2014-11-11 07 40 20 riocai
§§E§iy§d_f§a§n§§i_§:isa,152-5,172,414 at 2014~11»11 07 40 20 riocai
§§T§iy§d_§§a§m§§§_§:irz,414-5,180,606 at 2014-11-11 07 40 21 riocai
§;T§iy§d_fia§m§§§_§:iso,606~5,183,946 ar 2014-11-11 07 40 21 riocai
§§T§iv§d_§;a§m§§§_§:is3,946-5,192,138 ar 2014-11-11 07 40 22 riocai
§§@§iv§a_§;a§n§§§_§:in,138»5,195,421 ar 2014-11-11 07 40 22 riocai
§§@§iv§a_f§a§n§§i_§:ios,421~5,203,613 ar 2014-11-11 07 40 22 riocai
§;§§iv§a_§§a§n§§i_§:§o3,613»5,207,065 at 2014-11-11 07 40 22 riocai
§§@§iv§a_§;a§n§§i_§:§o7,065-5,215,257 at 2014-11-11 07 40 23 (iocai
§§§§iy§a_§;a§n§§§_§:§is,257-5,218,547 at 2014-11-11 07 40 23 riocai
§§@§iv§d_f;a§n§§§’§:§is,547-5,226,739 at 2014-11-11 07 40 24 riocai
§§§§iv§§“§§§§n§ni_§:§zs,739~5,230,028 ar 2014-11-11 07 40 24 riocai
§§T§iy§é_§§a§n§§i_s:§3o,028-5,238,220 at 2014-11-11 07 40 25 riocai
§§Y§iv§§_f;a§n§§i_s:§3s,220~5,241,611 at 2014-11-11 07 40 25 riocai
§;T§iy§a_f§a§néai_§:§4i,611~5,249,803 at 2014-11-11 07 40 25 (iocai
§§Q§iy§a_§;§§n§§i_§:§49,803-5,253,120 at 2014-11-11 07 40 25 riocai
§§§§iy§a_§;§§n§§§*§:§53,120-5,261,312 at 2014~11-11 07 40 26 (iocai
§§§§iv§é~§§a§n§§i“§:§si,312-5,264,626 at 2014-11~11 07 40 26 riocai
§§§§iv§é'§§a§n§§§_§:§s4,626-5,272,818 ar 2014-11-11 07 40 27 riocai
§§@§iy§a_f§a§n§§§_§:§rz,818~5,276,130 at 2014-11-11 07 40 27 riocai
§;T§iy§a_fia§néai_§:§rs,130-5,284,322 ar 2014-11-11 07 40 23 riocai
§;Q§iv§a_§§a§m§§§_§:§s4,322-5,287,590 ar 2014-11-11 07 40 28 riocai
§§T§iy§a_§§a§n§§§_§:§s7,590-5,295,782 ij 20%§;11-11 07 40 28 riocai
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. shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§T§iy§é_§;a§n§§i~§:§as,782-5,299,140 ar 2014~11-11 07 40 28 riocai
§§T§iy§a~§§a§n§§i_§:§as,140-5,307,332 ar 2014-11-11 07 40 29 (iocai
§§T§iy§§_§;a§n§§§_§:3o7,332-5,310,590 at 2014-11~11 07 40 29 riocai
§§§§iv§d_§;§§n§§i_§:§io,590-5,318,782 at 2014-11-11 07 40 30 riocai
§§Q§iv§a_§§a§n§ni_§:§is,782-5,322,149 at 2014-11-11 07 40 30 riocai
§§T§iy§d_f§§§a§§i~§:§zz,149~5,330,341 ar 2014-11-11 07 40 31 tiocai
§§Y§iy§a_§§a§n§§i_§:33o,341-5,333,779 at 2014~11-11 07 40 31 riocai
§;@§iy§a~§§a§n§n§_§:333,779-5,341,971 ar 2014-11-11 07 40 32 riocai
§§E§iy§a~§§§§m§§§_§:34i,971-5,345,280 at 2014-11-11 07 40 32 riocai
§§T§iy§§_f;§§m§§i_§:34s,280-5,353,472 at 2014-11-11 07 40 33 riocai
§§T§iy§é_§§§§n§n§_§:3s3,472-5,356,804 ar 2014-11-11 07 40 33 riocai
§§§§iv§é_§§a§n§§i_§:§se,804-5,364,996 at 2014~11-11 07 40 34 riocai
§§T§iy§a_§§a§a§§§_§:3e4,996»5,368,292 at 2014-11-11 07 40 34 riocai
§§T§i§§§_f;§§a§§i~§:§ss,292-5,376,484 at 2014-11-11 07 40 35 riocai
§§@§iy§a_§;§§m§§iv§:376,484-5,379,731 ar 2014-11-11 07 40 35 riocai
§§T§iv§a_f;a§a§§i~§:§ra,731-5,387,923 ar 2014-11-11 07 40 35 riocai
§;T§iyéé_§§§§n§ni'§:3s7,923-5,391,332 ar 2014-11~11 07 40 35 (iocai
§§T§iy§d~§§a§n§§i_§:§si,332-5,399,524 at 2014-11~11 07 40 36 (iocai
§§T§iv§a”§§a§n§§§_§:§aa,524-5,402,795 ar 2014-11-11 07 40 36 riocai
§§@§iy§§_§§a§n§§§_§:4oz,795-5,410,987 at 2014~11-11 07 40 37 riocai
§§T§i§§a_§;§§n§ni~s:4io,987~5,414,333 ar 2014-11-11 07 40 37 riocai
§;@§i§§a_f;§§a§§i~§:414,333~5,422,525 ar 2014-11-11 07 40 38 (iocai
§§§§iy§d“§§a§n§§§_§:4zz,525-5,425,912 at 2014-11~11 07 40 38 riocai
§§@§iy§é~§;a§n§§i_s:4zs,912-5,434,104 at 2014~11-11 07 40 39 riocai
§§T§iy§é_r§a§n§§i_§:434,104-5,437,440 at 2014~11-11 07 40 39 riocai
§§T§i§§a_§;§§w§§i~§:437,440~5,445,632 at 2014-11-11 07 40 40 riocai
§§T§iy§a_f;§§n§ni“§:445,632-5,448,557 at 2014-11-11 07 40 40 riocai
§§z§iy§a_§§a§n§§i_§:44s,557-5,456,749 ar 2014-11~11 07 40 41 riocai
§§Q§iv§é“f;a§n§n§_§:4ss,749-5,459,695 at 2014-11~11 07 40 41 riocai
§§@§iy§a_§§a§n§§i_§:459,695-5,467,887 at 2014~11-11 07 40 42 riocai
§;@§iy§a_ffa§aéni_§:4s7,887~5,470,972 at 2014-11-11 07 40 42 riocai
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shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.tXt
Received Fragment 5,470,972-5,479,164 at 2014~11-11 07:40:43 (local
§;T§iv§§_ffa§n§§i~§:479,164-5,484,491 at 2014-11~11 07 40 43 riocai
§§T§iy§§_§;a§n§ni_§:4s4,491~5,492,683 ar 2014-11-11 07 40 43 riocai
§§T§iy§a~§;a§n§§§_§:492,683-5,495,727 ar 2014-11-11 07 40 43 riocai
§;T;iy§a_ffa§n§§i~§:495,727-5,503,919 ar 2014~11~11 07 40 44 (iocai
§§@§iv§§_f}§§n§ni_§:so3,919-5,506,999 at 2014-11~11 07 40 44 riocai
§§@§iv§d_f§§§n§§i_§:§oe,999-5,515,191 ar 2014-11~11 07 40 45 riocai
§§T§iy§§_§§a§n§§i's:§is,191-5,518,344 at 2014-11-11 07 40 45 riocai
§§Y§iv§d_f§a§n§§i_§:§is,344~5,526,536 ar 2014-11-11 07 40 46 riocai
§§@§iv§d*§§a§n§§§_s:§zs,536»5,529,600 ar 2014-11-11 07 40 46 riocai
§§T§i§§§~§§§§a§§§_§:§zo,600~5,537,792 ar 2014-11-11 07 40 47 riocai
§§@§iv§d“§§§§n§§i_§:§37,792-5,541,113 at 2014~11_11 07 40 47 riocai
§;T§iyéénr;§§né§§_§:§4i,113-5,549,305 ar 2014-11~11 07 40 48 riocai
§§T§iv§é_§;§§n§§i~s:§49,305-5,552,597 at 2014-11-11 07 40 48 riocai
§§@§iv§§_§ia§n§§§_s:§sz,597-5,560,789 at 2014-11-11 07 40 49 riocai
§§@§iv§é_§§§§n§§i_§:§ao,789-5,564,129 at 2014-11-11 07 40 49 riocai
§;T§ivéd_§§a§n§n§_§:§64,129~5,572,321 ar 2014-11-11 07 40 50 riocai
§;Q§iy§a-§§a§néni_§:§7z,321~5,575,705 at 2014~11-11 07 40:50 riocai
§§T§i§§a_§§a§n§§§_§:§7s,705-5,583,897 ar 2014~11~11 07 40 51 riocai
§§@§iv§d-§ia§n§§i_§:ss3,897-5,587,200 at 2014-11-11 07 40 51 riocai
§§T§iy§§_§;§§n§§i~§:§s7,200-5,595,392 at 2014-11~11 07 40 51 riocai
§§T§iy§a_§§§§a§§i'§:§as,392-5,598,652 ar 2014-11-11 07 40 51 riocai
§;T§iv§a_fia§néni_§:sas,652-5,606,844 ar 2014-11-11 07 40 52 riocai
§;T§iv§a_f;a§n§n§_§:soe,844-5,610,239 ar 2014~11-11 07 40 52 riocai
§§@§iv§é*§;a§n§§§_§:sio,239-5,618,431 at 2014~11~11 07 40 53 riocai
§§T§iy§a~§i§§n§§i“§:eis,431-5,621,760 at 2014-11~11 07 40 53 riocai
§§@§iv§é_f§§§n§§i’§:szi,760_5,629,952 at 2014-11-11 07 40 54 rio¢ai
§§T§iv§a_f}§§n§§i_§:ezQ,952~5,633,312 at 2014-11~11 07 40 54 riocai
§§T§iv§é_§§§§n§§i_§:s33,312-5,641,504 at 2014~11~11 07 40 55 (iocai
§§@§iy§§_§§a§a§§§_§:e4i,504-5,644,793 ar 2014-11~11 07 40 55 riocai
§§@§iy§d_f§a§n§n§_§:e44,793-5,652,985 ar 2014-11-11 07 40 56 riocai
§§T§iy§d_§;§§n§§§‘§:ész,985-5,656,317 ij zeriiii-ii 07 40 56 riocai
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DownloadHeaders.txt
§§§§iv§a_§;a§n§ni~§:sss,317-5,664,509 ar 2014-11-11 07 40 57 riocai
§§Q§iv§d_§;§§n§§i_§:ss4,509-5,667,979 ar 2014~11~11 07 40:57 riocai
§§§§iy§d~§§a§n§ni_§:se7,979~5,676,171 at 2014-11-11 07 40 58 riocai
§§T§iy§a"f;§§a§§§_§:é76,171-5,679,484 ar 2014-11-11 07 40 ss <iocai
§§@§iv§a_§;a§n§ni~s:sra,484-5,687,676 ar 2014-11~11 07 40 58 riocai
§§@§iy§d_§§a§n§§§_§:ss7,676-5,690,916 ar 2014-11-11 07 40 58 riocai
§§§§iy§d~§§a§n§ni_s:eao,916~5,699,108 ar 2014-11-11 07 40 59 (iocai
§§@§iv§a_§;a§n§n§_§:saa,108~5,702,463 ar 2014-11-11 07 40 59 riocai
§§T§iy§a“§§§§n§§§_§:ioz,463~5,710,655 at 2014-11-11 07 41 00 riocai
§§T§iv§§*f§a§n§§§_§:iio,655-5,713,920 at 2014-11-11 07 41 00 ciocai
§§T§iy§§_f§a§n§§i_§:§i3,920-5,722,112 at 2014-11~11 07 41 01 riocai
,§;T§iv§é_§§a§a§ni-§:izz,112-5,725,416 at 2014-11-11 07 41 01 riocai
§§T§iy§é_§§a§n§§§~s:izs,416-5,733,608 ar 2014~11~11 07 41 02 riocai
§§@§iv§é_§§a§n§§i_§:i33,608-5,736,910 ar 2014~11-11 07 41 02 riocai
§§T§iy§d_§§a§n§§i_§:i36,910-5,745,102 at 2014-11-11 07 41 02 (iocai
§§T§iv§d_§}§§n§§i_§:i4s,102-5,748,360 at 2014-11-11 07 41 02 riocai
§§@§iy§a_§;§§n§§§_s:i4s,360~5,756,552 ar 2014-11-11 07 41 03 riocai
§§@§iy§§~f§§§a§§i_§:iss,552-5,759,959 ar 2014-11~11 07:41 03 (iocai
§§T§iy§é_§§a§n§§§"§:isa,959-5,768,151 ar 2014-11-11 07 41 04 riocai
§;T§iv§a_§§a§néni_§:iss,151-5,771,498 at 2014-11-11 07 41 04 (iocai
§§@§iv§é_§§§§n§§i'§:i7i,493-5,779,690 ar 2014-11-11 07 41 05 riocai
§§§§iv§d~§§a§n§§{_s:i79,690~5,783,017 ar 2014-11-11 07 41 05 ciocai
§§T§i§§a'§;a§n§§§_s:isz,017-5,791,209 at 2014-11~11 07 41 06 riocai
§;T§iy§a_f;a§a§§i‘s:iai,209-5,794,543 ar 2014~11~11 07 41 06 riocai
§;z§iyaé_f;a§n§§i_s:§94,543-5,802,735 at 2014-11-11 07 41 07 riocai
§;T§iyéé_f§§§néai_§:soz,735-5,806,080 ar 2014-11-11 07 41 07 riocai
§§T§iy§a_§§a§a§§i_§:sos,080~5,814,272 ar 2014-11-11 07 41 08 (iocai
§§@§iv§a~§;a§n§n§_§:si4,272-5,817,586 at 2014-11~11 07 41 08 (iocai
§§§§iy§a_f;a§n§§i_§:si7,586-5,825,778 at 2014~11-11 07 41 09 riocai
§§§:iy§d_f;§§n§§i'§:szs,778-5,829,093 at 2014-11-11 07 41 09 riocai
§;T§ivéé_§§a§n§§i_§:szg,093-5,837,285 at 2014-11-11 07 41 10 riocai
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5,837,285-5,840,602 at

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5,840,602-5,848,794 at

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5,848,794-5,852,207 at

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5,929,371-5,932,671 at

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5,932,671-5,940,863 at

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5,940,863-5,944,313 at

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5,944,313-5,952,505 at

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5,952,505-5,955,819 at

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5,955,819~5,964,011 at

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5,964,011-5,967,341 at

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5,975,533-5,978,916 at

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5,998,592-6,001,907 at

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6,001,907-6,010,099 at

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6,010,099-6,013,386 at

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6,013,386~6,021,578 at

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Received Fragment 6,197,719~6,205,911 at 2014-11-11 07:41:41 Clocal
§§@81166_676§6661_6:205,911-6,209,239 at 2014-11-11 07 41 41 riocai
§;§81066_66666§6§_6:209,239~6,217,431 ar 2014-11-11 07 41 42 riocai
§;@81066_663§666176:217,431-6,220,820 ar 2014-11-11 07 41 42 riocai
§§T§iv§a~§;36666176:220,820-6,229,012 at 2014~11-11 07 41 43 riocai
§;@21060~66666661’6:229,012-6,232,331 at 2014~11-11 07 41 43 riocai
§;T;iyéd~§;666661_6:232,331-6,240,523 ar 2014-11-11 07 41 44 riocai
§;@§iy66"666§6661_6:240,523-6,243,815 at 2014-11-11 07 41 44 ciocai
§e@;ived_ffagment_6:243,815-6,252,007 at 2014-11~11 07:41:45 Clocal
§;T§i§66_66666661_6:252,007~6,255,381 ar 2014-11-11 07 41 45 riocai
§6231166_616§6661'6:255,381-6,263,573 ar 2014~11-11 07 41 46 riocai
§;231166_613§6661~6:263,573-6,266,880 ar 2014~11-11 07 41 46 (iocai
§;E§iy66_616§6661~6:266,880-6,275,072 at 2014-11-11 07 41 47 riocai
§;@§iy66‘666§6661-6:275,072-6,278,366 ar 2014-11-11 07 41 47 riocai
§;@21166767666§61_6:278,366-6,286,558 at 2014-11~11 07 41 47 riocai
§§T§iv§6_6§6§6661_6:286,558-6,289,833 at 2014-11~11 07 41 47 riocai
§;T§i§66_6;666661_6:289,833~6,298,025 at 2014-11-11 07 41 48 tiocai
§8231066_6§66666§_6:298,025-6,301,323 ar 2014-11-11 07 41 48 (iocai
§8221066_6§6§6661_6:301,323~6,309,515 at 2014-11-11 07 41 43 riocai
§;T§i§66_67666661_6:309,515~6,312,878 at 2014~11-11 07 41 48 riocai
§;@§iy66_61666661~6:312,878-6,321,070 at 2014»11-11 07 41 49 tiocai
§8281066_666§6661~6:321,070-6,324,368 ar 2014-11-11 07 41 49 riocai
§;@81066'66664661_6:324,366~6,332,560 at 2014-11-11 07 41 50 ciocai
§;Q§ivéa_6;6§3661_6:332,560~6,335,904 at 2014~11-11 07 41 50 riocai
§8231166_6§6§666§_6:335,90446,344,096 ar 2014-11-11 07 41 51 riocai
§§@§1;66_§;6§6661’6:344,096-6,347,515 at 2014-11-11 07 41 51 (iocai
§8281066'663§6661'6:347,515-6,355,707 ar 2014-11~11 07 41 52 riocai
§§T§iy§0_6;6§6661_6:355,707~6,359,040 ar 2014-11-11 07 41 52 ciocai
§;T§iyéé_f§6§0661_6:359,040-6,367,232 at 2014~11-11 07 41 52 riocai
§8281166_61666661_6:367,232-6,370,521 at 2014~11-11 07 41 52 riocai
§8221166_676§6661_6:370,521-6,378,713 ar 2014-11-11 07 41 53 riocai
§;231066_616§666§~6:378,713~6,381,989 ij 201§;11-11 07 41 53 tiocai
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Case 8:15-cr-OOO63-.]LS Document 59-1 Filed 10/23/15 Page 73 of 147 Page lD #:381

_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5,DownloadHeaders.txt
§§Q§iy§é_§;6§6661_6:381,989-6,390,181 ar 2014-11-11 07 41 55 riocai
§;@21166~6§668661~6:390,181-6,393,496 ar 2014~11-11 07 41 55 tiocai
§6221066_666§6661_6:393,496-6,401,688 at 2014-11~11 07 41 55 riocai
§;T§i§66_616§6§61_6:401,688-6,405,078 at 2014-11-11 07 41 55 riocai
§;@810667666§6661~6:405,078-6,413,270 at 2014-11-11 07 41 57 riocai
§8221060_666§6661~6:413,270~6,416,579 ar 2014~11-11 07 41 57 riocai
§8881166_6§666661_6:416,579~6,424,771 ar 2014-11-11 07 41 58 riocai
§;@81066_616§6661_6:424,771~6,428,084 ar 2014-11-11 07 41 58 riocai
§;@21166_666§6661_6:428,084-6,436,276 at 2014-11~11 07 41 59 riocai
§§T§iy§a_§§§§n§§i_6:436,276-6,439,664 at 2014-11-11 07 41 59 riocai
§§z§i§§a_§;§§n§§§_6:439,664-6,447,856 at 2014-11-11 07 42 00 riocai
§;@§iy66‘616§6661-6:447,856-6,451,200 at 2014~11-11 07 42 00 ciocai
§8281166_666§6661~6:451,200~6,459,392 ar 2014-11-11 07 42 01 ciocai
§§T§iy§a~f§§§§§§i~6:459,392-6,462,667 at 2014-11~11 07 42 01 riocai
§8281166~67666§61~6:462,687-6,470,879 at 2014-11~11 07 42 02 (iocai
§;T§i§66_616§666176:470,879~6,474,178 at 2014-11-11 07 42 02 ciocai
§§T§iy§d_§§§§n§§i_6:474,178-6,482,370 at 2014-11-11 07 42 03 riocai
§;@21066_61366§61_6:482,370-6,485,674 ar 2014~11-11 07 42 03 (io¢ai
§;@21166_676§666§_6:485,674-6,493,866 ar 2014~11-11 07 42 04 (iocai
§§@§iy§a_§§a§na§§~6:493,866~6,497,248 at 2014-11~11 07 42 04 riocai
§;T;iyéa~§§3§6661~6:497,246~6,505,440 at 2014-11~11 07 42 05 riocai
§;z§ivéé-§§6§6661-6:505,440-6,508,794 at 2014-11-11 07 42 05 riocai
§;@81166_6§§§6661_6:508,794-6,516,986 ar 2014-11-11 07 42 06 riocai
§§Q§i§60_61666§61_6:516,986-6,520,281 at 2014-11-11 07 42 06 riocai
§;@21066'616§666§~6:520,281~6,528,473 ar 2014-11~11 07 42 07 riocai
§;@81066'§;666661_6:528,473~6,531,846 at 2014-11-11 07 42 07 riocai
§;T§iyéa_6;6§6661_6:531,846-6,540,038 ar 2014-11-11 07 42 08 riocai
§;T§ivea_§;6§6661_6:540,038-6,543,360 ar 2014-11-11 07 42 08 riocai
§;@31066_61366661_6:543,360-6,551,552 ar 2014-11-11 07 42 09 riocai
§;§;iy66761668661~6:551,552-6,554,636 at 2014-11~11 07 42 09 (iocai
§;§:iy66’6;6§6661_6:554,836-6,563,028 at 2014-11-11 07 42 10 riocai
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Received Fragment 6,563,028~6,566,308 at 2014~11-11 07:42 10 (local
§;T§iy66_616§6661~6:566,308-6,574,500 ar 2014~11-11 07 42 10 riocai
§;z§1066767666661_6:574,500-6,577,780 ar 2014-11~11 07 42 10 riocai
§;§§iy§6~6§666661_6:577,780-6,585,972 at 2014-11-11 07 42 11 tiocai
§;221066_61666661_6:585,972-6,589,346 ar 2014~11-11 07 42 11 riocai
§;@§iy§6_616§6661~6:589,346-6,597,538 at 2014-11~11 07 42 12 riocai
§;@81160_613§666176:597,538-6,600,842 at 2014-11-11 07 42 12 riocai
§;221066~6;666661_6:600,842~6,609,034 at 2014-11-11 07 42 12 riocai
§8281060~67666661_6:609,034~6,612,323 at 2014~11-11 07 42 12 (iocai
§§T§iy§§_§§a§n§§i_6:612,323-6,620,515 at 2014~11~11 07 42 13 riocai
§§T§iy§a_§}§§n§§§_6:6zo,515-6,623,930 at 2014-11-11 07 42 13 (iocai
§;T§i§66_6666666176:623,930-6,632,122 at 2014-11-11 07 42 13 (iocai
§;@21066~66666661_6:632,122-6,635,520 at 2014-11-11 07 42 13 riocai
§8231166~66666661_6:635,520-6,643,712 at 2014-11-11 07 42 14 riocai
§§T§iv§é~f}§§n§§i_6:643,712-6,646,994 at 2014-11-11 07 42 14 riocai
§8231160~67666661_6:646,994~6,655,186 at 2014~11-11 07 42 15 riocai
§8281160_6;6§6661_6:655,186~6,658,459 at 2014~11-11 07 42 15 riocai
§§z§iv§d_§}§§a§§§_6:65s,459-6,666,651 at 2014-11~11 07 42 15 riocai
§;@21066_66666661~6:666,651-6,669,956 at 2014-11-11 07 42 15 riocai
§8221166~61666661_6:669,956-6,678,14s at 2014-11-11 07 42 16 ciocai
§8231066'66666661_6:678,148~6,681,539 at 2014~11-11 07 42 16 ciocai
§;@§iy66_6§6§6661_6:681,539-6,689,731 at 2014~11~11 07 42 17 (iocai
§;@21066_6136666§_6:689,731-6,693,108 at 2014-11-11 07 42 17 riocai
§;T;iy66_616§6661~6:693,108-6,701,300 at 2014-11-11 07 42 18 riocai
§;T§iy66~616§6661_6:201,300~6,704,584 at 2014-11-11 07 42 18 riocai
§;T;iy66~616§6661_6:204,584-6,712,776 at 2014-11~11 07 42 19 riocai
§;@:iy60'6§6§6661_6:212,776-6,716,139 ar 2014-11-11 07 42 19 riocai
§;@:iy66_67668661_6:716,139-6,724,331 ar 2014-11-11 07 42 20 ciocai
§§E§iy§§_§;§§a§§§_6:iz4,331-6,727,680 at 2014-11-11 07 42 20 riocai
§8221066_6166666176:227,680-6,735,872 at 2014-11-11 07 42 21 riocai
§;§§iy66~616§6661_6:235,872-6,739,199 at 2014-11-11 07 42 21 (iocai
§;T§iy667676§666i_6:i39,199-6,747,391 ij 201;;11~11 07 42 22 riocai
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Case 8:15-cr-OOO63-.]LS Document 59-1 Filed 10/23/15 Page 75 of 147 Page lD #:383

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Received Fragment 6, 923, 463~ 6, 931, 655 at 2014 11~11 07:42:37 (l ocal
§;T§ivéd_§§666661_6:931,655-6,934,919 at 2014-11-11 07 42 37 riocai
§;§81166_666§6661_6:934,919-6,943,111 at 2014-11-11 07 42 38 ciocai
§§T§i§66_61666661_6:943,111-6,946,385 ar 2014-11-11 07 42 38 riocai
§;T§i;66_666§6661_6:946,385~6,954,577 ar 2014-11-11 07 42 39 ciocai
§;§§1166‘§§§6666176:954,577~6,958,029 at 2014~11-11 07 42 39 riocai
§;Q§i§66_666§666176:958, 029 6, 966, 221 ar 2014~11~11 07 42 40 (iocai
§;Y§i§66“66666661~6:966,221-6,969,515 at 2014~11-11 07 42 40 (iocai
§8231966~6;666661_6:969,515-6,977,707 ar 2014~11-11 07 42 41 riocai
§;E§iv66_66306661_6:977,707-6,981,033 ar 2014~11-11 07 42 41 riocai
§§T§i§§a_§§a§a§§§_6:9sl,033-6,989,225 at 2014-11-11 07 42 42 riocai
§;§31166_6;6§6661_6:989,225-6,992,657 ar 2014~11-11 07 42 42 riocai
§6281966_676§6661_6:992,657-7,000,849 ar 2014~11-11 07 42 44 riocai
§6881966_66666661_7:000,849-7,004,160 at 2014-11-11 07 42 44 riocai
§§T§iv§§_§§§§a§§§_7:0o4,160-7,012,352 ar 2014-11-11 07 42 45 riocai
§;@§iy66_666§6661_7:012,352-7,015,650 ar 2014-11-11 07 42 45 riocai
§§Q§iv§d_§§6§6661_7:015,650-7,023,842 at 2014~11-11 07 42 46 riocai
§;T§i§66~66666661_7:023,842~7,027,099 ar 2014411-11 07 42 46 tiocai
§8281966'666§6661~7:027, 099 7, 035, 291 ar 2014-11-11 07 42 47 riocai
§8881066_66666661'7:035,291-7,038,624 at 2014-11~11 07 42 47 riocai
§§Y§iy§a_§;§§n§§§_7:03s,624~7,046,816 ar 2014-11-11 07 42:48 tiocai
§6281166_67666§61~7:046,816-7,050,212 at 2014-11-11 07 42 48 riocai
§8281966_66666661_7:050,212-7,058,404 ar 2014-11-11 07 42 49 riocai
§;@81166_666§6661'7:058,404-7,061,746 ar 2014-11-11 07 42 49 riocai
§8231966_616§6661_7:061,746-7,069,938 at 2014_11-11 07 42 49 (iocai
§8231§66'666§6661_7:069,938-7,073,246 at 2014-11-11 07 42 49 riocai
§;T§i§66~67666661_7:073,246-7,081,438 ar 2014-11-11 07 42 50 (iocai
§8231966'666§6661_7:081,438-7,084,623 at 2014-11-11 07 42 50 riocai
§8281966_66660661_7:084,823-7,093,015 at 2014-11-11 07 42 51 (iocai
§8281966'663§666§_7:093,015-7,096,320 at 2014-11-11 07 42 51 riocai
§6221166_666§6661~7:096,320~7,104,512 at 2014-11-11 07 42 52 riocai
§;Q§iv66_66666661_7:104,512-7,107,849 ij 201§;11-11 07 42 52 riocai
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_DOWn1oadHeaders.txt
§§T§g;éé_g;;§&ég;_z:107,849-7,116,041 at 2014-11-11 07:42:53 CTOCaT
§;232;68_6;3§6631_7:116,041-7,119,383 at 2014-11-11 07:42:53 (10€a1
§;ng;éa_g;;§%égg_z:119,383~7,127,575 at 2014-11-11 07:42:54 CWOCaT
§;z§g;éé_g;;é&ég§_7:127,575~7,130,890 at 2014-11-11 07:42:54 CTOCaT
§;E§g;éé_;;;é&égg_z:130,890-7,139,082 at 2014-11-11 07:42:55 (10€31
§§E§g;éé_;;;é&ég;_z:139,082-7,142,485 at 2014-11-11 07:42:55 CTGCaT
§;T§g;éa_gggé$ég;_z:142,485-7,150,677 at 2014-11-11 07:42:56 (10ca1
§;T§g;éa_g;g§&ég;_z:150,677~7,154,014 at 2014-11-11 07:42:56 CTOCaT
§§2;2;6&_6;;§&6§;_7:154,014-7,162,206 at 2014-11-11 07:42:57 CTOCaT
§§Q§g;éé_;;;§$ég;_;:162,206-7,165,479 at 2014-11-11 07:42:57 CTOCaT
§§T§g;éa_;;;é%ég§_;:165,479~7,173,671 at 2014-11-11 07:42:58 CTOCaT
§§2§¥;§&_;;;§&§§;_7:173,671~7,177,022 at 2014-11-11 07:42:58 CTOCaT
§;§§g;gé_g;;é%ég£_;:177,022~7,185,214 at 2014-11-11 07:42:58 (10Ca1
§;T§g;éé_;;;é&égg_z:185,214~7,188,480 at 2014-11-11 07:42:58 C]OCaT
§;T§g;éé_g;;§&ég§_z:188,480~7,196,672 at 2014-11-11 07:43:00 (10€a1
§;Y§g;éé_g;;§&ég§_7:196,672~7,200,016 at 2014-11-11 07:43:00 (10€&1
§§E;g;éa_;;;§&ég;_;:éO0,016~7,208,208 at 2014-11-11 07:43:00 (10Ca1
§;T§g;éé_g;;§&ég;_z:éOS,208-7,211,458 at 2014-11-11 07:43:00 C10ca1
§§T§g;éé_;;;§%ég;_z:éll,458~7,219,650 at 2014-11-11 07:43:01 (10€&1
§§T;g;g&_g;;§ég§£_z:élQ,650-7,223,027 at 2014~11~11 07:43:01 C]OCa]
§§§§2;£&~;;;§&£3;~;:§23,027-7,231,219 at 2014-11-11 07:43:02 CTOCaT
§§§;g;éé-g;;§éég§_z:éBl,219-7,234,578 at 2014-11-11 07:43:02 (10Ca1
§§@§Y§§é'§§§§&§§§`§:§z4,578_7,242,770 at 2014-11_11 07 43 03 <10¢31
§§T§g§§§_§;§§$§§§_z:242,770-7,246,068 ar 2014-11-11 07 43 03 (10¢31
§§T§Y§§é'§§§§$é§§_§:§46,068_7,254,260 at 2014-11_11 07 43 04 <10¢31
§;E;g;éa_g;;é&égg_z:354,260-7,257,565 at 2014-11-11 07:43:04 (10€31
§§T§g;éa_g;;é$ég;_z:é$7,565~7,265,757 at 2014-11-11 07:43:05 (10Ca1
§§T§g;éé~;;;é$ég§_;:é€$,757-7,269,103 at 2014-11-11 07:43:05 (10€a1
§§T§g§§§_§§§§$§§§~z:2e9,103-7,277,295 at 2014-11-11 07:43 06 (10¢a1
§;Y;g;ga_g;gé%égé-z:é77,295-7,280,640 at 2014-11~11 07:43:06 (10Ca1
§§z§g;éa_;;gé&;g;~z:éSO,640-7,288,832 at 2014-11-11 07:43:07 (10ca1
tjme) ________________ Page 40

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shareazaLE_76.172.3.111debe7a9eab95e7656141668cb450b0c5~D0wn1oadHeaders.txt
R§Ceived Fragment 7,288,832-7,292,097 at 2014-11-11 07:43:07 (10ca1
§§T§g§§é_§§§§$§§§~§:292,097-7,300,289 at 2014-11-11 07 43 08 <1oca1
§§§§g§§§_§§§§$§§§_§:§oo,289-7,303,604 ar 2014-11-11 07 43 08 (1oca1
§§T§§§§é_§§§§§§§§_§:§oz,604~7,311,796 at 2014-11-11 07 43 09 (10¢a1
§§T§g§§é_§§§§$§§§_§:§ll,796~7,315,137 at 2014-11-11 07 43 09 (1oca1
§§§§g§§§_§§§§§§§§_§:§ls,137~7,323,329 ar 2014-11-11 07 43 09 (10ca1
§§T§g§§é_§;§§é§§§~§:§zz,329~7,326,706 at 2014-11-11 07 43 09 c?oca1
§§T§g§§é_§§§§$§§§“§:§z§,706~7,334,898 at 2014-11-11 07 43 10 (10ca1
§§Q§g§§§_§§§§§§§§~§:§34,898-7,338,213 at 2014-11-11 07 43 10 <1oca1
§§E§g§§é_§§§§$§§§*§:§zs,213-7,346,405 ar 2014~11-11 07 43 11 (10ca1
§§Q§g§§é_§§§§§§§§_§:§46,405-7,349,752 ar 2014~11-11 07 43 11 (10¢31
§§@§g§§§_§§§§§§§§'§:§49,752-7,357,944 ar 2014~11~11 07 43 12 cloca1
§§E§g§§é_§§§§§§§§'§:§s7,944-7,361,303 ar 2014-11-11 07 43 12 <1oca1
§§T§g§§§_§§§§§§§§_§:§el,303-7,369,495 ar 2014-11~11 07 43:13 c1oca1
§§Y§g§§é*§§§§$§§§_§:§69,495-7,372,800 at 2014-11-11 07 43 13 <10Ca1
§§T§g§§é_§;§§§§§§_§:§72,800-7,380,992 ar 2014-11-11 07 43 14 <10Ca1
§;@§3§§3~§§§§§§§§_2:§80,992-7,384,325 ar 2014-11-11 07 43 14 (10¢31
§§@§3§§§_§;§§§§§§_2:§84,325-7,392,517 at 2014-11~11 07 43 15 <10¢31
§§T§g§§§'§§§§$§§§_§:§9z,517-7,395,839 ar 2014~11-11 07 43 15 clocaW
§;@§2§§§“§§§§6§§§_2:§95,839-7,404,031 at 2014~11~11 07 43 15 (10ca1
§§Y§g§§é*§§§§$§§§_§:lo4,031-7,407,309 ar 2014~11-11 07 43 15 (1oca1
§§@§g§§é'§;§§$§§§_§:lo7,309-7,415,501 ar 2014~11~11 07 43:16 (10Ca1
§§z§g§§é“§;§§$§§§_§:lls,501-7,418,887 ar 2014~11-11 07 43 16 (1oca1
§§Y§g§§é_§§§§$§§§_§:lla,887_7,427,079 ar 2014-11~11 07 43 17 (10¢a1
§§T§g§§é_§§§§é§§{_§:lz7,079»7,430,380 at 2014-11-11 07 43:17 (10ca1
§§Q§g§§é_§§§§$§§§'§:lzo,380~7,438,572 at 2014-11-11 07 43:18 (10ca1
§§Y§g§§§_§§§§$§§§_§:lza,572-7,441,879 at 2014-11~11 07 43 18 <1oca1
§§T§g§§é-§§§§H§H§_§:E41,879-7,450,071 ar 2014-11-11 07 43 19 <1oca1
§§@§g§§§_§;§§$§§§_§:l§o,071-7,453,419 ar 2014-11-11 07 43 19 (1oca1
§§T§g§§&_§;§§§§§§_§:lsz,419-7,461,611 ar 2014-11-11 07 43 20 <1oca1
§§Y§g§§§_§§§§$§§§_§:l€l,611-7,464,960 ar 2014-11-11 07 43 20 (10Ca1
§§@§g§§§_§;§§§§§§_§:464,960~7,473,152 §§ 201§{11-11 07 43 21 (10¢31
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. shareazaLE_76.172.3.11_debe7a9€ab95e7656141668Cb450b0c5_D0wn1oadHeaders.txt
§§T§g;;a_;;;éé§g£~7:473,152~7,476,463 at 2014~11-11 07:43:21 (1oca1
§;T§g;éév;;gé§ég§~7:476,463-7,484,655 at 2014~11-11 07:43:21 (10ca1
§§T§g;éé_;;;é%ég;*7:484,655-7,487,947 at 2014-11-11 07:43:21 (10ca1
§;E§g;éa_gggé%égg_7:487,947-7,496,139 at 2014-11-11 07:43:22 (10ca1
§;233;93_6;296661_7:496,139-7,499,465 at 2014-11-11 07:43:22 (10ca1
§§Y§g;éa_;;;§&ég;_7:499,465-7,507,657 at 2014-11-11 07:43:23 (10ca1
§§T§g;éa_g;;é&ég;_7:§07,657-7,511,035 at 2014-11-11 07:43:23 (10ca1
§;222;96_6;2§6961_7:311,035-7,519,227 at 2014-11-11 07:43:24 (10ca1
§;222;98_6;296961_7:319,227-7,522,547 at 2014-11-11 07:43:24 (10ca1
§;Y§g;éé_g;gééégg_7:§22,547-7,530,739 at 2014-11-11 07:43:25 C10ca1
§§Q;g;éa_g;g§$ég;_7:§30,739-7,534,018 at 2014-11-11 07:43:25 (10ca1
§;T§g;éa_;;gé%égg_7:§34,018-7,542,210 at 2014-11-11 07:43:26 (10ca1
§§T§g;éé_g;;é&ég;_7:§42,210-7,545,619 at 2014-11-11 07:43:26 (10€31
§;Q§g;éé_g;gé&ég§_7:§45,619-7,553,811 at 2014-11-11 07:43:27 (10ca1
§§@§g;éa_;;;é&;g§_7:§53,811-7,557,120 at 2014-11-11 07:43:27 (10ca1
§§Y§g;éé_;;;é&ég£_7:§57,120-7,565,312 at 2014-11-11 07:43:29 (10ca1
§§T;g;éé_;;;§%ég§_7:§65,312-7,568,615 at 2014-11-11 07:43:29 (1oca1
§§T;g;;é_;;g§&§g§_7:§68,615-7,576,807 at 2014-11-11 07:43:30 (10ca1
§;§§g;éé_g;gé%ég;_7:§76,807-7,580,106 at 2014-11-11 07:43:30 (10ca1
§;T§g;é&_g;gé$égg_7:380,106-7,588,298 at 2014-11-11 07:43:31 (10ca1
§§T§g;éé_;;;é%ég;_7:§88,298-7,591,661 at 2014-11-11 07:43:31 (10ca1
§§T;g;éé_g;§§&ég;_7:§91,661-7,599,853 at 2014-11-11 07:43:32 (10ca1
§§T§g§§§_§;§§$§§§_§:§99,853-7,603,210 ar 2014-11-11 07:43 32 <10ca1
§§T§g;éé“;;gé&ég£_7:603,210-7,611,402 at 2014-11-11 07:43:33 (10ca1
§§T§g;éa“;;;§$ég£_7:6ll,402*7,614,704 at 2014-11-11 07:43:33 (10ca1
§§T§g;éa_;;;é&ég§_7:6l4,704-7,622,896 at 2014-11-11 07:43:34 (1oca1
§;@§g;éa_g;;ééég;*7:622,896-7,626,183 at 2014-11-11 07:43:34 (10ca1
§;T§g;éa_g;gééég;"7:626,183-7,634,375 at 2014-11-11 07:43:35 (10ca1
§;Y§g;éé_g;gééég;_7:634,375-7,637,747 at 2014~11-11 07:43:35 (10ca1
§§E;g;§&_;;;§&ég;_7:637,747-7,645,939 at 2014-11~11 07:43:36 (10ca1
§§E;g;éé_;;g§$ég;_7:645,939-7,649,280 at 2014-11-11 07:43:36 (10€a1
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ShareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5_00wn1oadHeaders.txt
R¢ceived Fragment 7,649,280-7,657,472 at 2014~11-11 07:43:37 (10ca1
§§@§g§§é_§§§§§§§§_§:és7,472-7,660,779 at 2014-11-11 07 43 37 <1oca1
§§T§g§§é‘§§§§$§§§_§:é€o,779-7,668,971 at 2014-11-11 07 43 38 c?oca1
§§@§g§§é_§§§§$§§§_§:é€a,971~7,672,280 ar 2014-11-11 07 43 38 (1oca1
§§T§g§§é_§§§§$§§§_§:é7z,280~7,680,472 ar 2014-11-11 07 43 39 (1oca1
§§Y§g§§§_§§§§§§§§_§:éao,472~7,683,757 at 2014-11-11 07 43 39 (1oca1
§§E§g§§é_§§§§§§§§_§:ész,757~7,691,949 ar 2014~11-11 07 43 40 (10¢31
§§T§g§§é_§§§§$§§§_§:§9l,949~7,695,345 ar 2014-11-11 07 43 40 (1oca1
§§Y;g§§é_§§§§$§§§_§:é9s,345~7,703,537 ar 2014~11-11 07 43 41 (10ca1
§§T§g§§é_§§§§$§§§_§:zoz,537-7,706,834 ar 2014-11-11 07 43 41 cwoca1
§§Y§g§§é'§;§§§§§§_§:§o€,834~7,715,026 ar 2014-11-11 07 43 42 (10¢31
§§T§g§§§~§§§§$§§§_§:§ls,026-7,718,366 ar 2014_11-11 07 43 42 <10ca1
§§T§g§§§_§§§§$§§§“§:§la,366-7,726,558 ar 2014-11-11 07 43 44 <1oca1
§§Y§g§§§_§§§§§§§§_§:§ze,558-7,729,910 ar 2014-11-11 07 43 44 <10ca1
§§T§g§§é_§§§§$§§§"z:§29,910-7,738,102 ar 2014~11-11 07 43:45 <1oca1
§§§§g§§é‘§§§§$§§§_}:238,102-7,741,440 at 2014~11-11 07 43 45 cwoca1
§§@§2§§§“§§§§§§§§_2:241,440~7,749,632 ar 2014~11-11 07 43 46 <10ca1
§§T§g§§é”§§§§é§§§_§:§49,632-7,752,925 ar 2014~11-11 07 43 46 (10ca1
§§§§g§§é~§§§§$§§§_§:§sz,925-7,761,117 at 2014-11-11 07 43 47 (10ca1
§;T§g§§é_§§§§§§§§”2:261,117-7,764,485 ar 2014-11-11 07 43 47 <1oca1
§§T§g§§é“§§§§§§§§_§:§64,485-7,772,677 ar 2014-11-11 07 43 48 <1oca1
§§T§g§§§_§§§§$§§§_§:272,677~7,775,965 ar 2014~11-11 07 43 48 (10Ca1
§§T§g§§é_§;§§$§§{_§:§7s,965-7,784,157 ar 2014-11-11 07 43 49 (1oca1
§;T§g§§é_§§§§$§§§_2:284,157-7,787,527 at 2014-11~11 07 43 49 (1oca1
§§@§g§§é_§§§§$§§§_§:287,527-7,795,719 at 2014-11*11 07 43 50 (1oca1
§§T§g§§é_§§§§§§§§_§:295,719-7,799,011 ar 2014-11-11 07 43 50 <10Ca1
§§Y§g§§é_§§§§$§§§_§:§99,011-7,807,203 at 2014-11-11 07 43 52 (10ca1
§§T§g§§é~§§§§$§§§~§:§o7,203-7,810,512 ar 2014-11~11 07 43 52 <10ca1
§§T§g§§§_§;§§§§§§"§:§lo,512-7,818,704 ar 2014-11-11 07 43 53 (1oca1
§§T§g§§é_§§§§§§§§_§:§la,704~7,822,102 ar 2014-11-11 07 43 53 <1oca1
§;@§3§§3_§§§§$§§§_§:§22,102~7,830,294 ar 2014-11-11 07 43 54 c]oca1
§§T§g§§§_§;§§§§§§_§:§zo,294-7,833,600 ij 201§;11-11 07 43 54 (1oca1

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_ ShareazaLE_76.172.3.11_debe7a9eab95e7656141668Cb450b0c5_D0wn1oadHeaders.txt
§§z§g§§é_§§§§§§§§_§:§sz,600-7,841,792 at 2014-11-11 07 43 55 cloca1
§§Q§g§§§_§§§§é§§§_§:§41,792-7,845,085 at 2014-11-11 07 43 55 (10Ca1
§§E§g§§§_§§§§&§§§_§:§4s,085-7,853,277 at 2014-11-11 07 43 55 <1oca1
§§T§g§§&_§;§§$§§§_§:§sz,277-7,856,580 ar 2014~11»11 07 43 55 (1oca1
§§T§g§§§_§;§§$§§§_§:§s€,580-7,864,772 ar 2014~11-11 07 43 57 (10ca1
§§@§g§§é_§;§§$§§§_§:§64,772-7,868,082 ar 2014~11“11 07 43 57 <1oca1
§§T§g§§é_§§§§§§§§_§:§@s,082-7,876,274 ar 2014-11-11 07 43 58 (10ca1
§§T§g§§é_§§§§é§§§_§:§7e,274-7,879,673 ar 2014-11-11 07 43 58 (10ca1
§§T§g§§&_§§§§$§§§_§:§79,678-7,887,870 ar 2014-11-11 07 43 59 (1oca1
§§Y§g§§é_§§§§$§§§_§:§s7,870-7,891,172 ar 2014-11-11 07 43 59 (1oca1
§§T§g§§é_§§§§$§§§_§:§91,172-7,899,364 ar 2014-11-11 07 44 00 (10ca1
§§T§g§§é_§§§§§§§§_z:§99,364-7,902,664 ar 2014-11-11 07 44 00 (10¢a1
§§T§g§§é_§§§§$§§§_§:§oz,664-7,910,856 at 2014-11-11 07 44 01 (10¢31
§§E§g§§é_§§§§§§§§_§:§lo,856-7,914,244 ar 2014-11-11 07 44 01 (10¢31
§§T§g§§é_§;§§$§§§_§:9l4,244-7,922,436 ar 2014-11~11 07 44 02 (1oca1
§§@§2§§§_§§§§8§§§_2:922,436-7,925,760 ar 2014-11-11 07 44 02 (1oca1
§§T§g§§§_§;§§§§§§_§:§zs,760-7,933,952 ar 2014~11~11 07 44 03 (woca1
§§@§2§§8_§§§§§§§§_2:933,952-7,937,243 ar 2014-11-11 07:44 03 (10ca1
§§T§g§§§_§;§§§§§§_§:937,243-7,945,435 ar 2014~11-11 07 44 04 (10¢31
§§T§g§§é_§;§§$§§§_2:945,435~7,948,741 ar 2014-11-11 07 44 04 (10¢31
§§T§g§§§_§;§§$§§§'§:948,741-7,956,933 at 2014-11-11 07 44 05 (10¢31
§§@§g§§é~§;§§§§§§~§:§s@,933-7,960,270 at 2014-11-11 07 44 05 <1oca1
§§T§g§§§~§;§§§§§§_§:§€o,270-7,968,462 ar 2014-11-11 07 44 07 (10ca1
§§T§g§§§~§§§§é§§§-§:§€a,462-7,971,819 ar 2014-11-11 07 44 07 (10ca1
§;E§g§§éug§§§$§§§_z:97l,819-7,980,011 ar 2014-11-11 07 44 08 (10ca1
§§T§g§§é_§§§§$§§{_§:§so,011-7,983,334 ar 2014-11-11 07 44 08 (10¢31
§§@§g§§§_§§§§$§§§_2:983,334-7,991,526 ar 2014-11-11 07 44 09 cWoca1
§§T§g§§é_§§§§$§§§_§:99l,526-7,994,845 at 2014-11-11 07 44 09 (10¢a1
§§Q§g§§é_§;§§$§§§_§:994,845-8,003,037 at 2014-11-11 07 44 10 (1oca1
§§Y§g§§é_§;§§§§§§_§:603,037-8,006,426 ar 2014-11-11 07 44 10 (1oca1
§§§§g§§é~§;§§$§§§_§:§o€,426-8,014,618 at 2014-11-11 07 44 11 cwocaw
tjme) ________________ Page 44

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shareazaLE_76.172.3.11_debe7a9eab95e7656141668€b450b0c5”00wn1oadHeaders.txt
Received Fragment 8,014,618-8,017,920 at 2014-11-11 07:44:11 (10ca1
§§T§g§§é_§§§§$§§§_§:617,920-8,026,112 at 2014-11-11 07 44 12 cloca1
§§T§g§§§_§§§§$§§§_§:éze,112-8,029,402 ar 2014-11-11 07 44 12 cloca1
§§T§g§§§_§§§§$§§§_§:929,402-8,037,594 ar 2014-11-11 07 44 13 <1oca1
§§T§g§§é_§§§§$§§§_§:937,594-8,040,906 ar 2014-11-11 07 44:13 <1oca1
§§Y§g§§§'§§§§$§§§_§:640,906-8,049,098 ar 2014-11-11 07 44:14 <1oca1
§§Y§g§§é_§§§§§§§§_§:949,098-8,052,399 ar 2014-11-11 07 44:14 <1oca1
§§T§g§§é_§§§§$§§§_§:§sz,399-8,060,591 at 2014~11-11 07 44 15 <10ca1
§§T§g§§é_§;§§$§§§_§:§€o,591-8,063,942 ar 2014~11-11 07 44 15 (10ca1
§§T§g§§§_§;§§§§§§_§:663,942-8,072,134 ar 2014-11-11 07 44 16 cwoca1
§§T§g§§é_§;§§$§§§_§:672,134-8,075,401 ar 2014~11*11 07 44 16 (10ca1
§§@§g§§§'§§§§$§§§_§:975,401-8,083,593 at 2014-11~11 07 44 17 (10¢31
§§?§2§§§_§§§§§§§§_§:633,593-8,086,937 ar 2014-11-11 07 44 17 <10ca1
§§T§g§§é_§;§§$§§§_§:§a€,937-8,095,129 at 2014-11~11 07 44 18 (10¢a1
§§§§g§§é_§;§§§§§§_§:995,129-8,098,472 ar 2014-11~11 07 44 18 (1oca1
§;T§g§§é_é;§§$§§§_§:698,472-8,106,664 ar 2014-11-11 07 44 19 cloca¥
§§@§g§§é_§§§§§§§§_§:lo€,664-8,110,080 ar 2014-11~11 07 44 19 (1oca1
§§Q§z§§é_§§§§$§§§_§:llo,080-8,118,272 at 2014~11~11 07 44 20 <1oca1
§§Q§g§§é_§§§§§§§§"§:lla,272-8,121,551 ar 2014-11-11 07 44 20 <10Ca1
§§T§g§§é_§§§§§§§§-§:lzl,551-8,129,743 ar 2014-11-11 07 44 22 <1oca1
§§Q§g§§§_§;§§$§§§_§:129,743-8,133,030 ar 2014-11-11 07 44 22 <1oca1
§§@§g§§é_§§§§§§§§_§:133,030-8,141,222 ar 2014-11-11 07 44 23 (1oca1
§;E§g§§é_§}§§§§§§_§:l4l,222-8,144,534 ar 2014-11-11 07 44 23 <10ca1
§§T§g§§é_§§§§$§§§~§:l44,534-8,152,726 ar 2014~11-11 07 44 24 <1oca1
§§@§g§§é_§}§§$§§§_§:lsz,726-3,156,071 ar 2014~11-11 07 44 24 cwoca1
§§T§g§§§_§§§§é§§§'§:lse,071-8,164,263 at 2014-11-11 07 44 25 <1oca1
§§§§g§§§'§;§§$§§§_§:164,263-8,167,597 ar 2014-11~11 07 44 25 (1oca1
§§@§g§§é_§§§§§§§§_§:le7,597-8,175,789 ar 2014-11-11 07 44 26 (10ca1
§§T§g§§§_§§§§$§§§_§:l7s,789-8,179,128 at 2014-11~11 07 44 26 <1oca1
§§E§g§§§_§§§§$§§§_§:179,128-8,187,320 at 2014-11-11 07 44 27 <1oca1
§§T§g§§év§§§§$§§§~§:ls7,320-8,190,698 at 2014-11-11 07 44 27 (10€a1
§§T§g§§§_§§§§&§§§'§:l9o,698-8,198,890 §§ 2013;11-11 07 44 28 (10ca1
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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668Cb450b0c5,DOWn1oadHeaders.txt
§§T§g§§§_§§§§$§§§_§:198,890-8,202,240 ar 2014-11-11 07 44 28 (10¢a1
§§T§g§§é_§;§§$§§§_§:202,240-8,210,432 ar 2014-11~11 07 44 30 (10ca1
§§T§g§§é”§§§§$§§§_§:210,432-8,213,726 at 2014*11-11 07 44 30 <1oca1
§§@§3§§§"§;§§$§§§_§:213,726-8,221,918 at 2014-11_11 07 44 31 (1oca1
§§T§g§§é-§;§§H§§§_§:221,918-8,225,250 at 2014~11-11 07 44 31 cwocaw
§§Y§g§§é_§;§§§§§§_§:225,250-8,233,442 ar 2014-11-11 07 44 32 (10ca1
§§@§g§§&_§§§§$§§§_§:233,442-8,236,718 ar 2014-11~11 07 44 32 (10¢a1
§§@§g§§§_§§§§$§§§_§:236,718-8,244,910 ar 2014-11-11 07 44 33 <10ca1
§§Y§g§§§_§§§§$§§§_§:244,910-8,248,302 at 2014*11-11 07 44 33 <1oca1
§§T§g§§é"§§§§$§§§_§:24s,302-8,256,494 at 2014-11-11 07:44:35 (1oca1
§§Y§g§§§~§§§§$§§§_§:256,494-8,259,792 ar 2014-11-11 07 44 35 (10¢a1
§§Y§g§§é'§§§§$§§§_§:259,792-8,267,984 ar 2014-11-11 07 44 36 <1oca1
§§Y§g§§§~§§§§$§§§_§:267,984-8,271,292 ar 2014-11-11 07 44 36 <1oca1
§§T§g§§é”§§§§$§§§_§:271,292-8,279,484 ar 2014-11-11 07 44 37 (10ca1
§§T§g§§§”§§§§$§§§_§:279,484-8,282,863 ar 2014-11-11 07 44:37 <1oca1
§§E§g§§§“§;§§§§§§_§:282,863-8,291,055 at 2014-11-11 07 44:38 <10ca1
§§T§g§§§'§§§§$§§§_§:291,055-8,294,400 ar 2014-11-11 07 44 38 (10¢a1
§§§§g§§§~§§§§$§§§_§:294,400-8,302,592 ar 2014-11-11 07 44 39 (1oca1
§§@§g§§§'§§§§$§§§_§:§oz,592-8,305,868 ar 2014-11-11 07 44 39 (10¢a1
§§T§g§§é_§§§§§§§§_§:§os,868-8,314,060 ar 2014-11-11 07 44 41 (1oca1
§§Y§g§§§_§§§§$§§§*§:§l4,060~8,317,344 ar 2014-11*11 07 44 41 (10¢a1
§§T§g§§§_§§§§$§§§~§:§17,344~8,325,536 ar 2014-11~11 07 44 42 (10¢a1
§§T§g§§é_§§§§$§§§~§:§zs,536~8,328,831 ar 2014~11~11 07 44 42 cwocaw
§§T§g§§é_§;§§é§§§"§:§zs,831-8,337,023 ar 2014-11-11 07 44 43 (10¢31
§§§§g§§§_§;§§é§§§_§:§z?,023-8,340,404 at 2014-11-11 07 44 43 (10¢a1 9
§§@§3§§3_§§§§$§§§_§:§40,404-8,348,596 ar 2014-11-11 07 44 44 cwoca1
§§@§g§§§~§§§§$§§§_§:§48,596-8,351,894 at 2014-11-11 07 44:44 <1oca1
§§Q§Y§§é*§;§§$§§§_§:§$l,894-8,360,086 at 2014-11-11 07 44 45 (1oca1
§§Q§g§§é_§§§§§§§§_§:§eo,086-8,363,407 ar 2014-11-11 07:44 45 (10ca1
§§T§g§§§_§§§§$§§§_§:§€z,407-8,371,599 ar 2014-11-11 07 44 47 cwoca1
§§T§g§§é_§§§§$§§§~§:§71,599-8,374,992 ar 2014-11-11 07 44 47 (10Ca1
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shareazaLE*76.172.3.11_debe7a9eab95e7656141668cb450b0c5_D0wn1oadHeaders.txt
R¢Ceived Fragment 8,374,992-8,383,184 at 2014-11-11 07:44:48 (10ca1
§§Y§g§§§_§§§§§§§§_§:§83,184-8,386,560 ar 2014-11-11 07 44 48 (10ca1
§§T§g§§é_§;§§§§§§_§:§ae,560-8,394,752 ar 2014-11-11 07 44 49 <10ca1
§§Q§g§§é_§§§§$§§§_§:§94,752-8,398,063 at 2014-11-11 07 44 49 <1oca1
§§T§g§§é*§§§§$§§§_§:§98,063~8,406,255 at 2014~11~11 07 44 50 <10Ca1
§§T§g§§é_§§§§§§§§~§:lo€,255~8,409,565 ar 2014-11-11 07 44 50 (1oca1
§§§§g§§§_§§§§$§§§~§:409,565-8,417,757 at 2014-11-11 07 44 51 (10¢31
§§T§g§§§_§§§§§§§§`§:417,757-8,421,041 ar 2014-11-11 07 44 51 (1oca1
§§T§g§§é_§§§§é§§§*§:lzl,041-8,429,233 ar 2014-11-11 07 44 52 (10¢a1
§§T§g§§é'§§§§$§§§~§:lz9,233-8,432,665 ar 2014~11-11 07 44 52 <1oca1
§§T§g§§§~§§§§$§§§_§:lzz,665~8,440,857 ar 2014-11-11 07 44 54 <10ca1
§§§§3§§§_§;§§§§§§'§:440,857~8,444,142 ar 2014-11-11 07 44 54 <10ca1
§§@§g§§§'§;§§$§§§*§:444,142-8,452,334 at 2014-11-11 07 44 55 (10¢31
§;T§g§§§'§§§§§§§§'§:lsz,334-8,455,652 ar 2014-11-11 07 44 55 (10¢31
§;232;25_8;268961“8:455,652-8,463,844 at 2014-11-11 07:44:56 (10ca1
§§T§g§§é_§§§§§§§§_§:l€z,844-8,467,232 at 2014-11-11 07 44 56 (10ca1
§§@§2§§§_§§§§§§§§~§:467,232-8,475,424 ar 2014-11-11 07:44:58 (10ca1
§§Y§g§§§_§;§§$§§§'§:475,424-8,478,720 at 2014-11-11 07 44 58 (1oca1
§;Y§g§§é_§§§§$§§§_§:l7a,720~3,486,912 at 2014-11-11 07 44 59 (10€31
§§T§g§§é_§;§§§§§§'§:ls€,912-8,490,207 at 2014-11-11 07 44 59 (1oca1
§§Y§g§§é_§;§§§§§§_§:l9o,207-8,498,399 ar 2014-11-11 07 45 00 c1oca1
§§T§g§§é_§;§§$§§§_§:§98,399-8,501,707 at 2014-11-11 07 45 00 (10ca1
§§T§g§§é_§;§§$§§§_§:§ol,707-8,509,899 ar 2014-11-11 07 45 01 (10¢a1
§§§:g;éé_g;;§&ég;_8:§09,899-8,513,222 at 2014-11-11 07:45:01 (10€31
§§T§g§§§_§§§§$§§§_§:§ls,222-8,521,414 at 2014-11-11 07 45 02 (10ca1
§§T§g§§§~§§§§$§§§_§:§21,414~8,524,773 ar 2014-11-11 07 45 02 <10¢31
§;?§g§§§"§§§§§§§§_§:§24,773-8,532,965 ar 2014~11-11 07 45 04 <1oca1
§§§§g§§§_§;§§§§§§-§:§zz,965-8,536,273 ar 2014-11-11 07 45 04 (10ca1
§§Q§g§§§_§§§§$§§§_§:§z€,273-8,544,465 ar 2014-11~11 07 45 05 (10¢31
§§@§g§§§_§§§§$§§§_§:§44,465-8,547,851 ar 2014-11-11 07 45 05 <1oca1
§§z§g§§é_§;§§§§§§_§:§47,851-8,556,043 ar 2014-11-11 07 45 06 <1oca1
§§Q§g§§§'§§§§$§§§_§:§se,043-8,559,360 ij 201$;11-11 07 45 06 <1oca1
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_ shareazaLE*76.172.3.11_debe7a9eab95e7656141668cb450b0c5_D0wn1oadHeaders.txt
§§Y§g§§é_§§§§$§§§_§:§59,360~8,567,552 ar 2014-11-11 07 45 07 (10ca1
§;@22§83_5§389851_5:567,552~8,570,880 ar 2014-11~11 07 45 07 <1oca1

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Received Fragment 8,570,880-8,579,072
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8,651,530-8,659,722

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8,674,549-8,682,741

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8,682,741-8,686,045

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8,686,045~8,694,237

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8,694,237~8,697,556

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8,697,556~8,705,748

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8,705,748~8,709,099

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8,709,099-8,717,291

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8,720,609-8,728,801

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R§ceived Fragment 8,740,313-8,743,681 at 2014-11-11 07:45:20 CTocaT
§§E§g§§§_§§§§$§§§_§:243,681-8,751,873 at 2014~11-11 07 45 21 (1oca1
§§E§g§§é_§§§§$§§§_§:§51,873-8,755,200 ar 2014-11-11 07 45 21 (10¢31
§§T§g§§é_§§§§&§§§_§:§Ss,200-8,763,392 ar 2014-11-11 07 45 22 (10¢a1
§§§§g§§é_§;§§§§§§_§:§@z,392-8,766,571 at 2014-11-11 07 45 22 <10ca1
§§T§g§§é_§§§§§§§§_§:§€@,571~8,774,763 ar 2014-11-11 07 45 24 (10ca1
§§T§g§§§_§;§§§§§§_§:274,763~8,777,971 ar 2014-11~11 07 45 24 <1oca1
§§T§g§§é_§§§§$§§§_§:§77,971-8,786,163 at 2014-11-11 07 45 25 C1oca1
§§T§g§§§_§§§§$§§§_§:§a€,163-8,789,341 at 2014-11~11 07 45 25 <1oca1
§§Q§g§§§_§;§§$§§§_§:289,341-8,797,533 at 2014-11-11 07 45:26 <1oca1
§§T§g§§&_§§§§$§§§~§:297,533-8,800,824 ar 2014-11~11 07 45 26 <1oca1
§§T§g§§§_§;§§§§§§~§:§oo,824-8,809,016 at 2014-11-11 07 45 28 <1oca1
§§T§g§§§_§§§§§§§§_§:§o9,016-8,812,178 at 2014~11-11 07 45 28 <1oca1
§§T§g§§§_§§§§&§§§_§:§12,178-8,820,370 at 2014-11~11 07 45 29 (10¢31
§§T§g§§é_§§§§$§§§_§:§zo,370-8,824,474 at 2014~11-11 07 45 29 (1oca1
§§Q§g§§&_§;§§§§§§_§:§24,474-8,832,666 ar 2014-11-11 07 45 29 (10ca1
§;@§g§§é_§§§§$§§§_§:§zz,666-8,835,956 ar 2014-11-11 07 45 29 <1oca1
§;@229§3*5;368831_5:535,956-8,844,148 at 2014-11-11 07:45:30 (10ca1
§§T§g§§é_§;§§é§§§_§:§44,143-8,847,360 ar 2014~11~11 07 45 30 cloca1
§§T§g§§é_§§§§$§§§'§:§47,360-8,855,552 ar 2014-11~11 07 45 30 (1oca1
§;§§g§§é~§;§§$§§§~§:§Ss,552-8,858,852 at 2014-11-11 07 45 30 <10ca1
§§Q§g§§§-§§§§H§§§'§:§5a,852-8,867,044 at 2014-11-11 07 45 31 (1oca1
§§Y§g§§§_§§§§$§§§_§:§67,044-8,870,337 ar 2014-11-11 07 45 31 <1oca1
§§T§g§§é_§§§§$§§§'§:§7o,337-8,878,529 ar 2014~11-11 07 45 32 (1oca1
§§T§g§§§_§§§§$§§§_§:§7s,529~8,881,830 ar 2014-11-11 07 45 32 (10¢31
§§@§2§§§_§§§§§§§§_§:§81,830-8,890,022 ar 2014-11-11 07 45 33 (10ca1
§;232§83_5;3§6831_5:590,022-8,893,382 at 2014-11-11 07 45 33 (1oca1
§§T§g§§§~§;§§§§§§*§:§93,382-8,901,574 at 2014-11-11 07 45 34 <1Oca1
§§T§z§§é'§§§§§§§§_§:9o1,574-8,904,915 at 2014-11-11 07 45 34 <1oca1
§§T§g§§§_§§§§§§§§"§:904,915~8,913,107 ar 2014-11-11 07 45 35 cwocaJ
§§z§g§§é_§§§§§§§§'§:913,107-8,916,446 ar 2014-11-11 07 45 35 (1oca1
§§§§g§§§_§§§§&§§§_§:916,446-8,924,638 ij 201§;11-11 07 45 36 <10ca1
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_ ShareazaLE_76.172.3.11~debe7a9eab95e7656141668cb450b0c5*D0wn1oadHeaders.txt
§;@33§83_5§368§31_5:924,638-8,928,021 at 2014~11~11 07 45 36 (10ca1
§§Y§g§§é~§;§§$§§§“§:§zs,021-8,936,213 ar 2014~11-11 07 45 37 <1oca1
§§T§g§§é_§§§§§§§§_§:§ze,213-8,939,520 ar 2014~11-11 07 45 37 cwoca1
§§T§g§§§~§;§§§§§§'§:§39,520-8,947,712 at 2014~11-11 07 45 39 (1oca1
§§T§g§§é_§;§§§§§§‘§:947,712-8,950,991 ar 2014~11-11 07 45 39 <1oca1
§§T§g§§é“§§§§$§§§~§:§so,991-8,959,183 at 2014»11-11 07 45 40 <10ca1
§§T§g§§é`§;§§é§§§'§:959,183-8,962,510 at 2014~11-11 07 45 40 (1oca1
§§Q§g§§é‘§§§§§§§§~§:§€z,510-8,970,702 ar 2014-11-11 07 45 41 <10Ca1
§§T§g§§é~§§§§§§§§“§:97o,702-8,974,010 ar 2014-11-11 07 45 41 cwoca1
§§@§g§§é~§;§§$§§§*§:974,010-8,982,202 ar 2014-11-11 07 45 42 (10ca1
§§T§g§§§~§;§§$§§§*§:§az,202-8,985,502 ar 2014-11-11 07 45 42 <1oca1
§§T§g§§§~§;§§$§§§*§:§as,602-8,993,794 at 2014-11-11 07 45 43 <10ca1
§§T§g§§§_§§§§§§§§'§:§93,794-8,997,111 ar 2014-11-11 07 45 43 (10ca1
§;T§g§§é~i;§§$§§§`§:997,111-9,005,303 ar 2014-11-11 07 45 45 <1oca1
§§T§g§§§“§§§§$§§§“§:§oS,303-9,008,593 ar 2014-11-11 07 45 45 (1oca1
§§T§g§§§“§§§§$§§§~§:§oa,593-9,016,785 ar 2014-11-11 07 45 46 (10ca1
§§2§2§§§_§;3§§§§§~9:916,785-9,020,172 ar 2014-11-11 07 45 47 <1oca1
§§T§g§§§_§;§§§§§§_§:§zo,172-9,028,364 at 2014-11-11 07 45 48 (1oca1
§§@§g§§é_§§§§$§§§_§:§zs,364-9,031,680 at 2014-11~11 07 45 48 <1oca1
§§T§g§§é_§;§§$§§§*9:631,680-9,039,872 ar 2014-11-11 07 45 49 <10Ca1
§§T§g§§§_§;§§$§§§_9:639,872-9,043,011 ar 2014-11-11 07 45 49 (10¢31
§§T§g§§§~§§§§§§§§~§:643,011-9,051,203 ar 2014-11-11 07 45 51 <10Ca1
§§T§g§§§_§§§§$§§§“9:651,203-9,054,358 ar 2014-11-11 07 45 51 <10ca1
§;§§g§§§~§;§§é§§§_9:654,358-9,062,550 at 2014-11-11 07 45 52 <1oca1
§§T§g§§§_§§§§§§§{'§:éez,550-9,065,680 ar 2014-11-11 07 45 52 <10Ca1
§§@§3§§§_§§§§8§§§_9:665,680-9,073,872 ar 2014-11-11 07 45 54 <1oca1
§§T§g§§é_§;§§$§§§_9:573,872-9,077,133 ar 2014-11-11 07 45 54 (1oca1
§;@§3§83_5;388861_9:977,133-9,085,325 at 2014-11-11 07 45 55 <1oca1
§;2339§8~5;368§51_9:685,325-9,088,447 at 2014-11-11 07 45 55 <1oca1
§§T§g§§é*§§§§§§§§_§:§aa,447-9,096,639 ar 2014-11-11 07 45 57 <10ca1
§§T§g§§§“§§§§$§§§~9:696,639-9,101,102 ar 2014~11~11 07 45 57 (1oca1
tqme) ________________ Page 50

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ShareazaLE_76.172.3.11_debe739eab95e7656141668cb450b0c5_D0wn1oadHeaders.tXt
R¢ceived Fragment 9,101,102~9,109,294 at 2014-11-11 07:45:58 (10ca1
§§T§g§§é_§§§§é§§§_9:1o9,294-9,112,506 at 2014-11-11 07 45 58 (1oca1
§§z§g§§é_§§§§§§§§_9:112,506-9,120,698 ar 2014-11-11 07 45 59 <1oca1
§§T§g§§é_§§§§$§§§_§:lzo,698-9,123,840 at 2014-11-11 07 45 59 (10ca1
§§T§g§§é_§§§§$§§§_§:lzz,840-9,132,032 ar 2014-11-11 07:46 01 (10ca1
§§?§g§§é~§;§§$§§§_§:lzz,032-9,135,325 at 2014-11-11 07 46 01 (10¢31
§§T§g§§§'§;§§§§§§_§:lss,325-9,143,517 at 2014-11-11 07 46 02 (1oca1
§§Q§g§§é~§§§§§§§§_9:143,517-9,146,798 at 2014-11-11 07 46 02 (1oca1
§§T§g§§§~§§§§$§§§_9:146,798-9,154,990 at 2014-11-11 07 46 03 (10¢31
§§T§g§§é_§§§§$§§§_9:154,990-9,158,350 ar 2014-11-11 07 46 03 (10ca1
§§§§g§§é_§§§§$§§§_9:158,350-9,166,542 at 2014-11-11 07 46 05 <1oca1
§§Q§g§§é_§§§§$§§§_9:166,542-9,169,927 at 2014-11-11 07 46 05 (1oca1
§§T§€§§é_§§§§$§§§_9:169,927-9,178,119 ar 2014-11~11 07 46 06 (10ca1
§§T§g§§é_§§§§$§§§_9:178,119-9,181,425 ar 2014~11~11 07 46 06 cloca1
§§T§g§§é_§;§§$§§§_9:181,425-9,189,617 ar 2014~11-11 07 46 07 (1oca1
§§T§g§§§_§§§§é§§§_9:189,617-9,192,959 at 2014-11-11 07 46 07 (1oca1
§§T§g§§é_§;§§$§§§_9:192,959-9,201,151 ar 2014-11-11 07 46 09 (1oca1
§§T§€§§§_§§§§H§H§_9:201,151-9,204,515 at 2014~11-11 07 46 09 (1oca1
§§E§§§§§~§;§§$§H§_9:204,515~9,212,707 ar 2014-11~11 07 46 10 (10ca1
§§T§g§§é_§§§§$§§§_9:212,707~9,216,000 ar 2014-11~11 07 46 10 <1oca1
§§@;g§§é_§§§§$§§§'9:216,000~9,224,192 ar 2014-11-11 07:45 11 <1oca1
§§Q§g§§é_§§§§$§§§_9:224,192~9,227,491 ar 2014-11~11 07 46 11 <1oca1
§§@§g§§§_§§§§$§§§_9:227,491-9,235,683 ar 2014~11~11 07 46 13 <1oca1
§§Y§g§§é_§§§§$§§§'§:§zs,683-9,239,018 at 2014~11~11 07 46 13 (1oca1
§§@§g§§é_§§§§$§§§‘9:239,018-9,247,210 ar 2014~11~11 07 46 14 <10Ca1
§§T§g§§§_§§§§$§§§_9:247,210-9,250,490 at 2014-11-11 07 46 14 cloca1
§§T§g§§é_§§§§$§§§_9:250,490-9,258,682 at 2014-11-11 07 46 15 (1oca1
§§@§g§§§~§§§§$§§§_9:258,582-9,262,105 ar 2014-11-11 07 46 15 (1oca1
§§Y§g§§§_§§§§$§§§_9:262,105-9,270,297 ar 2014-11-11 07 46 17 (10ca1
§;2§2983_5;3§3361_9:270,297-9,273,589 at 2014-11-11 07 46 17 <10ca1
§§T§g§§é_§;§§$§§§'9:273,589-9,281,781 at 2014-11-11 07 46 18 <1oca1
§§Y§g§§é'§§§§é§§§_9:281,781-9,285,083 ij 201§{11-11 07 46 18 (10ca1

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_ shareazaLE_76.172.3.11_debe7a9eab95e7656141668cb450b0c5~D0wn1oadHeaders.txt
§§T§g§§§_§§§§$§§§_9:285,083-9,293,275 at 2014-11-11 07 46 20 cloca1
§§T§g§§§_§§§§$§§§"9:293,275»9,296,665 ar 2014-11~11 07 46 20 <10ca1
§;T§§§§§_§;§§H§§§_9:296,665~9,304,857 ar 2014-11~11 07 46 21 (1oca1
§§Q§g§§§_§;§§$§§§_9:§04,857-9,308,160 at 2014~11-11 07 46 21 <1oca1
§§T§g§§§_§;§§$§§§_§:§oa,160-9,316,352 at 2014-11-11 07 46 22 (1oca1
§§@§2§§§_§;§§§§§§_9:§16,352-9,319,629 at 2014-11-11 07 46 22 (10ca1
§§T§g§§é_§§§§§§§§_§:§19,629-9,327,821 at 2014-11-11 07 46 24 (1oca1
§§T§g§§§_§§§§$§§§“9:527,821~9,331,113 ar 2014-11~11 07 46 24 <1oca1
§§@§g§§é_§§§§é§§§*§:§zl,113~9,339,305 ar 2014~11411 07 46 25 (10¢a1
§§Q§g§§é_§§§§$§§§_9:539,305-9,342,720 ar 2014~11-11 07 46 25 (1oca1
§§@§g§§é_§§§§§§§§_9:542,720-9,350,912 at 2014~11~11 07 46 26 <1oca1
§§@§g§§é_§§§§$§§§_9:550,912-9,354,260 at 2014~11-11 07 46 26 <10c31
§;2§3§§8_§§386861_9:554,260~9,362,452 at 2014-11*11 07 46 28 (1oca1
§§T§g§§§_§§§§§§§§*9:§62,452-9,365,737 ar 2014-11~11 07:46 28 (10¢31
§§T§g§§é~§§§§$§§§*§:§€s,737~9,373,929 ar 2014~11-11 07 46 29 cwoca1
§§Q§g§§§_§§§§$§§§-9:573,929-9,377,235 ar 2014~11-11 07 46 29 <1oca1
§§T§g§§é_§;§§§§§§“9:577,235»9,385,427 at 2014~11-11 07 46 30 <1oca1
§§T§g§§é'§;§§$§§§~9:585,427~9,388,801 ar 2014-11-11 07:46:30 (10ca1
§§T§g§§é_§§§§§§§§~§:§ss,801-9,396,993 at 2014-11-11 07 46 32 (1oca1
§§@§g§§§_§§§§$§§§'§:§96,993-9,400,320 at 2014~11-11 07 46 32 (1oca1
§§T§g§§§_§;§§$§§§_§:loo,320-9,408,512 at 2014-11-11 07 46:33 cwoca1
§§@§3§§§_§§§§$§§§_9:408,512-9,411,822 ar 2014-11-11 07 46 33 (10Ca1
§§Q§g§§é'§;§§§§§§_9:411,822-9,420,014 at 2014-11-11 07 46 34 (1oca1
§§Q§g§§§~§§§§$§§§_9:420,014-9,423,332 ar 2014-11-11 07 46 34 (10€a1
§§T§g§§§~§§§§é§§§_§:lzs,332-9,431,524 at 2014-11-11 07 46 35 (10¢a1
§§T§g§§é_§§§§$§§§_9:431,524-9,434,814 ar 2014-11-11 07 46 35 (1oca1
§§§§g§§§_§§§§$§§§_9:434,814-9,443,006 ar 2014-11-11 07 46 36 (10¢a1
§§@§g§§é_§§§§§§§{*9:443,006~9,446,471 ar 2014-11-11 07 46:36 <1oca1
§§T§g§§é_§;§§§§§§"9:446,471“9,454,663 ar 2014-11-11 07 46 37 (10¢31
§§T§g§§§_§§§§§§§§_9:454,663-9,457,922 ar 2014-11-11 07 46 37 (10¢31
§§Y§g§§é_§;§§§§§§'9:457,922-9,466,114 ar 2014-11~11 07:46 38 (1oca1
tjme) ________________ Page 52

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ShareazaLE_76.172.3.11_debe7a9eab95e7656141668Cb450b0c5_D0Wn1oadHeaderS txt
Rece1ved Fragment 9, 466, 114- 9, 469, 420 at 2014-11- 11 07: 46:38 (10ca1
§;T§g§§§_§§§§$§§§“9:469,420-9,477,612 at 2014-11-11 07 46 40 (1oca1
§;@§g§§é_§§§§$§§§'9:377,612-9,480,990 ar 2014-11~11 07 46 40 <1oca1
§§§§g§§§'§§§§$§§§_§:lao,990-9,489,182 ar 2014-11-11 07 46 41 (1oca1
§§Y§g§§§*§§§§$§§§_9:489,182~9,492,480 ar 2014-11-11 07 46 41 <1oca1
§§T§g§§é~§§§§§§§§_9:492,480-9,500,672 ar 2014-11-11 07 46 42 (1oca1
§§Y§g§§§*§§§§§§§§_9:500,672-9,503,872 ar 2014-11-11 07 46 42 (10¢31
§§T§g§§§~§§§§§§§§_9:503,872-9,512,064 ar 2014-11-11 07 46 43 <10ca1
§§E§g§§§*§§§§é§§§_9:512,064-9,515,281 ar 2014-11-11 07 46 43 cloca1
§§@;2§§§_§;§§8§§§_9:515,281~9,523,473 at 2014-11-11 07 46 44 <1oca1
§§T§g§§é~§;§§é§§§_§:§zz,473-9,526,739 ar 2014-11-11 07 46 44 <1oca1
§§T§g§§é~§;§§$§§§_§:§z€,739-9,534,931 ar 2014-11~11 07 46 46 (10ca1
§§E§g§§é“§§§§$§§§_9:534,931-9,538,203 ar 2014-11-11 07 46:46 cJoca1
§§T§?Q§§~§;§§$§H§_§:§za,203-9,546,395 ar 2014-11-11 07 46 47 (1oca1
§§T§g§§§“§;§§$§§§_9:546,395-9,549,604 ar 2014-11-11 07 46 47 (1oca1
§§@§2§§§“§;§§9§§§_9:549,604-9,557,796 at 2014-11-11 07 46 48 (10ca1
§§@§g§§é~§;§§$§§§_9:557,796~9,561,729 ar 2014-11-11 07 46 48 (1oca1
§§@§3§§§-§§§§§§§§_9:561,729-9,569,921 ar 2014-11-11 07 46 49 <1oca1
§§?§g§§é_§§§§§§§§_9:569,921-9,573,225 ar 2014-11-11 07 46 49 (10ca1
§§@§g§§§_§§§§&§§§_9:573,225-9,581,417 ar 2014-11~11 07 46 50 (10¢a1
§§T§g§§é_§§§§&§§§_9:581,417-9,584,640 at 2014-11-11 07 46 50 <1oca1
§§Y§g§§é_§§§§$§§§_9:584,640-9,592,832 ar 2014-11~11 07 46 52 (1oca1
§§Q§g§§é_§§§§$§§§_9:592,832-9,596,117 ar 2014-11-11 07 46 52 <10Ca1
§;@§g§§é_§§§§$§§§»9:596,117-9,604,309 at 2014-11-11 07 46 53 (10¢a1
§§T§g§§§_§;§§é§§§*9:504,309-9,607,620 ar 2014-11-11 07 46 53 <1oca1
§§T§g§§é_§§§§$§§§“9:507,620-9,615,812 at 2014-11-11 07 46 54 <10Ca1
§§T§g§§é~§§§§$§§§_9:515,812~9,619,121 ar 2014~11~11 07 46 54 cloca1
§§@§g§§§_§§§§$§§§_9:519,121~9,627,313 at 2014-11-11 07 46 55 <10ca1
§§T§g§§é_§;§§§§§§_9:éz7,313-9,630,682 at 2014-11~11 07 46 55 <1oca1
§§T§g§§é_§§§§§§§§_9:é3o,682-9,638,874 at 2014~11~11 07 46 56 cwoca1
§§@§g§§§_§§§§&§§§_§:ézs,874-9,642,196 ar 2014-11*11 07 46 56 c1oca1
§;T§g§§§~§}§§é§§§_9:542,196-9,650,388 if 201§;11-11 07 46 58 cwoca1

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Received Fragment 9,650,388-9,653,725 at 2014-11-11 07:46:58

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Received Fragment 9,653,725~9,661,917

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Received Fragment 9,661,917-9,665,280

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Received Fragment 9,665,280-9,673,472

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Received Fragment 9,673,472~9,676,800

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Received Fragment 9,676,800~9,684,992

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Received Fragment 9,684,992~9,688,297

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Received Fragment 9,688,297~9,696,489

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Received Fragment 9,696,489-9,699,779

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Received Fragment 9,699,779~9,707,971

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Received Fragment 9,707,971~9,711,292

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Received Fragment 9,711,292~9,719,484

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Received Fragment 9,719,484-9,722,864

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Received Fragment 9,722,864-9,731,056

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Received Fragment 9,731,056~9,734,348

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2014~11-11 07:47:03
2014~11~11 07:47:03
2014-11-11 07:47204
2014~11~11 07:47:04
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--- Fi?e$tatus Message received at 2014~11-11 08:14:58

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Received Fragment 9,777,152-9,780,445 at 2014-11-11 08:14:59

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Received Fragment 9,780,445-9,788,637 at 2014-11-11 08:15:00

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Received Fragment 9,788,637-9,791,914 at 2014-11-11 08:15:00

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Received Fragment 9,791,914-9,800,106 at 2014-11-11 08:15:02

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Received Fragment 9,800,106-9,803,429 at 2014-11-11 08:15:02

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shareazaLE_76.172.3.11_deb
Fragment 9,803,429-9,811,621 at

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9,826,534-9,834,726

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9,838,082-9,846,274

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9,846,274-9,849,627

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9,849,627-9,857,819

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9,857,819-9,861,120

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9,861,120-9,869,312

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9,869,312-9,872,628

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9,872,628-9,880,820

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9,880,820-9,884,164

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9,884,164-9,892,356

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9,892,356-9,895,647

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Fragment

9,895,647-9,903,839

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9,903,839~9,907,228

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9,907,228~9,915,420

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9,915,420~9,918,748

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9,918,748-9,926,940

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9,926,940~9,930,224

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9,938,416-9,941,773

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9,941,773-9,949,965

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9,949,965-9,953,280

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9,953,280-9,961,472

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9,961,472-9,964,780

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9,964,780~9,972,972

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9,972,972-9,976,284

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§§@§4§§§_§;§§8§§§'16:053,632~10,057,071 ar 2014-11-11 08 15 27 ciocai
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§§@§4§§3_§§§§9§§§_19:122,702-10,126,116 ar 2014-11-11 08 15 34 (iocai
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§§@§1§60_§}6§0§0§'10:353,051-10,356,375 at 2014-11-11 08 15 57 ciocai
§§T§g§§é_§;§§$§§§_10:356,375-10,364,567 ar 2014-11-11 08 15 58 (16¢61
§§@§4§§8_§§3§0§0§_10:364,567-10,367,947 at 2014-11-11 08 15 58 (16¢61
§§T§g§§é_§;§§§§§§_10:367,947-10,376,139 at 2014-11-11 06 15 59 ciocai
§§@:g§§é'§§§§§§§§_10:376,139-10,379,393 at 2014~11-11 06 15 59 c1oca1
§§@§g§§é'§§§§§§§§_10:379,393-10,387,565 at 2014-11-11 08 16 00 (16¢61
§§T§g§§§~§;§§§§§§_10:387,585~10,390,869 at 2014-11~11 08 16 00 <1oca1
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§§@§4§§0'§;§§06§§_10:399,061~10,402,436 ar 2014-11-11 08 16 01 (16¢61
§;T§1§66~5236066é_10:402,436~10,410,630 at 2014-11-11 08 16 02 <16¢61
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§§T§g§§§'§§§§$§§§~10:424,639-10,432,631 ar 2014-11-11 06 16 04 (16¢61
§§@§g§§§-E§§§H§H§_10:432,831-10,435,193 at 2014-11-11 08 16 04 (16ca1
§§T§g§§§~§;§§&§§§_10:435,193-10,443,385 at 2014-11-11 08 16 05 (10661
§§@§g§§§-E§§§@§H§_10:443,385~10,445,863 at 2014-11-11 08 16 05 <16661
§§@§4§80~§§§§066§_10:445,863-10,454,055 at 2014-11-11 06 16 06 ciocai
§§T§g§§é”§§§§§§§§_10:454,055~10,456,424 at 2014-11-11 06:16 06 ciocai
§§T§g§§§_§§§§§§§§~10:456,424-10,464,616 at 2014-11-11 08 16 07 <16661
§§T§g§§é_§;§§§§§§-10:464,616-10,467,004 at 2014~11~11 08 16 07 <16661
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U.S. v. Hartman, SA CR 15-63-JLS

Govemment’$ Supplemental Briefmg Opposing
Defendant’$ Motion to Compel Discovery

Exhibit C

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l IN THE UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF NEW MEXICO
3
UNITED STATES OF AMERICA,
4
5 Plaintiff,
6 vS. N0.11~CR~1690
7
JOHN A. CROWE,
8
9 Defendant.
10
11 TRANSCRIPT OF PROCEEDINGS, TESTIMONY OF TAMI LOEHRS
12 MOTION TO SUPPRESS
13
14 May 10, 2012
4:46 p.m.
15

HEARD BEFORE: HONORABLE MARTHA VAZQUEZ

16 United States District Judge
Santa Fe, New Mexico

17

18

19 A P P E A R A N C E S

 

20 For the Plaintiff: Charlyn Rees, AUSA
Raul Torrez, AUSA
21
22 For the Defendant: Jon Paul Rion, Esq.
23
24

25

 

 

 

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l I N D E X

2 m
3 W I T N E S S E S

4 Tami Loehrs

5 Direct Examination by Mr. Rion 3

6 CrOSS-Examination by MS. Rees 28

7 Redirect Examination by Mr. Rion 47

9 Reporter'$ Certificate 52
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1 THE COURT: You may call your witness.

2 MR. TORREZ: Government rests.

3 THE COURT: l'm sorry. 1 just assumed you

4 rested because you told me you had two witnesses.

5 MR. RION: How does the Court wish to proceed?

6 To simply get through the hearing?

7 THE COURT: YeS.
8 MR. RION: However late it goes?
9 THE COURT: 1 presume you're not going to keep

10 me here until midnight.

11 MR. RION: No, but 1 would anticipate this

12 witness is going to take a couple of hours to get

13 through. It's essentially that it‘s our expert, so we‘re
14 going through the same information.

15 THE COURT: Well, let‘s get started.

16 MR. RION: Okay. Good afternoon. Please be

17 seated.

18 TAMI LOEHRS

19 having been sworn, testified under oath as follows:

20 DIRECT EXAMINATION

21 BY MR. RION:

22 Q. State your name, please.

23 A. Tami Loehrs.

24 Q. And your occupation?

25 A. I'm a computer forensics expert and the owner

 

 

 

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1 of Loehrs and Associates, a computer forensics company in
2 Tucson, Arizona.
3 THE COURT: Excuse me. I'm sorry to interrupt
4 you right from the beginning, but I'm going to have to
5 ask you to please slow down and, if you could, speak into
6 the microphone. Our court reporter has been at this all
7 day long, and she would appreciate it if you could be a
8 little slower than our previous witness. Thank you.
9 THE WITNESS: Okay.
10 Q. (Mr. Rion) : How many years have you been in
11 the field of computer forensics?
12 A. 13.
13 Q. And what is your training?
14 A. l have a bachelor of science in information
15 systems. l have hundreds of hours of specific computer
16 forensics training. I am EnCase certified. I'm FTK
17 certified. I'm a certified hacking forensic expert, and
18 1 am a certified computer forensic expert.
19 Q. And have you -~ how many cases have you looked
20 at during your career?
21 A. Somewhere around 300, 400.
22 Q. And have you testified in a court of law prior
23 to this?
24 A. Approximately 60 times in state and federal
25 courts throughout the United States and Puerto Rico.

 

 

 

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1 Q. And has your testimony always been on the issue
2 of computer forensics?

3 A. Yes.

4 Q. Other than your education and then your

5 certifications that you received, have you participated

6 in any type of writings or speakings or anything of that
7 nature?

8 A. Yes. 1‘ve given presentations for years, again
9 all over the country, to various organizations on
10 computer forensics.
11 Q. And specifically as it relates to peer~to~peer
12 programs, what is your training and experience as relates

13 to that field?

14 A. 1 have actually been testing and researching

15 peer~to-peer software based on cases -~ 1've had

16 peer-to-peer cases since 1 think as early as 2004, 2005.
17 So we’ve been testing peer-to~peer software to see how it
18 performs doing forensic exams on cases that involve

19 peer-to~peer investigations, and comparing the forensic
20 findings with the software and how it works.

21 1 have prepared affidavits regarding some

22 issues that we found, and testified in hearings regarding
23 this issue.

24 Q. And you've testified a little bit about some of
25 the qualifications or certifications that you've had.

 

 

 

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1 Are any of those certifications related to peer~to_peer
2 software programs?

3 A. Not specifically to peer-to~peer, no.

4 Q. But to file programs in general?

5 A. Well, to forensics. 1 mean, some of the

6 training that 1've received involves peer-to~peer file

7 sharing.

8 Q. You said EnCase. 13 that something that

9 reviews images and text that would be stored on a

10 computer?
11 A. Yes, EnCase is. 1 think it's the world leader
12 in forensic tools. 1t's a piece of software that allows
13 us to conduct a forensic examination, recover things from
14 unallocated space, things that a normal user would not be
15 able to access.

16 Q. And to be EnCase certified, what types of

17 procedures do you have to go through?

18 A. 1 took courses with EnCase, had to be approved
19 to take their certification process, then you have to
20 pass a written test; 1 think you have to score 80% or
21 higher. Then they send you a practical exam, where you
22 actually conduct a forensic exam, answer some questions.
23 You get graded on that. Once you become certified, you
24 have to continue to get education credits to maintain
25 your certification.

 

 

 

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1 Q. And the other certifications that you have, do
2 they relate specifically to forensics, as well?

3 A. Yes. FTK is the second-leading forensic tool

4 used throughout the world. Very similar process in

5 getting certified: A written test, a practical exam.

6 MR. RION: Your Honor, at this time 1 would

7 tender this witness as an expert in the field of forensic
8 computer forensics.

9 THE COURT: Any objection?

10 MS. REES: No, Your Honor.
11 THE COURT: All right. She will be so accepted

12 by this Court.

13 Q. (Mr. Rion) : 1n this case, were you asked to

14 view various documents and then draw some

15 conclusions from them?

16 A. Yes.

17 Q. And as part of that, did you actually come to
18 Santa Fe or to Albuquergue and actually view the computer
19 for multiple days to try to determine the substance of

20 what's on this computer and how it got there?

21 A. Yes. 1 conducted a preliminary forensics exam
22 on the computer in Albuquerque.

23 Q. 1 want to start with really the software that's
24 involved in these programs, and the necessity of them for
25 a complete analysis.

 

 

 

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1 Tell me how available is this Shareaza,

2 depending on how you want to pronounce it, Shareaza LE

3 software, how available is that to you as a forensic

4 analyst?

5 A. 1t is not available to me. 1t's available only
6 to law enforcement.

7 Q. And so if you wanted to simply analyze the

8 software itself, would you be able to do so absent a

9 court order or the consent of the government?
10 A. No.

11 Q. There's been also some testimony about some
12 other programs such as GnuWatch and Peer Spectre.
13 Generally, what do you know of those?
14 A. Well, Peer Spectre -- and 1'm kind of confused
15 because it seems that GnuWatch is the same thing as Peer
16 Spectre, they just changed the name, because it used to
17 be referred to as Peer Spectre. And my understanding is
18 that software monitors the Gnutella network for SHA

19 values and file names, and simply creates lists of these
20 file names and SHA values at 1P addresses around the
21 world.
22 1 have been ~- 1 don’t know how Peer Spectre
23 works because 1 have been unable to test it.

24 Q. And is Peer Spectre and GnuWatch, however you
25 want to pronounce it, are they also programs that you, as

 

 

 

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1 a private citizen, are not -- do not have access to?
2 A. That's correct.

3 Q. And, absent a court order or the government
4 consenting, would you be able to analyze the metadata or
5 the programming or any of the source codes to make a
6 determination how it works?

7 A. No, 1 would not.

8 Q. Do you have concerns that -- now today you
9 heard about two other groups using maybe even unknown
10 information. There's a group called CPS and another
11 group that's also utilizing various softwares to then
12 view people's computers at some level.

13 A. 1 believe they referred to TLO.

14 Q. And have you ever had an experience where

15 either TLO or CPS would simply share the processes that

16 they go through to gain information on people to generate
17 cases such as this?

18 A. 1 have not heard of those two until this case,
19 Q. Now, do you have concerns -~ let's start this
20 way. 1s software, whether it's government or private,

21 let's just say government, software in general, does it
22 have the ability to go into private spaces of a person's
23 computer?

24 A. Software has the ability to do whatever the

25 programmer programs it to do. So, if a programmer

 

 

 

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1 programs the software to go into a private space, then

2 yes, it would have that ability.

3 Q. And is there software that could be created

4 that could have the ability to go not only into ~~ well,

5 to search e~mails, to go into peer-to-peer sharing

6 spaces, into private downloaded areas, anything in your

7 hard drive, is there software that's able to get into

8 those areas, absent firewalls and things like that?

9 A. Sure. 1 mean, again, 1 don’t know any specific
10 piece of software you're referring to, but it’s --
11 software is simply programming code that tells it what to
12 do. So any ~- it’s like no different than what a virus
13 is programmed to go into a computer. Software is based
14 on what the programmer designs it to do.
15 Q. And what is it that goes into the computer, if
16 you will, for noncomputer people? 1f a software program
17 is designed to go and search a person's computer, what is
18 it that's going into the computer?

19 A. Well, it’s depends on the piece of software.
20 But software is, it’s machine code. 1t's talking to
21 other pieces of software and machine language. 1t's not
22 what the user sees.
23 So, you know, just using something like Peer
24 Spectre as an example, part of the reason 1 have these
25 issues is because 1 have worked on cases where Peer

 

 

 

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1 Spectre has identified file names and SHA values of files
2 that had already been deleted when Peer Spectre

3 identified them as being on a computer, which leads me to
4 believe that the software isn't looking at the actual

5 file that exists, it’s going into the system files of the
6 file~sharing software and reading information that may

7 not have been updated yet, that's not accurate, because

8 the software doesn't constantly update and correct

9 itself.
10 So, inaccurate information may be sitting on a
11 userfs computer that this software is coming in and
12 reading, and it's not what actually exists at the time.
13 Q. And if the testimony of prior experts is that
14 their belief is that Shareaza and things like that, if a
15 file is deleted, doesn't go past -~ it's not on a browser
16 list, and that that information is being gained, is it

17 from the system file or something deeper in the computer,
18 as a possibility?

19 A. Well, again, it's -- this is all scientific.
20 1t needs to be tested. 1t's not about what somebody's

21 belief is. They believe it's not. 1 have found evidence
22 that it does. So, it's not ~- it should be tested. 1t's
23 about testing a piece of software and seeing how it
24 performs and what it does.
25 Q. As to what your specific findings have been,

 

 

 

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1 can you tell the Court specifically what was found

2 through your analysis, when and where?

3 A. 1 worked on a case in Ohio where Peer Spectre

4 provided a list of 1P addresses, or a list of file names,
5 SHA values that were found at a suspect 1P address. When
6 1 was able to go and view the evidence, do a forensic

7 exam in that case, 1 found the files that Peer Spectre

8 had identified on the list, and 1 was actually able to

9 find the metadata that told me when those files had been
10 deleted, and Peer Spectre reported the files as being
11 shared and 1 don’t know the exact date, let's say

12 March 2nd, and 1 found metadata showing that file had

13 been deleted on March lst. So, there‘s no way that

14 that file could have existed on the computer when Peer
15 Spectre read it as being available.

16 Now, 1 know how that happens, because when you
17 delete a file in LimeWire or FrostWire, and 1‘ve tested

18 this, it doesn't automatically update the system file

19 that records that file name and that SHA value. So as a
20 user, 1 delete a file and the file is gone to me. But

21 until LimeWire or FrostWire is restarted, the file name
22 still exists on the computer in the system file.

23 So that file name and that SHA value is being
24 read as a file that's available for sharing when in fact
25 it's been deleted, Now, once the computer is rebooted or

 

 

 

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1 the software is restarted, it will clear that list out

2 and it will no longer show up. The problem is, people

3 don’t restart their computers or restart their software

4 sometimes for days, weeks, or months, so this false

5 information sits in the system files and it's being read
6 by the software.

7 Q. Are system files generally shared files or not?
8 A. Well, the system file is where the sharing

9 occurs. 1t doesn't occur by the file that the user sees
10 on the computer. 1t occurs in the system files that are

11 created by the software. 1t's happening behind the

12 scenes. Again, it's computer language talking to

13 computer language, not what we see.

14 Q. You have concerns that either Peer Spectre or
15 GnuWatch or Shareaza LE, that the programs that‘s being
16 utilized go beyond the shared space in a computer?

17 A. 1 have concerns that not only do they go beyond
18 the shared space -- and when 1 say the shared space, 1

19 guess 1 would say the space that the user has knowledge
20 of being shared #- but that they produce inaccurate

21 information that the -- of items the user doesn't

22 actually have.

23 Q. At the time ~-
24 A. At the time it's reporting it, exactly.
25 Q. Which could be ~- there's two explanations.

 

 

 

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1 The one explanation is that it's going deeper into the

2 deleted space, if you will, or into --

3 A. 1t could. That's the problem, 1 don’t know

4 where the software is going. 1 don’t know, once it gets
5 to the computer to read this information, 1 don’t know

6 where it's taking the information from. 1 don‘t know if
7 it's taking it from only shared locations. 1 don’t know,
8 THE COURT: Excuse me. Can 1 ask a question at

9 this point before 1 get lost? 1f it is deleted, then how

10 can it be shared?

11 THE WITNESS: 1t can‘t. 1f you tried to

12 download that file, you would see it available. 1f you
13 tried to download it, you'd get an error message, you
14 wouldn't be able to download it. The software can only
15 read the name and the SHA value, so the file isn't

16 physically there.

17 THE COURT: Then how was it ~~ 1 thought the
18 testimony was that the Agent -- is it Pilon? 1 don’t

19 want to butcher your name, 1'm sorry. How, what is your
20 explanation, then, as an expert, when you heard the

21 testimony that Agent Pilon was able to download it?

22 THE WITNESS: Gnce he started using that

23 particular software, yes, what he downloaded was a file
24 that existed. 1 don’t know if it was a file that was

25 knowingly shared by the user, but that file did exist or

 

 

 

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1 he would not have been able to download it.

2 But there were things that happened before that
3 step in the investigation, and that is, files are being

4 identified at an 1P address.

5 THE COURT: 1'm sorry to interrupt you. You

6 may go ahead.

7 MR. RION: Thank you.

8 Q. (Mr. Rion) : Specifically, then, as to ~~ you

9 did a forensic analysis as relates to this computer

10 as part of Mr. Crowe's case, correct?

11 A. Yes. And again 1 would confirm that is a
12 preliminary analysis, not a complete forensic analysis.
13 Q. And explain ~- do they allow Mr. Crowe's

14 computer to be released to your lab?

15 A. No, they do not.

16 Q. 15 there actually laws that would prohibit that
17 as a standard, at least, interpretation of laws?

18 A. Yes. The Adam Walsh Act has been interpreted
19 that 1 cannot have that evidence in my lab.

20 Q. And does that limit your ability to analyze

21 certain things?
22 A. Severely.

23 Q. But nonetheless, to some extent, you're able to
24 analyze some things and do so accurately, correct?

25 A. Absolutely.

 

 

 

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1 Q. Now, in this specific case, you had information
2 from the affidavits for the search warrant as it relates
3 to two images that were allegedly -- they were found by

4 the Shareaza program. Correct?

5 A. Correct.

6 Q. And in your analysis of the computer, did you

7 attempt to find those two titles, images, SHA values,

8 et cetera?

9 A. 1 did.

10 Q. And what was your -- what were the results?

11 A. Well, the first thing 1 did was obviously go by
12 the file names and search through allocated space to see
13 if 1 could find those file names of those files, that
14 they existed as an active file. 1 did not find those
15 file names.

16 1 actually scrolled through the gallery view of
17 the images that are on the computer, and we‘re talking

18 50~, 60~, 70,000 images on a computer, to see if 1 found
19 anything indicative of child pornography that might have
20 been one of those images. And 1 did not see anything in
21 that gallery view.

22 So the next step is 1 go and 1 ran a key word
23 search through unallocated space for the file names to
24 determine if 1 could find where the files existed, if

25 they ever existed. And then 1 was able to find those

 

 

 

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1 file names with the file path of where they were prior to

2 them being deleted, Now, 1 didn‘t get to pull the actual

3 image itself, but 1 was able to find the file names.

4 Q. And why wouldn‘t you be able to pull the actual
5 image itself?

6 A. Because the key word search goes and finds text
7 fragments. 1n order to find the actual image, 1 would

8 have to run a forensic process called image carving.

9 What that does is it goes through the unallocated space

10 of the computer and finds every instance of a header and
11 a footer that tells it, that's an image. And it goes

12 through, brings that image back so that 1 can view it.

13 Those processes take a very long time. They're very

14 labor~intensive on the computer. 1t's very difficult to
15 perform any other tasks while those are being done.

16 Carving files can take days to complete, and 1 don‘t have
17 that kind of time. So, 1 did not go in and carve those
18 images.

19 Even if 1 had, 1 didn‘t see the images from the
20 undercover investigation. The images haven't been

21 provided to me. So if 1 had gone through this entire

22 carving process and recovered 200,000 images, there's no

23 way 1 could look through 200,000 images and try to guess
24 which ones were from the undercover investigation.

25 Q. So, but you were able to find the titles that

 

 

 

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1 would have been connected to those images ~~

2 A. Correct.

3 Q. -~ at some point? Now, when you -- did those
4 titles and the paths that were connected with those, the
5 file paths, do they appear to be written over in any way,
6 compromised in any way?

7 A. No, if they were overwritten, 1 wouldn‘t have
8 found them. So 1 found them as whole fragments.

9 Q. And did you -~ were you able to make a

10 determination as to where those images were in

11 Mr. Crowe‘s computer?
12 A. Yes. They were under the 0ser‘s folder. Under
13 the user called User, and 1 believe it was then

14 Documents, and FrostWire.
15 Q. Would that have been in shared space or

16 unshared space from which -~ from the path at any time

17 that you could tell?

18 A. Based on the settings in FrostWire, both the
19 default settings and the settings that 1 found on

20 Mr. Crowe's computer, the root of the FrostWire folder
21 was not a shared location. The shared locations were

22 specifically set out and they were actually the default

23 locations, 1 believe, for the new version and the older
24 version. But, no, it was not identified as a location
25 that would have been shared.

 

 

 

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1 Q. And is that at any time that had been
2 downloaded and viewed and whatever else happened to that
3 image, was that ever in a shared space that you could see
4 from the file path that you identified?
5 A. 1 didn‘t find any evidence of that, no.
6 Q. Okay. And so what can you draw ~- can you draw
7 any conclusions to a reasonable degree of computer
8 certainty or scientific certainty as to whether or not
9 those images were ever in a shared space?
10 A. Based on the forensic evidence 1 found, those
11 images were not in a shared location. That‘s all 1 can
12 say. Again, things have been deleted. But based on the
13 forensic evidence that 1 uncovered, those files were not
14 in a shared folder.
15 Q. And neither at the time that you saw them or at
16 any time of their path that you were able to view?
17 A. 1 found no evidence of them being in there in
18 the past, correct.
19 Q. Now, did that cause you some concern as far as
20 the scope in which the Shareaza program goes into a
21 person's computer, then?
22 A. 1t causes several concerns, yes, that any
23 file-sharing software that's looking at that computer,
24 how it's getting those files.
25 Q. And to adequately make a determination as to

 

 

 

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1 how it is that that computer program got to that image,

2 what would you need to do?

3 A. Test the computer program to find out what it's
4 doing.

5 Q. 1s there any other way to do it?

6 A. Not that 1 know of. 1 mean, that's what we do
7 in forensics. We test software all the time to determine
8 how it reacts with the computer, what it's doing, what

9 files it’s reading, what files it's creating. That's how
10 we do this work.
11 Q. Now, in this case, you were hired by us in
12 early spring sometime?
13 A. Yes. 1 believe it was February or March,

14 sometime around there.

15 Q. And as a result of you being hired, did you
16 then come down here to then view the computers?

17 A. Yes.

18 Q. And during that process, from the date you were
19 hired until, frankly, mid-April sometime, did you receive
20 various documents from our office?
21 A. 1 did.
22 Q. And did those documents come at different
23 times?

24 A. They did. 1 got some stuff early on via

25 e~mail. 1 got ~~ 1 think we had some hard copy stuff

 

 

 

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1 sent later on. But yes, we got them in different pieces.
2 Q. Okay. Just to clear it up, in your affidavit,
3 it states that there's no indication that you had that

4 these images had been downloaded. Now that you've seen

5 more information that we've actually provided to you some
6 time ago, after you wrote your affidavit, what is your

7 opinion on that?

8 A. Again, to clarify my affidavit, when 1 said 1

9 saw no documentation, what 1'm speaking about are log
10 files. 1n the past, when files are downloaded from a
11 single source in an undercover investigation, those files
12 are tracked with software that creates logs. The log
13 file will ~- for one file, you may have 20, 30, 40 lines

14 in the log file showing how that file came, how that file

15 was downloaded from the suspect to the undercover

16 computer.

17 Those logs are created by publicly available
18 software that we test. 1've seen the logs, 1 know

19 they're accurate. And when 1 see those logs, there's no

20 question that that file has been downloaded. 1n this

21 case, 1 saw no logs of any downloads whatsoever. Now, 1
22 did see discovery that 1 believe came in paper form after
23 1 prepared my affidavit that 1 did not see at the time

24 that has some logging in it, but 1 have never seen those'

25 types of logs before. So, 1 don’t know what to tell you,

 

 

 

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1 other than it does appear there's some kind of logging
2 showing files being downloaded but 1 don’t know what

3 created that log.

4 Q. Fair enough. Are you able at this time to have
5 an opinion as to whether or not software in this case

6 that was utilized violated the Fourth Amendment?

7 A. No, not without testing it.

8 Q. Are you able to have an opinion in this case

9 from what you viewed outside looking in as to at least
10 from a forensic analysis that you've completed as to
11 whether or not there are significant issues raised by

12 your forensic evaluation of the computer as to whether or
13 not the software went beyond the open shared space of the
14 computer?
15 A. Yes. There are definitely issues that 1 think
16 need to be addressed and tested and analyzed more

17 completely.

18 Q. The computer program in this case -- you were
19 shown, as part of the discovery, a list of -- a file list
20 that was generated in this case, correct?

21 A. Yes.

22 Q. And in that case, in that list, did it state

23 who the peer~to-peer network that was being utilized,

24 what that was?

25 A. The software?

 

 

 

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1 Q. Yes.

2 A. Yes. 1 believe it reported LimeWire 4.21.3.

3 Q. Okay. And then when you analyzed the computer
4 from the information that you had, what information did

5 you receive?

6 A. There was no LimeWire software on the computer.
7 1 found FrostWire.

8 Q. And do you have an explanation? You've heard

9 testimony about that. 13 there any other explanation, or
10 do you accept that explanation?
11 A. To be -~ again, 1 don’t know, 1 don’t know why
12 their software reported it as LimeWire. 1 do know that
13 LimeWire and FrostWire -- although in FrostWire's screen
14 shot, 1 think they even showed it in one of their

15 exhibits, FrostWire specifically says it is not related
16 to LimeWire in any way. 1f you believe that, then it
17 couldn't possibly call itself LimeWire, if it's not

18 related in any way.

19 1 also know from testing that LimeWire, the
20 word "limewire" is actually in the FrostWire code, so
21 there has to be some relation. But 1 don‘t know why they
22 reported LimeWire instead of FrostWire.

23 Q. Are there various degrees of people's

24 experience with computers?

25 A. Absolutely.

 

 

 

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1 Q. And when you do a forensic evaluation of a

2 computer, are you able to determine that person's level

3 of sophistication while you're looking at their computer?

4 A. Actually, yes, we do look for levels of

5 sophistication.

6 Q. And if you could tell the Court, how is it that

7 you can make those determinations, what you're looking

8 for?

9 A. People with higher levels of computer knowledge
10 tend to use specific tools. They may use programs, for
11 example, 1nternet browsers. 1t used to be that everyone
12 used 1nternet Explorer. 1f you were a more advanced
13 user, you've gone out and gotten Firefox. Different ~~
14 just different tools that make people appear obviously
15 more advanced with a computer. w
16 Actions that have occurred on the computer.

17 Has this person been in the registry, changing things in
18 the registry files? 1f somebody is in there running

19 command language through the computer, 1 could tell you
20 they're a more advanced user.

21 Even in file-sharing applications, what we look
22 for is, are all the settings on the user‘s computer the
23 default settings, indicating the user installed the

24 software by just hitting next, next, next, and didn‘t

25 change anything? Or has that user gone in and actually

 

 

 

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1 changed some settings to customize them? 1t gives them a
2 little bit higher knowledge of that software, what's

3 going on.

4 Q. And in this case, in viewing the computer

5 that's related to Mr. Crowe, do you have an opinion as to
6 his level of sophistication, at least with this computer?
7 A. 1 mean, 1 didn‘t see anything that would

8 indicate that he had a high level of computer knowledge.
9 His FrostWire application, although 1 haven‘t completed
10 my analysis of everything, appeared to be set in the
11 defaults. 1 didn‘t see anything customized.
12 Q. Have you finished your evaluation of that

13 program, as far as how things were set up?
14 A. No. 1 have not completed my forensic analysis
15 in any way.
16 Q. 1n part, is it because of simply proximity you
17 have to the computer?
18 A. Yes, absolutely.

19 Q. 1n part, is it because of the need to have
20 software to view it?
21 A. Well, yes. We came to this issue so 1 didn‘t
22 continue with my analysis because we wanted to test the
23 software.
24 Q. Are there protective orders that this Court
25 could put into place that would protect the software

 

 

 

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1 itself for government use, while at the same time

2 allowing experts to look at it to determine the level of
3 its intrusion into a person's computer?

4 A. Absolutely. We work under protective orders

5 all the time for numerous reasons.

6 Q. Were you able to determine in this case when it
7 was that anything was deleted on Mr. Crowe's computer?

8 A. 1 have not done analysis on the deletion, no.

9 That is fairly time-consuming.
10 Q. Were you able to make a determination as to
11 when the FrostWire program was even installed in the
12 computer?
13 A. The FrostWire application appears for the first
14 time on February 2nd, So, again, without doing a
15 complete analysis, it's my opinion that that's when it
16 was installed.
17 Q. And so within a month's time or so, the
18 government is -~ within about a month of the installation
19 of the program, the government is receiving information
20 about the activity. 1s that a fair statement?
21 A. Correct, yes. And actually 1 think it was
22 before that, because 1 believe it was March when the
23 Shareaza was actually used, and 1 believe that that
24 computer was identified prior to that by some other
25 software that we‘re not sure.

 

 

 

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1 Q. Okay. 1s there any literature that's been

2 provided to non-police officers that describes the scope
3 of the computer programs of GnuWatch or Peer Spectre or
4 anything else that CPS is using?

5 A. No. 1t's under pretty tight wraps.

6 Q. 13 there any analogy that you can ~- why would
7 it be necessary in this field to get the software to

8 analyze it? Are there analogies you can draw from other
9 fields that -- where it's been allowed in those things
10 that would make any sense to you?

11 A. Well, again, forensics is a scientific field.
12 Computer forensics is no different than body forensics in

13 the fact that things need to be tested, evaluated, and

14 validated. You talked about the DU1, the breathalyzer.

15 1 actually worked with an attorney who challenged the
16 breathalyzer software. 1t's very much the same thing.
17 You know, we were supposed to just believe that

18 the breathalyzer software worked properly, and that it

19 didn‘t -~ there were no problems with it. And as it

20 turned out when it was finally able to be tested, there
21 were problems with it. And it was based on, you know,
22 again, years of cases where they believe that this

23 breathalyzer software had problems. When they finally
24 got to test it, they realized that it did have problems.

25 1 don’t see this as being any different than that.

 

 

 

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1 MR. R1ON: Thank you very much.

2 THE COURT: Thank you. You may cross-examine.
3 MS. REES: Thank you, Your Honor.

4 CROSS-EXAMINATION

5 BY MS. REES:

6 Q. Good evening. 13 it Loehrs?

7 A. 1t's Loehrs.

8 Q. 1 knew 1 was mispronouncing it. You said you
9 were a certified computer expert?

10 A. Yes.
11 Q. 15 that a self~title you've given yourself?
12 A. No, that's a certificate that 1 got. 1 took
13 the -- 1 took the classes and the test, it's called a

14 CCFE. 1t's a certificate.

15 Q. Okay. Would you agree that to be a certified
16 computer forensic examiner, in that field, there's no
17 specific classes an examiner must take? There's no

18 standard credentials to be a certified computer expert?
19 A. Well, to be certified, 1 think you have to have
20 a certificate in whatever you're being certified in.

21 Q. Who certifies you?

22 A. For the CCFE?

23 Q. Correct.

24 A. That was -- oh. 1 think it was through

25 1nfoSec?

 

 

 

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1 Q. Okay. 10 be a computer forensic examiner, you
2 don’t need to be certified, do you?

3 A. Oh, no. Anyone can call themselves a computer
4 forensic examiner.

5 Q. But you look to the requisite training you've

6 had to determine if you, in fact, are a computer forensic
7 examiner, correct?

8 A. Yes, 1 looked at training and certificates.

9 Q. How many examinations have you done that

10 involved P2P investigations similar to using Shareaza LE?
11 A. 1 don‘t know the total number. 1t's probably
12 somewhere between 30 and 60.

13 Q. And in these 30 to 60 cases, do you know of any
14 case where the evidence suggests the government's use of

15 Shareaza LE went beyond the publicly available program

16 and was able to search in greater capacity?

17 A. Not specifically. Shareaza LE, no.

18 Q. So you have no case that suggests that Shareaza
19 LE, in your 30 to 60 cases that you've examined, not one
20 suggests that Shareaza LE somehow encroached or went

21 beyond the publicly available file-sharing program.

22 A. Not specifically, no.

23 Q. Now, 1 understand that you said you need to

24 test the computer program like Shareaza LE. 1n these 30
25 to 60 cases that you've previously testified in, did you

 

 

 

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1 ever seek a court order to access software such as

2 Shareaza LE, Peer Spectre, GnuWatch, or CPS?

3 A. Many times, yes.

4 Q. Have you ever been granted that court order?

5 A. 1 have a -- 1 participated in a hearing in

6 Phoenix on this issue asking to test Peer Spectre and

7 several other that's part of the suite, 1 guess, of

8 software. The judge has ~~ it's currently, it's active.
9 He hasn't made a decision yet,
10 Q. Okay. Have there been cases that there have
11 been decisions?
12 A. Not that 1've been involved in.
13 Q. 10 your knowledge, has any computer examiner
14 ever been allowed access to software such as Peer Spectre

15 GnuWatch, Shareaza LE, or CPS?
16 A. Not non-law enforcement, not that 1'm aware of.
17 Q. Now, you talked about a particular case in Ohio

18 where the file had been deleted but it was subsequently

19 downloaded using peer~to-peer?

20 A. No, no. 1t was identified by Peer Spectre as a
21 file name and a SHA value available for sharing. 1t was
22 never actually downloaded.

23 Q. Okay. Did 1 understand correctly that file was
24 later determined to be deleted?

25 A. That's correct.

 

 

 

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1 Q. So just so we‘re clear, if 1 try to download
2 something, 1 can’t actually download a file that has been

3 deleted?

4 A. Absolutely not.

5 Q. And the fact that you found evidence through a

6 SHA value or the file name, that suggests to you the file

7 once existed, correct?

8 A. Correct.

9 Q. So, if we‘re here looking for evidence of child
10 pornography for a search warrant and we have things like
11 file names, would you believe that certain file names are
12 evidence of child pornography~related conduct?

13 A. No.

14 Q. You wouldn't?

15 A. Not necessarily.

16 Q. Okay. Well, let's talk about SHA values,

17 Would you agree that SHA values can be evidence of child

18 pornography-related conduct?

19 A. They can be.
20 Q. Okay. Let's talk about if 1 go into a
21 peer-to~peer file sharing program and 1 see a large

22 volume of files that suggest child pornography, doesn't
23 that indicate to you that a person has an interest in
24 child pornography?

25 A. 1f you go in and see a large volume of nothing

 

 

 

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1 but child pornography names, probably it's -- that's
2 probably indicative of somebody who knows they're getting

3 child pornography,

4 Q. Okay, great. And if 1 actually download files
5 from somebody and they are in fact child pornography, 1
6 actually see it, doesn't that indicate to you there's

7 evidence of child pornography on that computer?

8 A. Yes.

9 Q. And that was the situation in this case,

10 correct?

11 A. 1wo files were downloaded that identified as

12 child pornography, yes.

13 Q. So there was reason for New Mexico State Police
14 to believe that child pornography existed on Mr. Crowe's
15 computer, correct?

16 A. Yes.

17 Q. What‘s that name of the Ohio case that you're
18 referring to?

19 A. 1 believe it was Dillen.

20 Q. D~I-L~L~A --

21 A. D~I~L-L-E-N.

22 Q. And was it a state or federal case?

23 A. State.

24 Q. Do you know which county?

25 A. Cuyahoga County, 1 believe.

 

 

 

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1 Q. Are you aware that Shareaza LE has been beta

2 tested?

3 A. 1 heard testimony.

4 Q. Okay. 13 beta testing a form of scientific

5 testing, based upon your training and experience, to

6 insure accuracy?

7 A. No, because it's got to be, it's got to be

8 tested by -- 1 mean, it's got to be tested by both sides.
9 You can’t just -~
10 Q. 1'm not asking if it has to be tested by both
11 sides. 1'm asking, is beta testing a way to insure that
12 something is accurate?

13 A. 1 don’t know what's involved in their beta

14 testing, 1 would have to know more details about what
15 their beta testing involved.

16 Q. Let's presume for sake of argument that the

17 beta testing showed there was no difference between

18 Shareaza LE and the publicly available file-sharing

19 program. Does that suggest scientific reliability?
20 A. No, because even the publicly available

21 software has issues. So, no.

22 Q. All right. What did you -- what materials did
23 you review prior to your examination?

24 A. 1 had ~~ and again, 1'm not sure about

25 everything. 1 know 1 reviewed the indictment. 1

 

 

 

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1 reviewed a couple of police reports, but 1 didn‘t have
2 them all. 1 reviewed a couple of search warrants.

3 Q. Did you review the New Mexico State Police

4 search warrant?

5 A. Yeah, 1 believe ~* 1 had two search warrants.
6 Q. Let’s be clear here. You actually have it in
7 front of you, but 1'11 just hand it to you. 1t's

8 Government's Exhibit 5~7. Please look at that and tell
9 me if that's the search warrant that you reviewed.
10 A. Yes, that looks like it.

11 Q. So you had this prior to your examination?

12 A. Correct.
13 Q. And you said after your examination, you

14 received subsequent materials from defense. What, if
15 anything, did you receive after the fact?

16 A. 1 don’t know. There's a lot of stuff. 1 have

17 no idea what all of that is.

18 Q. Okay. Can 1 have that back, please? Thank
19 you.

20 When did you begin your examination?

21 A. When was 1 here.

22 Q. Last month?

23 A. 1 believe so. Yeah, it was in April, yes.
24 Q. How many days did your examination last?

25 A. 1 was only here for a couple days,

 

 

 

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1 Q. How many hours a day would you spend examining
2 the media?

3 A. 1'm usually there all day.

4 Q. So, 8:00 to 5:00?

5 A. Yeah, whatever they allow me.

6 Q Ever take a break?

7 A 1 use the restroom.

8 Q. Okay. Take lunch?

9 A. No. 1 usually go grab something. Sometimes 1
10 grab something to eat, sometimes 1 don't.
11 Q. So, let's say you spent approximately what, 16
12 hours, 17 hours reviewing the evidence?
13 A. Correct. 1n front of the evidence, yes.
14 Q. Okay. And would you agree that a forensic
15 examination is -~ it's tedious and methodical?

16 A. Very.

17 Q There's a lot of information in computers?

18 A. Yes.

19 Q And relevant evidence, you agree, could be

20 located anywhere on that computer?
21 A. Absolutely.

22 Q. And your job as the examiner is to try to find
23 relevant evidence, correct?

24 A. Yes.

25 Q. You don’t want to inadvertently overlook

 

 

 

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1 pertinent or relevant evidence?

2 A. Absolutely.

3 Q. And can 1 presume you conducted a thorough

4 examination?

5 A. Oh, there's no way 1 could conduct a thorough
6 examination in two days.

7 Q. So is it fair to say you could have missed

8 relevant pieces?

9 A. Absolutely.
10 Q. Things like the files that were actually

11 downloaded?
12 A. Yes.
13 Q. Okay. Will you concede that you missed those

14 files?

15 A. Yes. He said they were in the cache and 1

16 didn‘t run any forensic processes so 1 couldn‘t possibly
17 have seen them.

18 Q. 1 understand. Now, you said in the course of

19 your examination, you look for levels of sophistication

20 of the user. Correct?

21 A. Yes.

22 Q. 1 want to be clear. When you do your

23 examination, that only tells you the manner the computer
24 was at the time of seizure, correct?

25 A. Yes.

 

 

 

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1 Q. Okay. 1t doesn't tell you exactly what the

2 settings are when law enforcement originally noticed this
3 computer in March of 2011, does it?

4 A. You can go search for the props files in

5 unallocated space and try to get props files from back on
6 that date, but again, 1 haven‘t been able to run the

7 processes.

8 Q. And 1 heard you say the word "try.“ There's no
9 guarantee you can find those files?
10 A. Well, there's never a guarantee in forensics.
11 Q. People can delete files, correct?
12 A Oh, absolutely.

13 Q People can wipe files?

14 A Yes, they can.

15 Q. People can turn off programs?

16 A Yes.

17 Q People can update programs?

18 A Yes.

19 Q So user settings can change?
20 A Yes.

21 Q. And so your opinions only relate to the

22 computer at the time of the seizure, correct?
23 A. Correct.

24 Q. Your opinions do not relate to at the time New
25 Mexico State Police conducted their investigation?

 

 

 

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1 A. Correct.

2 Q. Now, you talked about the level of the

3 sophistication. Did you know that Mr. Crowe had actually
4 renamed files? Did you see that anywhere in the

5 investigation?

6 A. 1 don‘t know.

7 Q. You don‘t know? You don’t recall?

8 A. 1 mean, everyone renames files.

9 Q. Did you know that Mr. Crowe had actually
10 spliced videos to create a video of different -~ of

11 stepdaughters apparently he was filming?

12 A. 1'm not aware.

13 Q. Did you know Mr. Crowe had changed user

14 settings?

15 A. 1 am not sure, again.

16 Q. Did you know Mr. Crowe had updated his software

17 to turn off file sharing?

18 A. 1 don‘t know he did that.

19 Q. Do these things, assuming they're true, suggest
20 to you some level of sophistication?

21 A. Not necessarily.

22 Q. Now, in your report, or in your affidavit 1

23 guess 1 should say, it suggests to me as a reader that

24 you believe New Mexico State Police simply initiated

25 their investigation based upon analyzing SHA values, Was

 

 

 

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1 that your initial impression?

2 A. 1 was very unsure about what they did based on
3 the affidavit and, again, the government's response to

4 the motion. 1 wasn't sure if files had actually been

5 downloaded, or they talk about _~ they talk about file

6 listings. So to be honest with you, 1 wasn't sure and 1

7 didn‘t see any logs.

8 Q. Okay. So, when you look at the affidavit, when
9 it says, "On each of these dates, the software was able
10 to log and directly download a file from the suspect
11 computer," there's some misunderstanding with the words
12 "directly download"?
13 A. Yeah. Again, maybe it's me as a forensic
14 expert, 1'm looking for documentation of evidence of it.
15 Q. Again, let's talk about documentation of
16 evidence. 1 understand you might want to look at logs.
17 But going back to the search warrant, if you again read
18 on, it says, "Affiant also examined the logs in reference
19 to the files which had been downloaded from the suspect's
20 computer. Affiant noted the following information for a

21 file downloaded."

22 So is there ~~ is there a discrepancy in that
23 use of the term “downloads," and then the subsequent

24 images that were described?

25 A. Yeah. 1 guess 1 don‘t trust anything unless 1

 

 

 

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1 see it. 1f they talked about logs, 1 was wondering why

2 no logs had been provided.

3 Q. So you don’t trust the work of law enforcement?
4 A. No, it's not that at all. 1 don’t trust

5 anything until 1've seen the actual evidence. That's me
6 as a forensic expert.

7 Q. You do understand this is a sworn affidavit,

8 correct?

9 A. Oh, 1 do.
10 Q. Somebody went before a judge and said, 1 swear
11 the whole contents are the truth?
12 A. Yeah, seen it a lot.
13 Q. And so even though it's sworn, you still didn‘t
14 take it at its face value?
15 A. 1 did not see documentation of downloads,

16 that's all 1 can tell you. That's what 1 was looking

17 for.

18 Q. Okay. And you're aware when law enforcement

19 downloads from a suspect's computer, it's a direct

20 download, correct?

21 A. Well, it depends on the law enforcement officer
22 and the investigation. 1've heard testimony on all kinds
23 of cases about different undercover investigations and

24 downloads.

25 Q. Okay.

 

 

 

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1 A. They're not always direct.

2 Q. Are you aware that law enforcement sometimes

3 has the capabilities to directly download from a subject?
4 A. Yes.

5 Q. Okay. And so, assuming that to be true, and

6 assuming law enforcement actually received a download,

7 there's no way those files could have been corrupted,

8 unable to be opened, partial, anything of that nature,

9 correct?

10 A. Well, that's not true, because you can directly
11 download ~- again, we've tested it. 1 can directly

12 connect to a user‘s computer and download an incomplete
13 file, a partial file, a corrupted file. So, yes, that

14 can be done.

15 Q. 1 didn‘t ask if it can be. 1f there‘s evidence
16 in this case to suggest that law enforcement actually

17 downloaded two files and they physically looked at the

18 files and described them, that does not indicate those

19 files which they downloaded were corrupted, partial,

20 unable to be opened, or unable to be viewed. Correct?

21 A. For those two files, that's correct.

22 Q. Okay. Now, you said you examined the

23 FrostWire.props file on Mr. Crowe‘s computer?

24 A. Yes.

25 Q. And again, the data in the FrostWire.props file

 

 

 

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1 was only as it was ~- or you can only testify as to it

2 was configured at the time the search warrant was

3 executed, correct?

4 A. Correct.

5 Q. You cannot testify how it was configured at the
6 time New Mexico State Police conducted their

7 investigation, correct?

8 A. Not with that particular file, that's correct.
9 Q. Okay. So you would agree that the data within
10 a FrostWire.prop file can change?

11 A. 1t can.

12 Q. So, hypothetically, if 1 download an image or
13 if 1 share my files today, New Mexico State Police

14 catches me and 1 turn it off tomorrow, you wouldn't

15 necessarily find evidence of that sharing, correct?

16 A. 1 may.

17 Q. But you may not.

18 A. 1 may not.

19 Q. Okay. And in a similar comparison, if 1

20 designate a particular folder as sharing today, and

21 change that folder to a different sharing folder
22 tomorrow, you may not find that original file in the

23 FrostWire.props, correct?

24 A. 1hat is correct.

25 Q. So the fact that a file was not found in the

 

 

 

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1 FrostWire.props at the time of your examination does not
2 mean it wasn't being shared when New Mexico State Police
3 conducted their investigation, does it?

4 A. 1 have no evidence of that. 1 have no opinion.
5 1 have no evidence that shows it was shared. 1 only have
6 evidence that shows it wasn‘t, that's all.

7 Q. So as you sit here on the stand, you cannot say
8 it was not shared?

9 A. 1 have no evidence that it was in a shared
10 location, that's all 1 can tell you.

11 Q. That was at the time of your examination.
12 A. Correct.
13 Q. But you cannot speak as to what happened in

14 March of 2011?

15 A. Nobody knows what happened in March of 2011,
16 that's correct.

17 Q. So those files absolutely could have been in a
18 shared folder which Mr. Crowe designated?

19 A. Again, 1 found no evidence of that.

20 Q. So the answer is, yes, they could have been,
21 correct?

22 A. 1t's possible. Anything's possible.

23 Q. Now, according to your sworn affidavit, you

24 forensically examined numerous computers using FrostWire.
25 Correct?

 

 

 

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1 A. Correct.

2 Q. And you've also researched, downloaded, and

3 tested most versions of FrostWire?

4 A. Correct.

5 Q. And have you researched, downloaded, and tested
6 version 4.21.3?

7 A. 1 don‘t know. Again, 1‘d have to go to the lab
8 and see all the materials we have.

9 Q. Do you know if you've researched, downloaded,
10 and tested 4.21.6, which you found on Mr. Crowe's

11 computer?

12 A. Again ~~ actually, 1 think we have actually
13 tested the .6 version.

14 Q. Okay. And you said you read documentation

15 prepared by FrostWire?

16 A. Yes.

17 Q. You posted on their websites?

18 A. No, 1 haven‘t posted on their websites. We've
19 been on their knowledge base.

20 Q. Okay. You participated in message boards,

21 things of that nature?

22 A Yes.

23 Q. And you've given presentations about FrostWire?
24 A. Yes.

25 Q On a scale of one to ten, one being no

 

 

 

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1 experience and ten being completely knowledgeable, how

2 would you rate your expertise regarding FrostWire?

3 A. Oh, 1 have no idea. 1 know it fairly well, but
4 1 couldn't possibly know everything. 1 don‘t know. 1

5 hate ~- 1 don’t know what, to give you a six, a seven, an
6 eight. 1 have no idea.

7 Q. A six, seven, eight, let's go with that. Would
8 you agree that FrostWire version 4.21.6 is a more recent

9 update than FrostWire 4.21.3?

10 A. Absolutely.

11 Q. And so does that suggest to you that if 4.21.3
12 was originally seen at the time of the initial

13 investigation, and 4.21.6 was seen at the time of the

14 later -- at the time of the examination, that software

15 was in fact updated?
16 A. That's correct.
17 Q. Now, you also said that 4.21.6 was installed on

18 the defendant's computer in February 2nd, 2011. Did 1

19 understand that correctly?

20 A. That‘s bad wording. The software was installed
21 February 2nd, the version on his computer is 4.21.6.

22 Again, having completed my analysis, 1 have no reason to

23 dispute that 4.21.3 was the one originally installed on
24 the 2nd.

25 Q. So that might just be a typographical error in

 

 

 

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1 your affidavit?

2 A. No, it's combining the install date of

3 FrostWire with the version that's currently on there.

4 1t's poorly worded.

5 Q. Fair enough, 1 do it all the time.

6 Now, you were also concerned because the New

7 Mexico State Police originally identified the P2P program
8 as LimeWire 4.21.3?

9 A. Correct.
10 Q. Okay? Would you agree that FrostWire is a

11 modification of LimeWire?

12 A. 1t says it's not, but 1 believe it is.
13 Q. Okay. So, under the guise of you believe it
14 is, essentially what we‘re saying is FrostWire takes a
15 lot of the data codes of LimeWire and they may modify it
16 or tweak it to whatever their interest is?
17 A. Correct.

18 Q. Do you have anything to suggest that what

19 Sergeant Pilon testified to either this morning or early
20 afternoon, that anything to negate the suggestion that,
21 although the peer-to-peer software was identified as

22 LimeWire, it was actually FrostWire?

23 A. No, 1 have no reason to negate that.

24 Q. 1n all of the P2P investigations that you have
25 participated in, so 30 to 60 similar to this case, is

 

 

 

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1 child pornography found in most of those investigations?
2 A. Oh, that's what they're about.

3 Q. So, you'd say yes?

4 A. 1n some form or another.

5 Q. So, based upon that, when you have an

6 investigation similar to this, it's absolutely reasonable
7 and reliable to believe that there‘s evidence on that

8 computer related to child pornography, correct?

9 A. Well, yes.

10 Q. Okay.
11 MS. REES: Nothing further, Your Honor.
12 THE COURT: Redirect?

13 MR. RION: Just briefly.
14 REDIRECT EXAMINATION

15 BY MR. RION:
16 Q. 1f 1 understand correctly, you not only found
17 the title for those two images, but you also found a

18 pathway?

19 A. Correct.

20 Q. That pathway, did it appear to be written over
21 or adulterated?

22 A. No.

23 Q. And through that pathway, did you find any

24 evidence it had ever been in a shared space?

25 A. No.

 

 

 

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1 Q. Now, you're not here to say that the government
2 didn‘t have probable cause to search the computer,
3 correct?
4 A. No.
5 Q. You're here to express an opinion about the
6 need to view the instrumentality for gaining that
7 probable cause.
8 A. Correct. 1 question the tools being used in
9 the very beginning that are identified in these
10 computers.
11 Q. Are you aware of any testing that was done on
12 any of this software by independent parties, including
13 those that wouldn‘t have an interest in law enforcement?
14 A. No.
15 MR. R1ON: Thank you.
16 THE COURT: 13 there anything further?
17 MR. R1ON: Not of this witness.
18 THE COURT: Thank you very much for your
19 testimony. You may step down.
20 MR. RION: Your Honor, it’s my memory that the
21 expert, Sergeant Pilon, testified that he knows they
22 received the information from other organizations, but
23 was not aware as to the software that they utilized to
24 gain that information.
25 That's -- 1 just want to make sure that that

 

 

 

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1 was everyone's understanding. 1 wanted to recall him for
2 that specific question. 1f that seemed to be the answer
3 that was given, then 1 need not recall him as a witness.
4 THE COURT: That was your testimony, was it not
5 sir?

6 SERGEANT P1LON: Yes, it was, Your Honor.

7 THE COURT: Thank you.

8 MR. RION: With that, the defense has no other
9 witnesses, Your Honor.

10 THE COURT: All right. 1t is late, 1'm not

11 going to request closing statements. 1f you wish to
12 prepare something in writing, you're both welcome to do
13 it simultaneously. And 1'll give you -- 1 think five
14 days is reasonable. Otherwise, that should conclude it.
15 That concludes the evidence by both parties. Thank you
16 very much for the presentation.

17 There is nothing further?

18 MR. RION: 1 guess we‘re resting subject to the
19 Court‘s determination of the software issue. We filed a
20 motion asking for ~~

21 THE COURT: You didn‘t file a motion. There
22 was a reply. There's no motion.

23 MR. RION: 1 thought that we had a branch in
24 our -- asking the Court to --
25 THE COURT: 1t's not how we do things anywhere.

 

 

 

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1 THE CGURT: All right. So, is there anything

2 further on this matter?

3 MR. R1ON: Well, subject to, 1 guess, the reply
4 1’ll put into another memorandum, that would be the only
5 thing.

6 THE COURT: All right. Thank you very much,

7 everyone, for your presentations. We will be in recess.
8 MS. REES: Your Honor, just real quickly, you

9 said five days? 1'm sorry. 1 didn‘t hear you.
10 THE COURT: Yes. 1'm going to take this matter
11 under advisement, but if you'd like to make closing
12 arguments in writing, 1'd like them simultaneously, and
13 you will have five days to do so.

14 MS. REES: So until next Thursday? Until next
15 Thursday. `

16 THE COURT: Next Thursday will be fine. Thank
17 you very much, everyone. We'll be in recess.

18 (Proceedings in recess at 5:49 p.m.)

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2 REPORTER‘S CERTIFICATE

4 1, SUSAN B. SPERRY, do hereby certify that 1 did
5 report in stenographic shorthand the proceedings as set
6 forth herein, pages 1 through 51, inclusive, and that 1
7 was an Official Federal Court Reporter at that time.

8 WITNESS MY HAND AND SEAL this 12th day of May, 2012.

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12 Susan B. Sperry, RDR, CRR, CBC
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